 Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 1 of 211 PageID #:
                                     3196




                             LOUISVILLE METRO POLICE DEPARTMENT
                                     OFFICE OF THE CHIEF
                                        LOUISVILLE, KENTUCKY
GREG FISCHER                                                                           STEVE CONRAD
    MAYOR
                                                                                        CHIEF OF POLICE




 January 11, 2018

 Larry D. Simon
 222 First Jefferson Centre
 222 South First Street, Suite 307
 Louisville, Kentucky 40202-5404

  Re:       Open Records Request
            Inmate James Earl Ashby

  Dear Mr. Simon:

  This is in response to your open records request for a copy of the LMPD Public Integrity Unit's
  Investigation of the suicide of the above inmate which occurred on or about October 21, 2015.

  Please find enclosed a copy of PIU #15-068. Redactions appear in protection of personal privacy
  pursuant to KRS 61.878(1)(a). Also please find enclosed 7 CD's responsive to the request.


  Sincerely,


    ~/J<l< ct ~A~
  i{y:Sharon L. King, Paralegal
  Louisville Metro Police Department
  Open Records Unit
  633 West Jefferson Street
  Louisville, KY 40202
  sharon.king@louisvilleky.gov
  Telephone: 502-574-7697
  Fax: 502-574-7071

  SC/slk

  ORR-17-3662

  cc:       Chief Steve Conrad




                                        WWW.LOUISVILLEKY .GOV
        633 WEST JEFFERSON STREET   LOUISVILLE, KENTUCKY 40202   502.574.7660   FAX 502.574.2450


                                                                                          GB003037
             Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 2 of 211 PageID #:
                                                                                           PIU-001
                                                 3197                                     REVISED
                               LOUISVILLE METRO POLICE DEPARTMENT                                           09/15

                                 SPECIAL INVEST/GA TIONS DIVISION
                                                  Public Integrity Unit
                                                 CASE NUMBER:         15-068
                 TYPE OF INVESTIGATION: I In-Custodv Death (originally Attempted Suicide)
                 DATE INITIATED:. 10/04/2015       I DATE OF INCIDENT: I 10/04/2015
                 INVESTIGATOR:    Sergeant Scott Gootee

                 SUBJECT{S) OF INVESTIGATION
                        Naine:
                      A2ency: Louisville Metro Department of Corrections
                  Assilmment:
                                                                     .·   .
                 VICTIM(S) I COMPLAINANT(S)
                      Name: James E. Ashby
                    Address: 2426 W. Main Street, Louisville, KY
                   Contact#:

                 OTHER (suspects I pervetrators of acts a1<ainst police officers)            .


                      Name:
                    Address:

                 INITIAL INFORMATION
                 On October 4, 2015, at approximately 1659 hours, the Public Integrity Unit was notified
;
                 of an attempted suicide within the LMDC Jail Complex (HOJ). At approximately 1616
\
                 hrs, Inmate James Ashby, W/M 36, was found hanging by his neck from a bed sheet tied
                 to the bars covering the windows in single cell #1, Dorm 9, 6th Floor. Mr. Ashby was
                 unconscious and unresponsive after being cut down. The LMDC staff immediately
                 began lifesaving measures. LMEMS responded and transported Mr. Ashby to University
                 of Louisville Hospital. Mr. Ashby did not recover, dying in the hospital on October 21,
                 2015.




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                                                                                                 GB003038
    Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 3 of 211 PageID #:
                                        3198


        SUPERVISORY REVIEW OF CASE FILE
        Publiclnte i Unit Coinmander
              Name:                                                                         Date of Review: o I
          Signature:

                  Remarks:          ,., ,,,.,,..... "..........
                                    <.:,.~
                                                          .0      ~
                                                                  .........   APP~           ~u1c.11::e-.



        S !o!Cial ID.vesti ations Unit Commander
                 Nallle: Ma"or Donald F. Burbrink II                                        Date of :Review:
          · Signaµire:
                                                                      '\=.


        AI>l>ITIQNMREVIEW (if necessary)                                          .   ..·
                                                                                               .
                                                                                        I Date of Review; I
             . ~igniltl*~f
                  - - . ---<- '




        PIU AdllliJlistrative Ser2eant ·
(        . . ..    ··      ..   ITEMS I TASKS .
                                     .                                                                      Date Collli>leted
                                                                 •

        IA PRO: Narrative, SuspectsNictims/Witnesses, Disposition
        Investigator's Electronic File I PIU Folder
        Portfolio Completed
        (Onlv Critical Incidents unless othenvise reauested)
        Portfolio Redacted for Open Records Request
                    Nallle: Sergeant Jon Hagedorn
                 Signature:
             .




                                           Disposition:                  CASE e, C..05€().

                                                                         APP~ ~LelOO-




                                  Date Case Closed:




                                                                                                                        GB003039
         Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 4 of 211 PageID #:
                                             3199                                   PIU-002
                                                                                                        11/14


                    LOUISVILLE METRO POLICE DEPARTMENT
                               SPECIAL INVEST/GA TIONS DIVISION
(                                     Public Integrity Unit

                                       CASE NUMBER:                      15-068

                                       CASE FILE TRACKING RECORD
                                                                                               RECEIVED
                       NAME                              TITLE        DATE         TIME
                                       .                                                      BY INITIALS
    1 I  ........._ <.'. '\.{ • \o "" "\l <1L          m.....:.,.r   Ll l I11
    NOTES:
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    21
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    51
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    61
    NOTES:


    71
    NOTES:



    RETURNED TO PUBLIC INTEGRITY UNIT
    DATE            RECEIVED BY




                                                                                                 GB003040
               Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 5 of 211 PageID #:
                                                   3200                                      PIU-003
                                                                                                                                            11/14
                                    LOUISVILLE METRO POLICE DEPARTMENT
                                      SPECIAL INVEST/GA T/ONS DIVISION
                                                               Public Integrity Unit
                                                             CASE NUMBER:                        15-068

                                                 CASE FILE CHECKLIST
                   OIJTRQDUCTIOl\I ·(appears in· front of/he case file kefore anyJabs)                       ·. ·           v'or.NIA
                   PIU Case File Cover & Review Form (PIU-001)                                               .



                   PIU Case File Tracking Form (PIU-002\                                                                                /
                   PIU Case File Checklist IPIU-003)

                   Memorandum addressed to PIU Commander summarizing investigation
                   (This should be included after the case has been presented to the County/Commonwealth
                   Attorney and/or the case is recommended to be closed)


                   PIU Investigative Record Form IPIU-004)                                                                      y

                   PIU Investigative Report Form(s) (PIU-005)
                   fAll investiaative re otts submitted regarding the investigation in chronolo_qical order)                    /
                  ''i::~~i~t!r.!ml!~.               ·.· ·.          ~--. ·•.··•.<•?:>•.•.•:;t/1iX)..'t·•x·.··•'/.r.>_>rP :;'fiil•i~T~
                   Transcriptions of Recorded Statements
                   (all transcribed statements, tabbed individuallv bv name, in chronolnnical order)
                   Compact Discs of Recorded Statements
                   (all CDs of statements, tabbed individually by name, in chronological order. If the statement has            .,/.
                   been transcribed, then the CD will be included with under the tab of the transcription)


                   Suspension Information (suspension paperwork, weapon re-issue, etc.)
(                  Arrest I Citation
                   (all documentation pertaining to arrest or citation, including warrants, summons, etc.)                      ,/
                   Incident Report (ILEADSl                                                                                     .1'
                   Administrative Incident Report (AIR)                                                                             /
                   Search Warrants I Consent Forms
                   Crime Scene Unit !CSU! fCSU Reoorls, Photos, Video, Scene Diaaram, Prooerty Slios, etc.)                 ,,/
                   Maps
                   Crime Lab (Ballistic Reparls, Substance Testina, etc.)
                   Medical (EMS documentation, Hospital, Medical Examiner, Clinical Forensic Exam, etc.!                    /
                   Financial Records / Information
                   Arbitrator I Mobile Video
                   MetroSafe (CAD, 911 recordinas, radio transmissions, rundowns, etc.)
                   Cell Phone Forensics I Records
                   LMPD Specialty Team Information (SWAT, HNT, Bomb Squad, etc.)
                   Corresoondence re-mails, etc.!                                  .
                       6. MISCELLANEQl:IS.                                              . .·             .                 VorNIA
                   Information from Federal or Outside Aaencies (FBI, A TF, USMS, other LE, etc.)
                   LMDC Documentation (In-Custody Death Reporls, etc.)                                                      ./
                   Media Coveraae
                   Security I Business Surveillance Video
                   Social Media (Facebook, Twitter, lnstagram, etc.)
                   Public Information (courl records, PVA, etc.)




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                                        3201



                       MEMORANDUM
                               LOUISVILLE METRO POLICE DEPARTMENT
(
     GREG FISCHER
        MAYOR



                                                                           \10'"'
                                                         \
     STEVE CONRAD
     CHIEF OF POLICE

                                                                  ol o°'
         TO:           Lieutenant Kevin Despain
                       Public Integrity Unit Commander
                                                       Q
         FROM:         Sergeant Scott Gootee
                       Public Integrity Unit Investigator

         DATE:         December 30, 2015

         RE:           PIU Case #15-068



         On Sunday, October 04, 2015, at approximately 1659 hours, I was notified by
         Public Integrity Unit (PIU) Commander, Lt. Kevin DeSpain, of a suicide attempt
         by an inmate at Louisville Metro Department of Corrections (LMDC). Inmate
'
\        James Ashby was discovered hanging in Dorm 9, cell #1, located on the 6th floor
         of the Hall of Justice (HOJ).

         At approximately 1616 hours, Inmate James Ashby, W/M 36, was found hanging
         by his neck, from a bed sheet tied to the bars covering the windows in single cell
         #1, Dorm 9, 5lh Floor. Mr. Ashby was unconscious and unresponsive after being
         cut down. The LMDC staff immediately began lifesaving measures (CPR, AED).
         Louisville Metro Emergency Medical Services (LMEMS) and Louisville Fire
         Department (LFD) responded and transported Inmate Ashby to University
         Hospital.

         Louisville Metro Police Department PIU investigator Sergeant Arnold Riveria
         responded to University Hospital to check on the condition of Inmate Ashby.
         Hospital medical staff indicated to Sergeant Riveria Inmate Ashby's condition
         was critical and life threatening.

         Interviews were conducted with all LMDC Officers, LMDC medical staff, LMEMS
         personnel and inmates involved in the incident. All individuals were interviewed
         and provided similar accounts of what occurred.

         On October 21, 2015, I was informed by Deputy Coroner Larry Carroll Inmate
         Ashby did not survive, and was pronounced dead at the hospital. A post-mortem
         examination of the body was conducted on October 22, 2015 at 0925 hours by

                          633 WEST JEFFERSON STREET   LOUISVILLE, KENTUCKY 40202
                               OFFICE PHONE 502.574.7660    FAX 502.574.2450

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                                        3202



        Dr. Lauren Lippincott and Dr. Randall Falls. The Medical Examiner declared the
(       cause of death was due to asphyxia via ligature hanging. A copy of the full
        medical examiner's report is included in the file.

        A thorough review of the witness statements, and evidence collected at the
        scene has been conducted, and it is clear Mr. Ashby's death was self-inflicted.
        This investigation is now closed.




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Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 8 of 211 PageID #:
                                    3203                                    PIU-004
                                                                                                                 11/14
              LOUISVILLE METRO POLICE DEPARTMENT
                      SPECIAL INVESTIGATIONS DIVISION
                             Public Integrity Unit

                                CASE NUMBER:                          15-068

                            INVESTIGATIVE RECORD
 Tvoe of Investie:ation             Attempted Suicide at LMDC

 Sub.iect(s) of Investie:ation      LMDC

 Involved Ae:encv                   LMDC

 Victim(s) I Complainant(s)         James E. Ashby

 Other fnerp against officer)
 Lead Investi2ator                  Sergeant Scott Gootee


 DATE TIME                                                            EVENT
   10/04/15        1710         Notified of attemoted suicide at LMDC
   10/04/15        1814         Arrived at LMDC PSU Office
   10/04/15        1630         CSU Redfield arrived
   10/04/15        1845         PIU and CSU arrived on the 6th floor to nrocess scene
   10/04/15        1904         LMDC Officer Olson interviewed by Lt. DeSpain and Sgt Kessinger
   10/04/15        1917         LMDC Officer Hom interviewed bv Sgt Gootee and Sgt Hagedorn
   10/04/15        1930         Mr. Kih!ore'Odom interviewed hv Lt. DeSoain and Sot. Kessinger
   10/04/15        1933         LMDC Officer interviewed by Sgt. Gootee and Sgt. Hagedorn
   10/04/15        1958         LMDC Officer Simoson interviewed bv Lt. DeSnain and Sgt. Kessinger
   10/04/15        1959         Mr. Bremts interviewed by Sgt. Gootee and Sgt. Hagedorn
   10/04/15        2019         LMDC Serneant Goff interviewed by Sot. Gootee and Sgt. Hagedorn
   10/04/15        2031         Mr. Kevon Lawless interviewed bv Lt. DeSoain and S!!I. Kessinger
   10/04/15        2034         LMDC Officer Stigall interviewed by Sgt. Gootee and Sgt. Hagedorn
   10104115        2045         LMDC Nurse Bohr interviewed bv Lt. DeSoain and Sgt. Kessinger
   10/04/15        2058         LMDC Nurse Nichols interviewed by Sgt. Gootee and Sgt. Hal!edom
   10/04/15        2109         LMDC Nurse Lachalmelle interviewed bv Lt. DeSoain and Sgt. Kessinger.
   10/04/15        2124         LMDC Nurse Crawford interviewed by Sgt. Gootee and S!!t. Hal!edom
   10/04/15        2141         Ms. Sommerfeld interviewed by Lt. DeSnain and Sirt. Kessinger
   10/04/15      . 2141         LMDC Nurse Brown'Hayes interviewed bv Sgt. Gootee and Sgt. Hagedorn
   10/06/15        1305         Sgt. Gootee and Sgt. Banta reported to Uuiversity of Louisville Hospital to check on Mr.
                                Ashby. Per Rn assigned to him, Mr. Ashby in a medical induced coma.
   10/07/15        2042         LMEMS Tech Saar interviewed bv Sgt. Banta and Sot. Gootee
                                                                                                                    .

   10107/15        2054         LMEMS Tech Kitchens interviewed by Sgt. Gootee and S2t. Banta
  10/08/15         1450         Picked un the AED reoort used on Mr. Ashby from LMDC. Lt. E>>ers also gave a conv of a


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                                        3204
                          court ordered release from custodv for Mr. Ashbv.
       10/12/15    1615   Spoke with APRN Emily King in person about the status of James Ashby. Stated patient is
                          still on life support and awaiting a decision from the family on whether or not to continue
(                         support. Mr. Ashby is housed on 6 west ICU. Left card with Nurse to call when status
                          chanQes.
       10/21/15    1130   Spoke with APRN King in person and she advised they would be taking Mr. Ashby off of life
                          sunnort todav at annrox. 1215 hrs.
       10/21/15   1920.   Talk to Coroner Lany Carroll on the phone in which he advised Mr. Ashby had passed and
                          there would be an autonsv condncted at annrox. 0800 on 10/22115
       10/22/15   0915    Attended autopsy for Mr. Ashbv.
       Hi/22/15   1215    Notified Lt. Eooers ofLMDC that Mr. Ashbv passed on 10/21/15
                          .


      12/30/15    1012    Case closed and turned over to Lt. Despain




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     Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 10 of 211 PageID #:
                                         3205


                 LOUISVILLE METRO POLICE DEPARTMENT
                                     Sf'ECIAL INVESTIGATIONS DIVISION
                                             Public Integrity Unit
                                        INVESTIGATIVE REPORT
     Type of Investigation                                             File No.           Date of Report:
                             Attempted Suicide                         15-068               10/05/2015

     Activity:                                                                    Submitted By
       Notification, Initial Response, Scene, and Interviews of:           Sergeant Jon Hagedorn
           Officer Horn, Officer Marbrey, Sergeant Goff,                      Lead Investigator:
                                                                                                   .




           Officer Stigall, Nurse Nichols, Nurse Crawford,                 Sergeant Scott Gootee
          Nurse Brown-Hayes, Inmate Christopher Brents

        NOTIFICATION
        On Sunday, October 4th, 2015, I received a page from MetroSafe communications requesting a
        response to the Louisville Metro Department of Corrections (LMDC) Professional Standards
        Unit (PSU) in reference to an attempted suicide by an inmate while in his cell. I responded and
        noted my arrival time as 6:26 PM. While in the PSU office I met with Lieutenant Kevin
        DeSpain, Sergeant Scott Gootee, and Sergeant Chad Kessinger. Lt. DeSpain advised us that Sgt.
        Gootee would be the lead investigator and we discussed how we would begin to investigate this
        incident. Crime Scene Unit (CSU) Technician Redfield (#8141) then arrived and we briefed her
        on our, plan of action.

       INITIAL RESPONSE
 '     As a group, we then left the PSU office and went to the scene of the attempted suicide which was
\.     located on the 6th floor of the jail complex in Dorm number 9, cell number 1 in the West portion
       of the jail complex. I noted our arrival time to the scene as 6:45 PM. I was immediately
       approached by Sgt. Goff who presented me with a camera which he had used to take several
       photos of the scene before our arrival. I removed the SIM card from this camera and took
       possession of it to be preserved as evidence. On 10/05/2015 at 10:30 AM, I gave the SIM card to
       Sgt. Gootee.

       SCENE INVESTIGATION
       Sgt. Gootee and I processed the scene with CSU Tech. Redfield. CSU Tech. Redfield
       documented the scene as we found it with photographs and collected evidence as directed by Sgt.
       Gootee, We also searched cell number 1 for any items of evidentiary value. All items collected
       as evidence were documented and maintained by CSU Tech. Redfield. For a more complete list
       of these items please see the CSU reports contained in this file.

       After processing the scene, we returned to the PSU office where we began to conduct interviews
       of all persons believed to have knowledge of this incident. The following is a brief synopsis of
       these interviews and a more complete recounting of them can be found in this file within the
       audio recordings section.




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          Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 11 of 211 PageID #:
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            OFFICER HORN INTERVIEW:


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            LMDC - Officer

            Officer Hom advised he heard the call over the jail radio requesting assistance with an inmate
            who had hung himself. He immediately responded there from H6 in the east portion of the jail
            complex and found the inmate lying on the ground being attended to by Officers Stigall and
            Simpson. He then began to assist with revival efforts by performing chest compressions on the
            victim. He was assisted with CPR by Officer Marbrey who had also responded and was
            performing rescue breathing. At some point an automatic electronic defibrillator (AED) was
            attached to the victim. Stigall believed that it made 5 assessment cycles, advising a shock on only
            the second cycle. He continued his CPR efforts until relieved by Louisville Fire and Rescue
            (LFR) personnel relieved him, which he believed was approximately 15-20 minutes later.

            OFFICER MARBREY INTERVIEW:




            LMDC - Officer

            Officer Marbrey stated that after hearing the call for service he responded from his assigned area
            on the 5th.floor in the East wing of the jail complex. Once on scene, he observed the victim lying
            on the ground and immediately began to assist with CPR by performing rescue breathing
            utilizing a CPR mask. He continued these efforts until relieved by LFR personnel

            SERGEANT GOFF INTERVIEW:




            LMDC - Sergeant

            Sgt. Goff was the commanding officer resEonsible for the 5th and 6th floors of the jail comElex on
            the date of this incident. He was on the 5 floor when he heard the call for help on the 6 floor.
            He responded there immediately and requested LFR and EMS to be notified. He then took steps
            to make sure that the scene was protected and took photographs. He told me that he believed that
            all LMDC standard procedures were followed and that all possible aid was rendered to the
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    1
            victim.
    'l.

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         OFFICER STIGALL INTERVIEW:

(- -     Timmy Stigall W/M




         Officer Stigall was the officer on the 6th floor covering Dorm 9 on the date of this incident. He
        ·told me that he had checked on the victim in his cell at 4:03 PM and he was fine. He returned
         shortly after for evening food service at 4: 16 PM and found the victim in his cell hanging from
         the bars covering the window in cell#l. The victim was hanging from a ligature fashioned from
         bed sheets. He immediately called for assistance and had the cell door opened. He and Officer
         Simpson then el)tered the cell and lowered the victim to the ground and then carried him to the
         open area of the dorm just outside the cell. From this location, officers had more space to assess
         the victim and perform life saving measures. He said that Officers Hom and Marbrey responded
         to his call and immediately began CPR. At some point he said that Sgt. Goff noticed that the
         body camera which he, Stigall, was wearing was not turned on, so he instructed him to activate
         it. Officer Stigall said that the other 3 inmates in the dorm were confined to their single cells and
         could not have seen anything transpire. None of the inmates made any comments to him about
         the victim having threatened to hang himself.

         NURSE NICHOLS INTERVIEW!

 (       Courtney Nichols W/F




         Correct Care Solutions - LPN

         Nurse Nichols responded to the call for assistance and brought medical supplies with her. She
         said that when she arrived CPR was already underway and was being performed correctly. At
         some point an AED was attached to the victim and performed several assessment cycles only
         advising a shock once. She said that she only observed because there was no need for her to
         intervene and cause a lapse in CPR administration. Nurse Nichols said she had no previous
         contact with the victim.

         NURSE CRAWFORD INTERVIEW:

        Danyelle Crawford B/F




        Correct Care Solutions - LPN




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Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 13 of 211 PageID #:
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  Nurse Crawford responded to the call for assistance and observed only. She said in her
  estimation, all aid rendered was performed correctly and saw no need to intervene and cause a
  lapse in administration of potential life saving measures.         ·

  NURSE BROWN-HAYSE INTERVIEW:

  Kimberly Brown-Hayes B/F




  Correct Care Solutions - LPN

   Nurse Brown-Hayes was on the 6th floor performing "acuchecks" on inmates with known
   diabetic maladies when the call for assistance was made. She responded and saw the inmate
  ·hanging from the cell bars covering the cell window. She said Officers Stigall and Simpson
   lowered the victim to the ground and carried him into the open portion of the dorm. From this
   location they began to assess the victim and removed the ligature from his neck. She said she
   placed a "pulse/ox" meter on the victim's finger to ascertain if he had a pulse and what his blood
   oxygen content was. She said that his pulse was present but weak and could not remember what
   his oxygen reading was. She said that Officer Stigall and Marbrey, who had responded as well,
   then began CPR. She remained on scene and continually checked the victim's pulse during CPR.
   In her estimation CPR was performed correctly and she saw no need to intervene.

  INMATE BRENTS INTERVIEW:




  Extension Staffing - Laborer

  Inmate Brents was housed in cell number 4 in dorm 9. He said that when the victim was brought
  to the dorm the previous day, he spoke with him briefly while he was on his hour out of his cell.
  He said that the victim seemed concerned about the potential time he may .have to serve on his
  charges and never stated that he had thoughts of suicide. On the day of this incident, he could not
  see the victim in his cell but was able to see the incident once the victim was brought out to the
  common area for aid. He said that the officers were trying desperately to revive the victim and he
  commended them for their efforts.




  Investigator's Signatur



                                                                                      P!U 005 l l/14.

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                          LOUISVILLE METRO POLICE DEPARTMENT
                                                                  Special Investigations Division
(~<
                                                                      Public Integrity Unit
                                                               INVESTIGATIVE REPORT
           Type of Investigation                                                                                      File No.                    Date of Report:
                                         Attempted Suicide                                                            15-068                         10/05/2015

           Activity:                                                                                                                Submitted By
                 Notification and Response to University Hospital                                                          Sergeant Arnold Rivera
                                                                                                                                 Lead Investigator:
                                                                                                                            Sergeant Scott Gootee

              NOTIFICATION AND RESPONSE:
              On Sunday, October 4, 2015, at 1700 hours, I received a page notification from MetroSafe
              advising the investigators of the Public Integrity Unit (PIU) respond to the Louisville Metro
              Department of Corrections (LMDC), on an inmate hanging. Shortly after the notification, I
              received a phone call from Lieutenant Kevin DeSpain directing me to respond to University
              Hospital to ascertain the condition of the inmate. Lieutenant DeSpain provided me the name of
              the inmate as James Ashby and advised me Sergeant Scott Gootee would be the lead
              investigator.    ·
              I responded to University Hospital and noted my arrival time as 1755 hours. I located the inmate
              in bed 9 of the emergency room. Inmate Ashby was unconscious and on a ventilator. Inmate
              Ashby was being guarded by LMDC Officer Eric Davidson #867. Mr. Davidson accompanied
              the inmate in the ambulance from LMDC. He advised Mr. Ashby never regained consciousness
              and he did not have firsthand knowledge of the incident as he was working a different floor
              during the incident.
             Inmate Ashby was breathing with the assistance of a ventilator. I observed markings around his
             neck consistent with ligature strangulation. Additionally, Mr. Ashby was not responding to any
             pain stimulus applied by medical personnel. I spoke with attending medical personnel and was
             advised he was in critical but stable condition; however, his prognosis for survival was unknown.
             I called Lieutenant DeSpain and updated him on Mr. Ashby's condition. I also provided
             Lieutenant DeSpain with the incident report number 80-'15-079719. CSU Tech. Erin Redfield
             arrived and collected Mr. Ashby's clothing and took photographs of him. I then departed the
             hospital at 1957 hours and drove to LMDC.
              I arrived at LMDC and met with Lieutenant DeSpain and Sergeant Scott Gootee. I provided them
              with an update on Mr. Ashby's condition.




             Investigator's Signature:
             Supervisor's Signature:
 ' ,
 \   ~..     This report is the property of the Louisville Metro Police Department. Neither it nor its contents may be disseminated to unauthorized personnel or agencies.
             LMPD # 05-0002         J0/05.




                                                                                                                                                         GB003050
              Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 15 of 211 PageID #:
                                                  3210


                          LOUISVILLE METRO POLICE DEPARTMENT
                                                  Special Investigations Division
(                                                     Public Integrity Unit
\
                                                INVESTIGATIVE REPORT
              Type oflnvestigation                                                File No.           Date of Report:
                                IN CUSTODY DEA TH                                 15-068               10/05/2015

              Activity:                                                                      Submitted By
                 Notification, Initial response, Scene investigation and               Sergeant Scott Gootee
                                    Witness interviews                                   Lead Investigator:
                                                                                     · Sergeant Scott Gootee




                 NOTIFICATION
                 On Sunday, October 4, 2015, at approximately 1710 hours, I was notified by Public Integrity
                 Unit (PIU) Commander, Lieutenant Kevin DeSpain, regarding an attempted suicide by an inmate
                 at Louisville Metro Department of Corrections (LMDC). Lieutenant DeSpain requested I
                 respond to LMDC Professional Standards Unit Office (PSU) to meet with other members of PIU.

                INITIAL RESPONSE
                I arrived at approximately 1814 hours and was met by Lieutenant Arthur Eggars and Lieutenant
                Jennifer Eubanks of LMDC and later joined by Lieutenant Despain, Sergeant Chad Kessinger
                and Sergeant Jon Hagedorn. Crime Scene Unit Technician (CSU) Erin Redfield #8141 arrived at
    1(          approximately 1630 hours and the unit briefed her as to the plan of action.

                LMDC Lieutenant Eubanks provided investigators with copies of the inmate's personal
                information, observation sheets for the sixth floor, LMDC incident report and an email with
                photographs of the scene. The inmate was identified as follows:

                James E. AshbyW/M
                Address·
                DOB
                SSN:

                The Unit left the PSU office and went to the scene of the attempted suicide which was located on
                the 6th floor of the Hall of Justice in Dorm 9, cell I. We arrived on the 6th floor at approximately
                1845 hours at which time myself, Sergeant Hagedorn and CSU Tech. Redfield started processing
                the scene. After the scene was processed, Sergeant Hagedorn and I searched inmate Ashby's
                cell. All items collected as evidence were documented and maintained by CSU Tech. Redfield.
                For a more complete list of these items please see the CSU reports contained in this file.

                After all tasks were completed we returned to the PSU office and conducted interviews of all
                persons believed to have knowledge of this incident. See Sergeant Hagedorn's report for a brief
                synopsis of the interviews he and I conducted. For a more complete recount of the interviews, an
                audio recording can be found within this file.
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      Upon conclusion of the interviews members of the Unit met to discuss the information that was
      obtained. Sergeant Arnold Rivera also briefed the Unit on information he obtained at University
      of Louisville Hospital. The Unit departed LMDC PSU office at approximately 2207 hours.
(
      Myself and Lieutenant DeSpain arrived at the PIU office, 810 Barret Avenue at approximately
      2220 hours, where Lieutenant DeSpain assisted me in the initial preparation of the case file for
      the investigation.

      Myself and Lieutenant Despain departed the PIU Office at approximately 2305 hours.




     Investigator's Signature:
     Supervisor's Signature:
     This repor1 is the property of the Louisville Metro Police Department.
     LMPD# 05-0002           10/QS.


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                   LOUISVILLE METRO POLICE DEPARTMENT
                                     SPECIAL INVESTIGATIONS DIVISION
(                                               Public Integrity Unit
                                         INVESTIGATIVE REPORT
       Type of Investigation                                              File No.           Date of Report:
                         ATTEMPTED SUICIDE                                15-068               10/05/2015

       Activity:                                                                     Submitted By
               Notification, Initial Response, Interviews with              Lieutenant Kevin DeSpain
               Ofc. Devan Simpson, Inmate Kevon Lawless,                         Lead Investigator:
                         LPN Abigayle Sommerfeld                              Sergeant Scott Gootee

         NOTIFICATION
         On Sunday, October 4, 2015, at approximately 1659 hours, I received a telephone call from
         Lieutenant Arthur Eggers, Louisville Metro Department of Corrections (LMDC), Professional
         Standards Unit (PSU), who advised an inmate had hung himself inside his cell at the jail.
         Lieutenant Eggers identified the inmate as James Ashby, W/M 36 and stated he was found
         hanging in a single cell in Dorm 9 on the 6th floor of the jail complex in the Hall of Justice
         (HOJ). He further advised Mr. Ashby had been transported to University of Louisville Hospital
         by Louisville Metro Emergency Medical Services (LMEMS), unconscious and unresponsive.

         After advising Lieutenant Eggers that the Public Integrity Unit (PIU) would be responding to
         investigate the incident, I contacted MetroSafe Supervisor Vince Looney at approximately 1704
         hours, and requested that he send a text message to all PIU investigators, notifying them of a PIU
         Call-Out; and instructing them to report to the LMDC PSU office. At approximately 1710 hours,
(        the following text message was received:

         public_integrity_unit THIS IS A PIU CALLOUT: WE HAVE AN INMATE HANGING
         AT LMDC HE WAS TRANSPORTED TO UNIV. MEET AT THE LMDC PSU OFFICE
         AT THE JAIL. LT DESPAIN.

         INITIAL RESPONSE
         At approximately 1712 hours, I contacted Sergeant Arnold Rivera by telephone, directing him to
         respond to University of Louisville Hospital. I noted my time of arrival at the LMDC PIU
         Office, 600 W. Jefferson Street, at approximately 1808 hours. I met with LMDC Lieutenants
         Arthur Eggers and Jennifer Eubanks, LMDC PSU, along with LMDC Lieutenant Christopher
         Roy, who provided the following information regarding Inmate Ashby:

         James Earl Ashby, INMATE #00431177
         W/M36YOA
         ADDRESS:
         SS:

         Booking#: 201523918 Booking Date/Time: 09/03/2015115:25 hours
         Charges:
            • Trafficking in Controlled Substance 1st Degree (Methamphetamine)
            • Trafficking in Controlled Substance 1st Degree (Heroin)
'\l_        • Possession of a Firearm by a Convicted Felon
            • Possession of Drug Paraphernalia
                                                                                                Page 1 of8
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                                                    3213

                  Inmate Ashby was originally housed at the Community Corrections Center (CCC), 4 SI, but was
                  moved on October 2, 2015, to the 6th floor ofHOJ, Dorm 9, Cell #1 (single cell), due to a fight
(      ,          with another inmate (Sean Hiser) at CCC.

                  Lieutenant Eggers advised there were no records of outgoing or incoming telephone calls from/to
                  Inmate Ashby. A preliminary list of potential witnesses was provided by Lieutenant Eggers and
                  will be contained within the case file, along with the aforementioned booking information
                  records. Lieutenant Eggers also provided a copy of an email he received from LMDC Sergeant
                  Ernest Goff, dated Sunday, October 4, 2015, at 1749 hours. The email, which will be maintained
                  within the Pill case file, contained initial photographs of the scene taken by LMDC personnel
                  and a narrative of the incident, as follows:

                  On October 4, 2015 at approximately 1620 a call came out over the radio to 1059 H6. When
                  Sgt. Goff arrived on H6 dorm 9 Officers J. Horn and C. Marbrey was giving CPR to inmate
                  Ashby, James cin # 431177. Nurse Brown was in dorm 9 assisting with inmate Ashby, James.
                  Main control was contacted to notifY EMS at approximately 1623. Lt. Roy arrives on scene at
                  approximately 1624 along with Nurse Bohr, Summerfield, Nichols, Crawford, and Lachamelle.
                  Ems notified by main control 1625, Fire arrives on floor at 1629, ems arrives at 1632, ems
                  arrives on the floor at 1634, ems departs the floor at 1644, Lt. Eggers notified at 1644, ems
                  departs facility at 1706.

                  Sgt. Goff spoke with Officer Stigall and was informed that while he was serving chow he saw
                  inmate Ashby, James cin # 431177 was hanging from the bars with a sheet tied to his neck.
                  Officer Stigall tried to use the knife for life to cut him down but was unable to get it done so he
                  tried to untie him from the bars and was able to get him down that way. Pictures were taken and
((
                  shift command was notified of the incident. A copy of this incident report will be sent to shift
'                 command, upper command, PSU, and to critical care unit.

                  EI# 66317

                  Sgt. Goff319

                 At approximately 1813 hours, I received a telephone call from Sergeant Arnold Rivera, who
                 advised Inmate Ashby was still alive, in critical condition, at University of Louisville Hospital.
                 Report# 80-15-079719 was obtained to document the incident. Pill Sergeants Scott Gootee, Jon
                 Hagedorn and Chad Kessinger responded to the Call-Out and were briefed in the LMDC PSU
                 Office. It was determined that Sergeant Gootee would be assigned as the lead investigator.

                 LMPD Crime Scene Unit (CSU) Technician Erin Redfield arrived at the LMDC PSU Office at
                 approximately 1830 hours and she was briefed regarding the nature of the investigation. At
                 approximately 1842 hours, Pill investigators and CSU Technician Redfield were escorted from
                 the LMDC PSU Office by LMDC Lieutenant Eubanks to the 6th floor of the Jail Complex HOJ.
                 At approximately 1845 hours, investigators observed the scene in Dorm 9. Sergeant Hagedorn
                 and Sergeant Gootee were assigned to conduct the scene investigation with CSU Technician
                 Redfield, to include Cell #1. At approximately 1857 hours, Sergeant Kessinger and I returned to
                 the LMDC PSU Office to await the arrival of potential witnesses, which were to be sent by
                 LMDC Lieutenant Eubanks.
\(·-..___   ,
                 I assisted Sergeant Kessinger with interviews of LMDC Officer Carl Olson (1904 hours), Inmate
                 Davontay Kilgore-Odom (1930. hours), LPN Stephanie Bohr (2045 hours) and RN Crystal
                                                                                                   Page2 of8
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      Lachalmelle (2109 hours). The interviews were taken in the form of audio recorded sworn
      statements which will be maintained within the PIU case file. For a synopsis of those interviews,
      see the investigative report submitted by Sergeant Kessinger.
(
      INTERVIEW WITH LMDC OFFICER DEVAN SIMPSON
      At approximately 1958 hours, Sergeant Kessinger assisted me with an interview of LMDC
      Officer Devan Simpson. The interview was taken in the form of an audio recorded sworn
      statement, which will be maintained in the PIU case file. Officer Devan Simpson is further
      identified as:

      Devan Michael Simpson
      W/M




      A synopsis of the interview follows:

         •   Devan Simpson advised he is employed by the Louisville Metro Department of
             Corrections as a Corrections Officer.

         •   He stated he was returning from Dorm I, where he had been assisting Nurse Brown with
             "Acu-Checks" of blood sugar of inmates with diabetes, when he observed Officer Stigall
             exiting Dorm 9, who then told him an inmate had hung himself.
(
         •   Officer Simpson stated Officer Stigall grabbed the "knife for life" as he (Simpson) went
             into cell #1 and held the inmate up while Officer Stigall attempted to cut the sheet.

         •   After Officer Stigall 'cut the sheet (from the bars covering the window), he (Simpson)
             dragged the inmate into the dayroom (in Dorm 9) and laid him flat on his back.

         •   Another officer (J. Horn) had arrived and started CPR, chest compressions.

         •   Officer Simpson stated he held the door to Dorm 9 open as other officers arrived to assist.

         •   He stated Lieutenant Roy directed him to wait by the elevator (entrance to the 6th floor)
             for responding personnel and maintain a log, noting the time of arrival of the fire
             department, EMS, etc. Officer Simpson advised the log was turned over to Sergeant
             Goff.

         •   Officer Simpson described the scene when he first observed Inmate Ashby hanging in
             single cell #1; stating it appeared the inmate had stepped off the stool in front of the desk,
             and was hanging from the bars (which cover the window) by a sheet (the cells have a bed,
             desk area, stool, toilet and sink, all of which are affixed to the floor or wall).

         •   Officer Simpson stated "he was just hanging there, he was slightly discolored, he had
             drool on his chest, from where he had started drooling, so I ...just went in and grabbed
             him ... that's what we 're trained to do ... someone 's got to hold him up, so he's not
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                disclosing his airway. He was in that right hand corner, and I went in and grabbed him
                up best I could... and held him up."
(           •   In response to the question "were his feet touching the floor?" Simpson advised his feet
                were touching the floor, pointed upwards. Officer Simpson then stated he was not paying
                close attention to Inmate Ashby's feet, "I was looking at him, trying to get to him, so I
                really didn't look at his feet. "

            •   Officer Simpson stated Inmate Ashby was not conscious at any time after he was
                discovered hanging in the cell.

            •   Officer Simpson stated he opened the door to cell #1, after Officer Stigall informed him
                that he had seen Inmate Ashby, through the window on the door, hanging inside the cell.

            •   Officer Simpson was not equipped with a body camera.

            •   Officer Simpson explained that a "dayroom" is a room within the dorm, that the single
                cells open into. Inmates are allowed one (1) hour per day in the dayroom, away from
                their single cells, individually. Inside the dayroom is a table, television and shower. He
                advised the dayroom is approximately 6' X 6'.

        Upon determining that Officer Simpson could provide no further information, we thanked him
        for his cooperation with the investigation and terminated the interview at approximately 2010
        hours.
(       INTERVIEW WITH LMDC INMATE KEVON LAWLESS
        At approximately 2031 hours, Sergeant Kessinger assisted me with an interview of LMDC
        Inmate Kevon Lawless. The interview was taken in the form of an audio recorded sworn
        statement, which will be maintained in the PIU case file. Inmate Kevon Lawless is further
        identified as:




        A synopsis of the interview follows:

           •    In regards to the hanging, Inmate Lawless stated he couldn't really see anything because
                he was in a single cell and the door to his cell only has a small window. Therefore he
                could only see into the dayroom.

           INVESTIGATOR'S NOTE: The walls between the cells are solid, with no windows.

           •    Inmate Lawless stated he and another inmate, who he called his "cousin", were talking
                about football earlier in day prior to the incident, when the victim joined the
                conversation. He stated the victim said he liked the Steelers.
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         •   Inmate Lawless stated he was in the cell next to the victim. He was not sure of his cell
             number, but thought he was in cell 2, and the victim was in cell I .
(        •   Inmate Lawless stated he did not know the victim's name.

         •   He stated his "cousin" is Tay Kilgore.

         •   Inmate Lawless stated after the conversation about football ended, it got quiet and he laid
             down on his bed, then he heard the victim say "I'm gonna hang myself, I'm gonna hang
             myself" He thought the victim was "playing".

         •   When asked to explain further, Inmate Lawless said "when we stopped ta/kin', and I laid
             down, he started beatin' on my wall, I took the cover off my head, and he got quiet, then
             he was like 'I'm gonna hang myself, I'm gonna hang myself', said it like four (4) times, so
             I just went back to sleep. I didn't know if he was serious or not, the way he said it, it
             sounded like he wasn't ready to do it, just sayin' it to get attention type of thing, and I
             just went back to sleep, and when I woke back up he was on the ground" (in the
             dayroom).

         •   Inmate Lawless stated he did not say anything in response to the victim.

         •   He stated about fifteen (15) to twenty (20) minutes after the victim made the statement
             that he was going to hang himself, the "trays" came in and the COs (corrections officers)
             found him.

         •   Inmate Lawless explained that "trays" is the food that is prepared for the inmates, which
             is passed by the "corrections officers to the inmates.

         •   Inmate Lawless stated he told the corrections officers about the victim's statements
             indicating he was going to hang himself, after they discovered the victim hanging, but did
             not advise anyone about the comments prior to that.

         •   Inmate Lawless stated he overheard the corrections officers say "Awe', he hung himself!
             Oh my God!", as he was walking to his cell door, when the trays were announced.

         •   He stated he didn't know which CO said it, "thef:e was like three (3) COs (corrections
             officers) in there, working on him" (in the dayroom).

         •   As Inmate Lawless was watching through the window of the door to his cell, he stated
             they told him to go back in his cell away from the door.

         •   Inmate Lawless stated he had only been assigned to the 6th Floor, Dorm 9, since
             yesterday (October 3, 2015). He advised the victim was already in cell I, when he
             arrived in Dorm 9.

         •   Inmate Lawless stated it was about fifteen (15) to twenty (20) minutes from the time the
             victim said he was going to hang himself, to when the corrections officers came in and
             removed him from the cell.

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          •   He stated he never heard the victim make any prior threats to hann himself, nor did the
              victim ever say why he wanted to hang himself.
(     Upon determining that Inmate Lawless could provide no further information, we thanked him for
      his cooperation with the investigation and concluded the interview at approximately 2041 hours.


      INTERVIEW WITH ABIGAYLE SOMMERFELD. LPN
      At approximately 2141 hours, Sergeant Kessinger assisted me with an interview of LPN
      Abigayle Sommerfeld. The interview was taken in the form of an audio recorded sworn
      statement, which will be maintained in the PIU case file. LPN Sommerfeld is further identified
      as:




      A synopsis of the interview follows:

         •    Nurse Sommerfeld states she is a Licensed Practical Nurse (LPN) employed by Correct
              Care Solutions, which contracts with LMDC for the medical care provided to inmates.

         •    She advised she had just completed rounds for sick call on the Med Unit in J2 (main Jail,
              2nd floor), when she observed LMDC Officer Hom running to the elevator. She stated
              she asked Officer Smith, a female officer that was nearby, what was going on? To which
              Officer Smith told her that she (Sommerfeld) needed to go the 6th floor.

         •    Nurse Sommerfeld stated she returned to the Med Unit to retrieve equipment sometime
              between 1615 and 1617 hours, where she met with other nurses, who advised there was
              an incident on the 6th floor they needed to respond to, possibly a hanging.

         •    She identified the other nurses as Nurse Bohr, Charge Nurse Lachalmelle and Nurse
              Nichols.

         •    When they arrived on the elevator at the 6th floor, she stated they were told the incident
              occurred in the West hold, so they proceeded to that location.

         •    Nurse Sommerfeld stated she arrived at Dorm 9 at approximately 1628 hours. Upon
              entering the dorm, she stated she observed the inmate/patient on the floor as Officer Hom
              was performing CPR. She believed an officer named Mulberry was doing the breathing
              with an ambu-bag. She stated the AED (Automated External Defibrillator) was on the
              patient, but the "shock" had not been given at that time.

         •    She stated she and the other nurses started getting oxygen ready, but the AED gave a
              warning to STAY A WAY!DON'T TOUCH. The AED then delivered the "shock" to the
              patient at approximately 1629 hours. She stated when the "shock" was delivered the


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                     patient's arms flew forward then fell back to the ground. The AED then advised to
                     continue CPR.

(               •    Meanwhile, she stated she was still on stand-by, because there were so many people in
                     the dorm. The officers were doing a great job with CPR.

                •     Nurse Sommerfeld stated after the "shock" was given, Nurse Courtney Nichols checked
                    · the patient's pupils to see if there was any neurological reaction at approximately 1630
                      hours, noting the patient's pupils were fixed and dilated.

                •    Nurse Sommerfeld described the patient as having blue lips and the patient himself was
                     blue in color.

                •    The corrections officers continued CPR until the Fire Department arrived and the
                     firefighters took over CPR. At that point, Nurse Sommerfeld stated she stepped outside
                     of the dorm with Nurse Bohr and Officer Simpson. She stated they remained just outside
                     of Dorm 9 until EMS arrived and removed the patient (transporting him to UofL
                     Hospital).

                •    Nurse Sommerfeld stated she then returned to the Medical Unit on J2.

                •    Nurse Sommerfeld stated she did not know the inmate's name, nor had she seen him
                     previously. She stated she recalled checking his paperwork and from that she knew he
                     had just been assigned to the 6th floor and had only been on the 6th floor for one (1) day.

    c          •     The paperwork indicated that the inmate had been transferred because of a fight that
                     occurred in CCC, where he was previously housed.

               •     Nurse Sommerfeld stated there was nothing in his medical record to indicate that he
                     would do something like this (take his own life).

               •     Nurse Sommerfeld explained the AED is an Automated External Defibrillator, which
                     monitors the patient's heart. If the heart gets out of rhythm, it delivers a "shock" in an
                     attempt to return the heart to a normal rhythem.

               •     She stated the AED is utilized if a patient is unresponsive. She stated the AED "talks to
                     you". When the AED determines it needs to deliver a "shock" it says "Stay Back, Don't
                     Touch". It then monitors the heart rhythm of the patient and ifthe heart goes back into
                     rhythm, it provides further instructions such as "continue CPR".

               •     Nurse Sommerfeld stated the patient had no pulse prior to the "shock" being delivered,
                     but that afterward a shallow pulse was detected.

               •     She stated after the firefighters took over CPR, the patient appeared to have some color
                     returning.

    (I      Upon determining that Nurse Sommerfeld could provide no further information, we thanked her
     ·"     for her cooperation with the investigation and terminated the interview at approximately 2154
            hours.
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       Upon conclusion of the interview with LPN Sommerfeld, Sergeant Kessinger and I met with
       Sergeant Gootee and Sergeant Hagedorn to discuss the information that was obtained through
(      interviews and information received from Sergeant Arnold Rivera, obtained while he was at
       University of Louisville Hospital. Upon determination of potential follow up investigative tasks,
       we departed the LMDC PSU Office at approximately 2207 hours.

      Sergeant Gootee and I arrived at the PIU Office, 810 Barret A venue at approximately 2220
      hours, where I assisted Sergeant Gootee in the initial preparation of the case file for the
      investigation. At approximately 2254 hours, I prepared an email notification of the investigation
      and forwarded the email to Special Investigations Division Commander, Major Don Burbrink.

      Sergeant Gootee and I departed the PIU Office at approximately 2305 hours.




      Investigator's Signature:
      Supervisor's Signature:
      This report is the property of.the LouisviJle Metro Police Department. Neither it nor its contents may be disseminated ro unauthorized personnel or agencies.

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                LOUISVILLE METRO POLICE DEPARTMENT
                                       Special Investigations Division
                                           Public Integrity Unit
                                     INVESTIGATIVE REPORT
    Type of Investigation                                              File No.           Date of Report:
                    Attempted Suicide (LMDC)                           15-068               10/05/2015

    Activity:                                                                     Submitted By
                      Notification and Response                          Sergeant Chad Kessinger
                   Interviews conducted at LMDC                               Lead Investigator:
                                                                           Sergeant Scott Gootee


       NOTIFICATION
       On Sunday, October 4, 2015, at approximately 1710 hours, I was notified by Public Integrity
       Unit (PIU) Commander, Lieutenant Kevin DeSpain, regarding an attempted suicide by an inmate
       at Louisville Metro Department of Corrections (LMDC). Lieutenant DeSpain requested I
       respond to LMDC Professional Standards Office (PSU) to meet with additional PIU members.
       At approximately 1711 hours, I received a text message from MetroSafe Communications
      ·indicating a Public Integrity Unit Call-Out. The text message advised the following: THIS IS A
       PIU CALLOUT: WE HAVE A INMATE HANGING AT LMDC HE WAS TRANSPORTED
       TO UNIV. MEET AT THE LMDC PSU OFFICE AT THE JAIL. LT DESPAIN.

      I met with PIU Sergeant Jon Hagedorn in the rear parking lot of Louisville Metro Police
      Department Headquarters, and walked over to LMDC Professional Standards Office. Upon
(     arrival I met with LMDC PSU Lieutenant Jennifer Eubanks and Lieutenant Arthur Eggers. Also
      present was Pill members Lieutenant DeSpain, Sergeant Scott Gootee and Sergeant Hagedorn.
      Lieutenant DeSpain advised PIU Sergeant Arnold Rivera, responded to University Hospital to
      check the medical condition of the inmate.

      LMDC Lieutenant Eubanks provided investigators with copies of the inmate's personal
      information, observation sheets for the jail complex (sixth floor), LMDC incident report and an
      email with photographs of the scene. This information was also provided to the lead investigator
      Sergeant Gootee, to place in the PIU file. The inmate was identified as follows:

      James E. Ashby W/M
      Addres
      DOB:
      SSN:

      I noted the arrival time of Crime Scene Unit Technician Erin Redfield, (code 8141) at 1830
      hours. CSU Tech. Redfield, met with investigators in the LMDC PSU Office and briefed on the
      incident. Lieutenant. Eubanks then escorted all investigators to the scene that was located on H6 ·
      Dorm 9 Cell I. I noted my arrival time on scene at 1845 hours. Once on scene, I noted that
      LMDC Officer Jeff Horn (badge# 705), was standing at the entrance to Dorm 9 that leads to cell
      1. The scene was processed by CSU Tech Redfield, Sergeant Hagedorn and lead investigator
      Sergeant Gootee. For a more detailed account of the scene processing, refer to Sergerant Gootee
      and Sergeant Hagedorn' s investigative report. Lieutenant DeSpain and I returned to the PSU
      Office, and began interviews with inmates, LMDC Officers and Medical Staff.


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              INTERVIEW WITH LMDC OFFICER CARL OLSON
(             On Sunday, October 4, 2015, Lieutenant DeSpain and I interviewed LMDC Officer Carl Olson
\             at 600 West Jefferson, in the LMDC PSU Office. Mr. Olson is more specifically identified as:

              Carol Jose h Olson
              Address
              DOB:



              The interview was taken in the form of a sworn statement and the following are key aspects of
              the interview
                  • Officer Olson said at approximately 1620 hours, he responded to H6 Dorm 9 to assist
                      officers. Upon arrival, he (Olson) said the inmate was lying on the ground outside his·
                      cell.
                  • Officer Olson said an Officer was performing CPR, so he (Olson) attempted to remove
                      the sheet from around the inmate's neck, by using the "Knife for Life", but was not
                      successful due to the thickness of the sheet. He (Olson) then untied it by hand. After the
                      sheet was removed, his Sergeant directed him to activate the body camera that he was
                      wearing.
                  • Officer Olson remained on scene until EMS arrived and transported to the inmate
                      hospital.
                  • The body camera was given to LMDC Sergeant Hornback.

    (
             INTERVIEW WITH DAVONTAY KILGORE'ODOM aNMATE)
             On Sunday, October 4, 2015, Lieutenant DeSpain and .I interviewed LMDC inmate, Davontay
             Kilgore'Odom, at 600 West Jefferson, in the LMDC PSU Office. Mr. Kilgore is more
             specifically identified as:

             Davontay Kilgore'Odom
             Addre
             DOB:


             The interview was taken in the form of a sworn statement and the following are key aspects of
             the interview:
                 • Mr. Kilgore said he is in single cell #5, which has a small window in the door that allows
                     him to see out.
                 • Mr. Kilgore said he overheard the victim talking approximately five minutes before chow
                     was served. Mr. Kilgore said the work aide came in and said "chow." He (Kilgore) got
                     up and went to the window and overheard the work aide say "dudes dead." Mr. Kilgore
                     then observed the victim being removed from his cell and said he (victim) was not
                     moving, and that CPR was then given.
                 • Mr. Kilgore said the victim he knows as "Bo", made no threats to harm himself.
    (   .
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      INTERVIEW WITH CRYSTAL LACHALMELLE (NURSE)

      On Sunday, October 4, 2015, Lieutenant DeSpain and I interviewed Crystal Lachalmelle at 600
      West Jefferson, in the LMDC PSU Office. Mrs. Lachalmelle is more specifically identified as:




      The interview was taken in the form of a sworn statement and the following are key aspects of
      the interview:
          • Mr. Lachalmelle said she was at the nurses stations located on J2, when she overheard
              someone say they were needed on the 6th floor. She (Lachalmelle) said she arrived at
              approximately 1624 hours, on H6 D9 and stated that CPR was being performed. by
              LMDC Officer Horn, who was performing compressions, and LMDC Officer Marbrey,
              who was giving breathes.
          • At approximately 1629 hours, Mrs. Lachalmelle said the AED alerted to shock. Mrs.
              Lachalmelle said the Louisville Metro Fire Department (LMFD) arrived and took over
              CPR. She also documented the arrival time of EMS at approximately 1631 hours. At
              approximately 1840 hours, Mrs. Lachalmelle called Nurse Whitney at University of
(             Louisville Hospital and was advised the patient was critical but stable.

         It should be noted, that Mrs. Lachalmelle did not provide CPR, but was available ifrequested
         by additional medical personnel. While she was present, she documented the time of events
         and provided investigators with a copy of her notes at the interview. A copy of the notes will
         be provided to the lead investigator, Sergeant Gootee, and placed in the PIU file for further
         review.


     INTERVIEW WITH STEPHANIE BOHR

     On Sunday, October 4, 2015, Lieutenant DeSpain and I interviewed Stephanie Bohr, at 600 West
     Jefferson, in the LMDC PSU Office. Mrs. Bohr is more specifically identified as:




     The interview was taken in the form of a sworn statement and the following are key aspects of
     the interview:
         • Mrs. Bohr said she was alerted by additional medical staff of an emergency on Hall of
             Justice 6th floor, sometime after 4pm.
         • Mrs. Bohr said her and additional medical staff, grabbed the medical equipment and
             escorted to the area by security staff.

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                •     Mrs. Bohr said upon arrival at the scene, she observed the inmate lying on the floor with
                      CPR being performed by unknown Corrections staff, and one medical personnel was
                      present.
(               •     Mrs. Bohr said the AED advised to shock one time. The Louisville Metro Fire
                      Department (LMFD) arrived on scene and took over CPR. EMS arrived shortly after and
                      transported the inmate to the hospital.
                •     Mrs. Bohr said she did not perform any medical treatment while on scene.




          Investigator's Signature:
          Supervisor's Signature:
          This report is the property of the Louisville Metro Police Department.
          LMPD # 05-0002          10/05,




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                     LOUISVILLE METRO POLICE DEPARTMENT
                                               Special Investigations Division
(                                                  Public Integrity Unit
                                            INVESTIGATIVE REPORT
        Type oflnvestigation                                                     File No.             Date of Report:
             LMDC IN CUSTODY-ATTEMPTED SUICIDE                                   15-068                10/08/2015

        Activity:                                                                           Submitted By
                                                                                        Sergeant Scott Gootee
        Interview of Louisville Metro Emergency Medical Services·                         Lead Investigator:
           (LMEMS) Teclmicians Jolm Saar and Teresa Kitchens                            Sergeant Scott Gootee




           INTERVIEW OF LMEMS TECHNICIAN JOHN SAAR
           On Wednesday, October 07, 2015, Sergeant Robert Banta and I interviewed LMEMS Technician
           Jolm Saar. Technician Saar responded to Louisville Department of Corrections (LMDC) located
           at 600 West Jefferson, on an inmate that had attempted suicide on 10/04/2015. Technician Saar
           is more specifically identified as:

          Louisville Metro Emergency Services
          Technician Jolm Saar
          White/Male

    (


          The interview was conducted at the Public Integrity Unit Office, 810 Barret Avenue. The
          interview was conducted in the form of a sworn statement. For the purpose of this investigation
          the interview focused upon the contact between Technician Saar and Louisville Department of
          Corrections Inmate James Ashby. The following are key aspects ofthdnterview:

               •    Teclmician Saar arrived on scene and found Mr. Ashby lying on the ground unresponsive
                    and breathing on his own.
               •    Technician Saar stated that he was told by Louisville Fire Department (LFD) the patient
                    had been revived by them and LMDC.
               •    Technician Saar also stated LFD advised them that an AED on been used and the patient
                    had been shocked once.
               •    Technician Saar stated he learned the patient had tried to hang himself so he immobilized
                    him to prevent further injury.
               •    Technician Saar stated they transported the patient, code 3, to University of Louisville
                    Hospital where he remained unresponsive the whole time.
               •    Once at the hospital they released the patient to hospital staff.



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      It was detennined Technician Saar had no further information and the interview was concluded.
      The interview was audio recorded and will be made a part of the file.
(
      INTERVIEW OF LMEMS TECHNICIAN TERESA KITCHENS
      On Wednesday, October 07, 2015, Sergeant Robert Banta and I interviewed LMEMS Technician
      Teresa Kitchens. Technician Kitchens responded to Louisville Department of Corrections
      (LMDC) located at 600 West Jefferson, on an inmate that had attempted suicide on 10/04/2015.
      Technician Kitchens is more specifically identified as:

      Louisville Metro Emergency Services
      Technician Teresa Kitchens
      White/Female




      The interview was conducted at the Public Integrity Unit Office, 810 Barret Avenue. The
      interview was conducted in the form of a sworn statement. For the purpose of this investigation
      the interview focused upon the contact between Technician Kitchens and Louisville Department
      of Corrections Inmate James Ashby. The following are key aspects of the interview:

           •     Technician Kitchens arrived on scene and found Mr. Ashby lying on the ground
                 unresponsive with shallow breathing.
           •     Technician Kitchens began to bag the patient to assist in breathing.
           •     Technician Kitchens also stated LFD advised them that an AED on been used and the
                 patient had been shocked once.
           •     Technician Kitchens stated they immobilized him to prevent further injury.
           •     Technician Kitchens they transported the patient, code 3, to University of Louisville
                 Hospital where he remained unresponsive the whole time.
           •     Once at the hospital they released the patient to hospital staff.

     It was detennined Technician Kitchens had no further infonnation ahd the interview was
     concluded. The interview was audio recorded and will be made a part of the file.




     Investigator's Signature:
     Supervisor's Signature:
     This report is tile property of the Louisville Metro Police Department.
     LMPD # 05-0002          10105,


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                                         LOUISVILLE METRO POLICE DEPARTMENT
                                                PUBLIC INTEGRITY UNIT
                                                 OFFICIAL STATEMENT
(                                             CASE NUMBER: /::!):-t}(p 8
         Today's date is   <Jc! /o rJ,a "/             2o IS--             The time is         19ot/               hours.
         This is an interview with         &R!. {)LJ:&/J                                       (RIS)

         This interview is being conducted at:

         D       Public Integrity Unit, 810 Barret A venue, Louisville, KY 40204

         ~      Other Location:    600                 J=r' Jerre;e.,;-t:;rJ, L/11.1:,{7.                 ~~?>Na./ «f-£n0fY2<
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         d<,, (Title)
                                        ~~,J"'-----------
                                                (Name)
                 QI IDre you aware this interview is bein~d/or V)1(eo recorded?
                 Q2 IZfHas anyone threatened you in order ~n this inferview?
                 Q3 J2rAre you giving this interview of your own free will?
                 Q4 0"Please, state your full name, and spell your last name. What is your date of birth?
                 Q5 J.2r~te your home address including the zip code.
                 Q6 ,k:fis this the same as your mailing address? (If no) Mailing address?
                 Q7 Wtate your home telephone number with the area code.
    ii
    \            Q8 'ld1fute your mobile and an alternate phone number with area codes.
                 Q9      -ff
                        Are you employed?
                 QIO~·  St te your employer and the position you hold there.
                 Q 11       at is your work telephone number?
                 Ql2    Are you aware the following interview will be a sworn statement?


         PLEASE RAISE YOUR RIGHT HAND

         Do you, c~ D              I OL..5. 0 ,J          , solemnly swear or affirm to tell the truth, the whole truth, and
         nothing but the truth, so help you God?
         I UNDERSTAND THE ABOVE OATH THAT I HAVE TAKEN.

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          Subscribed and sworn to me by

         This
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                                                                                                    My Commission Expires

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                    Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 32 of 211 PageID #:
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                                             LOUISVILLE METRO POLICE DEPARTMENT
                                                    PUBLIC INTEGRITY UNIT
(        ..
                                                     OFFICIAL STATEMENT
                                                  CASE NUMBER: /S-- 0&;8
              Today's date is        Ot.P-/o t.Ei"i? ~ /O!S                      The time is               /9.? tJ       hours.

              Thisisaninterviewwith]),Llo~kvI /IIL9&~€ OOOM                                              (RIS)

              This interview is being conducted at:
              0           Public Integrity Unit, 810 Barret A venue, Louisville, KY 40204
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                          Other Location:

              Present during this interview is;
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               /lA ?.                       ~VDA..I ~                     K:rt/90~E"" ouo/Vf
                    (Title)                                                                (Name)
                          QI   f fAre you aware this interview is bein@j) and/or vii'o recorded?
                          Q2  ..1211fas anyone threatened you in order to obtain this interview?
                          Q3   La"Are you giving this interview of your own free will?
                          Q4   .ia'Please, state your full name, and spell your last name. What is your date of birth?
                          QS  Hstate your home address including the zip code.
                          Q6   0Is this the same as your mailing address? (If no) Mailing address?
                          Q7   ffstate your home telephone number with the area code.                 ·
                          Q8~ate your mobile and an alternate phone number with area codes.
                          Q9       Are you employed?
                          QI 0 State your employer and the position you hold there.
                          QI I 0 What is your woik telephone number?
                          Ql~Are you aware the following interview will be a· sworn statement?


              PLEASE RAISE YOUR RI~,-r HAND
              Do   yo~Vo ...,y:;;j lft (JtJIZL                  , solemnly swear or affirm to tell the truth, the whole truth, and
              nothing but the truth, so help you God?
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                                          Notary Public, State at Large                                    My Commission Expires

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                                              3228


                                 LOUISVILLE METRO POLICE DEPARTMENT
                                         PUBLIC INTEGRITY UNIT

r·                                        OFFICIAL STATEMENT
                                      CASE NUMBER: 15 · O~ 8
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     This.interview is being conducted at:

     .0        Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204

     ~        OtherLocation:             (poo W. JEFFEi2.Soi..J s-reee1. , LAAOC.. PScJ ~IC.t
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     OR::-\ Ct"'e
            (Title)                                                    (Name)

               QI     [}('Are you aware this interview is being audio im.11/er v!tieo recorded?
             · Q2 @'Has anyone threatened you in order to obtain this interview?
               Q3     0Are    you giving this interview of your own free will?
               Q4 G'Please, state your full name, and spell your last name. What is your date of birth?
               QS ~State your home address including the zip code.
               Q6 ~s this the same as your mailing address? (If no) Mailing address?
               Q7 [;'.)'State your home telephone number with the area code.
'\             Q8 g'state your mobile and an alternate phone number with area codes.
               Q9 rJfae you employed?
               QI 0 0Jltate your employer and the position you hold there.
               Q 11 li2'.f)Vhat is your work telephone number?
               Ql2 [i2f Are you aware the following interview will be a sworn statement?


     PLEASE RAISE YOUR RIGHT HAND

     Do you,     DeJ~'          SIMPSO...I      , solemnly swear or affirm to teHthe truth, the whole truth, and
     nothing but the truth, so help you God?


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     Subscribed and sworn to <ne by                     De.I AN         SI Mp~i,J
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                                      LOUISVILLE METRO POLICE DEPARTMENT
                                             PUBLIC INTEGRITY UNIT
                                              OFFICIAL STATEMENT
                                           CASE NUMBER:  /S · ()(o S
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          This interview is being conducted at:
          0          Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204
          g         Other Location:             {ooo W.           j~FF€12 S.06'.l        sr, L 1.11 D(. l'Su OR=t C..6""
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                  (Title)                                                       (Name)
                     QI ~Are you aware this interview is being audio &ii 1i!r ¥iaee recorded?
                   · Q2 G{Has anyone threatened you in order to obtain this interview?
                     Q3 G!:(Are you giving this interview of your own free will?
                     Q4 Grl>lease, state your full name, and spell your last name. What is your date of birth?
                     QS [i¥State your home address including the zip code.
                     Q6 ~Is this the same as your mailing address? (Ifno) Mailing address?
                     Q7 ~State your home telephone number with the area code.
                     Q8 1:!11state your mobile and an alternate phone number with area codes. ·
                     Q9 ~Are you employed?
                     QI 0 !kl State your employer and the position you hold there.
                     Q 11 ~ What is your work telephone number?
                     Ql2 ~Are you aware the following interview will be a sworn statement?

          PLEASE RAISE YOUR RIGHT HAND

          Do you, tL e-JQ._j (.JI.VJ LEr.S.             , solemnly swear or affirm to tell the truth, the whole truth, and
          nothing but the truth, so help you God?
          I UNDERSTAND THE ABOVE OATH THAT I HAVE TAKEN.

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                                               , State at Large                                 My Commission Expires

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                                           LOUISVILLE METRO POLICE DEPARTMENT
                                                  PUBLIC INTEGRITY UNIT
                                                   OFFICIAL STATEMENT
(                                               CASENUMBER:    !S:Ot,8
             Today's date is        ~~ ~,.,;Po /S                              Thetimeis         tJoc/.=;-                           hours.

             This is an interview with s 5K,P.#'..&J?.ZC               ~O He                        (R!S)

             This interview is being conducted at:

                        Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204

                        Other Location:

             Present during this interview is;      d'. ~rk~                   c:J1/ ~
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                    (Title)                                                          (Name)
                      QI J2I'Are you aware this interview is being audio and/or vi)t'eo recorded?
                      Q2 !ZrHas anyone threatened you in order to obtain this interview?
                      Q3 [2t"Are you giving this interview of your own free will?
                      Q4 .0 Please, state your full name, and spell your last name. What is your date of birth?
                      Q5 121 State your home address including the zip code.              .
                      Q6 l2f Is this the same as your mailing address? (If no) Mailing address?
                      Q7 121 State your home telephone number with the area code.
    (                 Q8 [;21' State your mobile and an alternate phone number with area codes.
                      Q9 IZJ Are you employed?
                      Q 10 ~State your employer and the position you hold there.
                      Q 11    J2I
                              What is your work telephone number?
                      Q12     J2J
                              Are you aware the following interview will be a sworn statement?


            PLEASE RAISE YOUR RIGHT HAND

            Do you,jrft;~ "156/lf(                           , solemnly swear or affirm to tell the truth, the whole tnith, and
            nothing but the truth, so help you God?
            I UNDERSTAND THE ABOVE OATH THAT I HAVE TAKEN.
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                                     Notary Public, State at Large                                    My Commission Expires

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            Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 36 of 211 PageID #:
                                                3231

                                      LOUISVILLE METRO POLICE DEPARTMENT
                                             PUBLIC INTEGRITY UNIT
                                              OFFICIAL STATEMENT.
(                                          CASE NUMBER:  I '5 · O <o 8
        Today'sdateis             O<:.TI:>B~      4   1
                                                          2.01'5       Thetimeis                            hours.

        This is an interview with         A BI 6A'--{ Uc    Sol\/\ M. 'CYl.f§-D          (RIS)         w I,-:::
        This interview is being conducted at:

        0         Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204

        ~         Other Location:             lobe yJ.      .~EFFe."2.~~           "$.'\ , LMDC.
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        Present during this interview is;
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               Ms.                            $   0 MM.t"?{:~"-D
               (Title)                                                      (Name)

                 QI ~e you aware this interview is being audio aRB/0f 1oideo recorded?
                 Q2 ~Jl.as anyone threatened you in order to obtain this interview?
                 Q3 & Are you giving this interview of your own free will?
                 Q4 ~lease, state your full name, and spell your last name. What is your date of birth?
                 QS 111 State your home address including the zip code.
                 Q6 IBls this the same as your mailing address? (If no) Mailing address?
    (
                 Q7 [8° State your home telephone number with the area code.
    \            Q8 ~tate your mobile and an alternate phone number with area codes.
                 Q9 ~Are you employed?
                         8"
                 Q 10 fttate your employer and the position you hold there.
                 Q11 [g).Vhat is your work telephone number?
                 Q12 ~Are you aware the following interview will be a sworn statement?


        PLEASE RAISE YOUR RIGHT HAND

        Do you,     A 61~<£ S() MM~"\.(), solemnly swear or affirm to tell the truth, the whole truth, and
        nothing but the truth, so help you God?
                     Y.l'-'~uTHE    ABOVE OATH THAT I HAVE TAKEN.
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          .sr+.                   Witness signature
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                                                                                                                  Time

        Subscribed and sworn to me by

        This             L\'IJ±      day of   ~~ThSel<..           , 2015

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             Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 37 of 211 PageID #:
                                                 3232

                            LOUISVILLE METRO POLICE DEPARTMENT
                                       PUBLIC INTEGRITY UNIT
                                        OFFICIAL STATEMENT
(
\                                   CASE NUMBER: /£' ~ <J? g
        Today's date is rJyn "'4. v / o -o t./ -Jo/S' The time is 7 :(7 p,.vl                              hours.
                                      /
        This is an interview with ~O'"""'~~C~-~JC"-'-("'...._Ef'~~A~iv~·-r_r'>______    (RIS)
        This interview is being conducted at:
        0       Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204
        g)      Other Location:           d,, O(J   W· Je-fN_rs lfYI             Ww-) Grrecf. en f!S l /
        Present during this interview is;
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                                                                                                                  I



                QI    rue you aware this interview is being audio and/or video recorded?
                Q2    Has anyone threatened you in order to obtain this interview?
                Q3        e you giving this interview of your own free will?
                Q4      lease, state your full name, and spell your last name. What is your date of birth?
                Q5      tale your home address including the zip code.
                Q6     s this the same as your mailing address? (If no) Mailing address?
                Q7      late your home telephone number with the area code.
    (           Q8     late your mobile and an alternate phone number with area codes.
                Q9    Are you employed?
                QI 0 Eate your employer and the position you hold there.
                QI I       at is your work telephone number?                  .
                Ql2   Are you aware the following interview will be a sworn statement?

        PLEASE RAISE YOUR RIGHT HAND

        Do you, ,:[e ft /-la rri                     , solemnly swear or affirm to tell the truth, the whole truth, and
        nothing but the truth, so help you God?
                      ~-TH~_).BOVE          OATH THAT I HAVE TAKEN.
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                              Witness signature                                      Date
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                ~L~           Notary Pubiic, State at Large                                 My Commission Expires

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         Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 38 of 211 PageID #:
                                             3233


                              LOUISVILLE METRO POLICE DEPARTMENT
                                     PUBLIC INTEGRITY UNIT
                                      OFFICIAL STATEMENT
(                                        CASE NUMBER:              /5 - 06 t)
    Today's date is     S:.,,.nd3.v Oet:       O 'f-   J..iJl.5      The time is   f); 3 C(          p ;YI      hours.
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    This is an interview with   o{l"     !f#'/J/y 5/-, I0q, /                        (RIS)                 W    ft1
    This interview is being conducted at:

    0       Public Integrity Unit, 810 Barret A venue, Louisville, KY 40204

    'B     Other Location:         C: Ou id f <"ff:.::> I "5 .,,...-. 5--P                 i:1   o¢s             t/   (Currt'ef;.s.
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                                                                                              h        I          d4qc/q(j/[
                                                                                                                         I


           QI g'Are you aware this interview is being audio and/or video recorded?
           Q2 ~Has anyone threatened you in order to obtain this interview?
           Q3 Q'Are you giving this interview of your own free will?
           Q4    liZ!
                    Please, state your full name, and spell your last name. What is your date of birth?
           Q5 G;?'State your home address including the zip code.
           Q6 Ga'Is this the same as your mailing address? (If no) Mailing address?
(          Q7    b2I'
                    State your home telephone number with the area code.
           Q8 [;?State your mobile and an alternate phone number with area codes.
           Q9 ~Are you employed?                                      ·       ·
           QI 0 g'State your employer and the position you hold there.
           QI I 6ZJ What is your work telephone number?
           Ql2   0  Are you aware the following interview will be a sworn statement?


    PLEASE RAISE YOUR RIGHT HAND

                                                 ' solemnly swear or affirm to tell the truth, the whole truth, and


    I UNDERSTAND THE ABOVE OATH THAT I HAVE TAKEN.
                                                                          -r 10-'-l-1s                       -X <6: 3 7      PM
                                                                                   Date                            Time


                                                                                   Date                            Time

    Subscribed and sworn to me by
                                                                    ;;;
    This     ~'0~9'_·__ day of           oc:z---                  '2015




                          Notary Public, State at Large                                   My Commission Expires
                                                                                                                GB003074
    Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 39 of 211 PageID #:
                                        3234

                    LOUISVILLE METRO POLICE DEPARTMENT
                            PUBLIC INTEGRITY UNIT
                             OFFICIAL STATEMENT
                         CASE NUMBER: •J..:5- O6 '6
Today'sdateis 5vt?/;µ oc:r o</ dOJS       Thetimeis                                                       hours.

Thisisaninterviewwith          S9r Cf'IJ t"'SL
                               /
                                                              &ct+=                       (RIS) .
This interview is being conducted at:

       Public Integrity Unit, 8 I 0 Barret Avenue, Louisville, KY 40204 - / ;
       Other Location:             C.. ou W ~fFers <J'Y' J-l<fT, jJ5?- {Corre. cf•on !")
                                                                                      7
Present during this interview is;         ~~        . <~
                                      4£- '           2JC..o "!:L_   0   1XJ   -fee                 :Jo11 fk"'!1 Jory-,
                                                                                                                    /
Sd:_                      &neft:                   &o.(£                          /
   1fit]e)                                                                 (Name)
       QI V(Are you aware this interview is being audio and/or video recorded?
       Q2 ~Has anyone threatened you in order to obtain this interview?
       Q3    l2f'
               Are you giving this interview of your own free will?
       Q4 b2f Please, state your full name, and spell your last name. What is your date of birth?
       Q5 0 State your home address including the zip code.
       Q6 ll2J Is this the same as your mailing address? (If no) Mailing address?
       Q7 [2f State your home telephone number with the area code.
       Q8 ~·State your mobile and an alternate phone number with area codes.
       Q9 i;;f·Are you employed?
       QI 0 ~State your employer and the position you hold there.
       QI I 0' What is your work telephone number?
       Ql2 0 Are you aware the following interview will be a sworn statement?


PLEASE RAISE YOUR, RIGHT HAND

Do you,  tE:.rn er./:      {~ 0    {f;-          , solemnly swear or affirm to tell the truth, the whole truth, and
nothing but the truth, so help you God?



                                                                                                      ~    1o:J(
                                                                                                              Time
                                                                                /6-    ~-rs-­              1.cJ: 2 I H-e-_>
                                                                                      Date                    Time
 Subscribed and sworn to me by                       l!Cfl    r-s/= C? off
This       0 9
         -~---
                          day of      OcT                     ,201s



       ~~L~
         Public, LargeNotary          State at                                             My Conunission Expires

                                                                                                          GB003075
             Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 40 of 211 PageID #:
                                                 3235

                                  LOUISVILLE METRO POLICE DEPARTMENT
                                         PUBLIC INTEGRITY UNIT
                                          OFFICIAL STATEMENT
(                                          CASE NUMBER:           /5- oc,, 'iS
                                                                  ~~~~~~~~




        Today'sdateis      S:.41/t,cij /IJ-of'- ;.5'         Thetimeis                  7 :3'3,o             hours.
                                   7                                                             v
        This is an interview with Of'c:- C /; fto r,,,( /YJar 6( t'I I/                  (RJS)          J.3 fV7
                                                                                                     ~~~~~~~~-



        This interview is being conducted at:

        0       Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204                  _/
        -Q     OtherLocation:          '10o      w'.   J~(SoYJ [yf' t--/o~'/SC/ ~c_-e.{GrrtuA
        Pre.Mtdoringthi•h>teM~fa; ;!JI_ -:Xd &oola;                                stfJin                  tfatdj{'1
        Q(C                       C/.frOrc/ dbrbre7 V
             (Title)                                                          (Name)

               QI ~Are you aware this interview is being audio and/or video recorded?
               Q2 Q"Has anyone threatened you in order to obtain this interview?
               Q3 Q'Are you giving this interview of your own free will?
               Q4 G1°' Please, state your full name, and spell your last name. What is your date of birth?
               Q5 b:a' State your home address including the zip code.
               Q6 !Ja"Is this the same as your mailing address? (If no) Mailing address?
    i          Q7      Ga'
                       State your home telephone number with the area code.
    \          Q8 [2f State your mobile and an alternate phone number with area codes.
               Q9 ~Are you employed?
               Q10 G;?State your employer and the position you hold there.
               Ql 1 filWhat is your work telephone number?
               Q12 0Are you aware the following interview will be a sworn statement?


        PLEASE RAISE YOUR RIGHT HAND

        Do you, Ch      #Q(i:;/   /llarbr~y         , solemnly swear or affirm to tell the truth, the whole truth, and
        nothing but the truth, so help you Gd?
        I UNDERSTAND THE ABOVE OATH THAT I HAVE TAKEN.

                                                                          /      /0-4-·l.S                ~ "] ... .3,$~\'{\
                                                                                       Date                     Time
                                                                                                              1: .rS°f>N(
                                                                                                                Time

         Subscribed and sworn to me by

        This           0 L/       day of



                                                                                 /o-,;;-'ff- dO/ 7
                              Notary Public, State at Large                                   My Commission Expires

                                                                                                            GB003076
            Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 41 of 211 PageID #:
                                                3236

                                  LOUISVILLE METRO POLICE DEPARTMENT
                                         PUBLIC INTEGRITY UNIT
                                          OFFICIAL STATEMENT
(
\                                      CASE NUMBER:    -Q(:,'g    /c;
        Today'sdateis 5vn~ (Jc:/7                  o'l ,;J.o/S'
                                                        1
                                                                   Thetimeis      7 .' S g   f r0     hours.

        This is an interview with    C;{,I si'IP h-e,(' 13ce17.T.S                 (RIS)        A3 /Y)




         /22r.
             (Title)
                                    C,1,,-siypJre/.-           wre11i>(Name)
                QI E:{Are you aware this interview is being audio and/or video recorded?
                Q2 c::lHas anyone threatened you in order to obtain this interview?
                Q3 0:Are you giving this interview of your own free will?
                Q4 ~~· lease, state your full name, and spell your last name. What is your date of birth?
                Q5      State your home address including the zip code.
                Q6      Is this the same as your mailing address? (If no) Mailing address?
                Q7 G2J' State your home telephone number with the area code.
    (           Q8     0State your mobile and an alternate phone number with area codes.
                Q9 ~Are you employed?                                              ·
                QIO ~State your employer and the position you hold there.
                QI I g'°What is your work telephone number?
                Q12    l:J'
                        Are you aware the following interview will be a sworn statement?


        PLEASE RAISE YOUR RIGHT HAND

        Do you,   dr,sto.1Jlt-e..r f3eetf/5::• solemnly swear or affirm to tell the truth, the whole truth, and
        nothing but the truti{,;o help you God?
                              im-11.R10VE OATH THAT I HAVE TAKEN.

                                                                        -r- I (J --L/ -I s--     ~      ~.'{))
                                                                                Date                        Time
                                                                          /O-'l-1r
                                                                                Date

         Subscribed and sworn to me by

         This


                ¢~~_/~---:>
                               Notary Public, State at Large                           My Commission Expires

                                                                                                     GB003077
         Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 42 of 211 PageID #:
                                             3237

                                  LOIDSVILLE METRO POLICE DEPARTMENT
                                          PUBLIC INTEGRITY UNIT
                                           OFFICIAL STATEMENT
                                       CASE NUMBER:    IS"- O (,, B
    Today'sdateis     IJC!-tt@(!!.\.cJo~            !Thetimeis Jfoj    hours.

    This is an interview wit{J~..ftr / JA, k{rite /ff..  (!..  (RIS) -------
    This interview is being conduc;ed at:

              Public Integrity Unit, 8 I 0 Barret Avenue, Louisville, KY 40204

              Other Location:         (poo dd- ~oJ,                       btfJJ(!_ fc£U ()/f,-ce
    Present during this interview is; }           I_/';\ J: "i'A          ('   f 1/
      (1;1                                       !_)~.,.. "
                                            [._,. ,-.               c:Lf{- "'$51'nje r
     /Yl.f_J.                      la    <:.h+-a.~(flA~e---lLe__...(~~-1-------
           (Title)                                                             (Name)

             QI      2J'
                       Are you aware this interview is bein~d/or vi"o recorded?
             Q2      12rHas anyone threatened you in order to obtain this int~ew?
             Q3      .Id
                      Are you giving this interview of your own free will?
             Q4 j2fPlease, state your full name, and spell your last name. What is your date of birth?
             QS J2j' State your home address including the zip code.
                                           as
             Q6 12!1s this the same your mailing address? (If no) Mailing address?
             Q7 .12rstate your home telephone number with the area code.
(            Q8 12f"State your mobile and an alternate phone number with area codes.
             Q9 .!2r'Are you employed?
             QI 0 .12!:$tate your employer and the position you hold there.
             QI I~]niat is your work telephone number?
             Q12.)d'Are you aware the following interview will be a sworn statement?

    PLEASE RAISE YOUR RifHT HAND
    Do   yo,/)..,s(c../ be/(/ lMe/{e_                   ,solemnly swear or affirm to tell the truth, the whole tnith, and
    nothin;tlt the truth, so help you God?

    I UNDERSTAND THE ABOVE OATH THAT I HAVE TAKEN.

                                                                                                                                     ,":)       I   I
                                                                                         Date                                                   Time

                                                                                   10   lo 4 /zo1-;;
                                                                                         Date

    Subscribed and sworn to me by

    This
               -~~--
                     4!!:!:       day of        OC!.TOSE-e.          , 201s
                                                                                        ~~Qli~3~r f0J?~~\
                                                                                            '.;t:An'·1f·°i' .t~\·:1t·'l ,,,,,,,. ;. , ~. i~tl

                              Notary Public, State at Large                                       My Commission Expires

                                                                                                                                        GB003078
            Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 43 of 211 PageID #:
                                                3238


                                  LOUISVILLE METRO POLICE DEPARTMENT
                                         PUBLIC INTEGRITY UNIT
(-                                        OFFICIAL STATEMENT
                                       CASE NUMBER: /.5 - 0 G "6
        Today's date is      Jvr1dllv OU (JC/ dal5 Thetimeis 'l''f )plv'>                                                 hours.
                                    r                                                                     TT
        This is an interview with       /<!. / #/ bef!7 v lirow,/I - Hr:fl/C$
                                                                         <....;.       ;
                                                                                                   (RIS)         (]   £
                                                                                                               ~~~~~~~~-


        This interview is being conducted at:

        0      Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204

        ~      Other Location:            C:, do    W. Je-A'fir:SaYJ cl f:                                14o:rjftv (c1rr-ed.~,;
        Present during this interview is;        < _;              ,/_             _ _;.,.
                                          .:>JI ' S C<.> fr b o::r? Coe S/f=JOn
            (Title)
                                    /<'-. 6-eif f3rmv./I - dij;'.-eame)S
                                          v'Y1


               QI @'Are you aware this interview is being audio and/or video recorded?
               Q2 b2j'Has anyone threatened you in order to obtain this interview?
               Q3 Q'Are you giving this interview of your own free will?
               Q4     li2f
                       Please, state your full name, and spell your last name. What is your date ofbirth?
               QS @'State your home address including the zip code.
               Q6 @°Is this the same as your mailing address? (If no) Mailing address?
               Q7 [;2J State your home telephone number with the area code.
               Q8 [;1 State your mobile and an alternate phone number with area codes.
               Q9     l1f
                       Are you employed?
               QI 0   G1'.
                       State your employer and the position you hold there.
               Q11    0What is your work telephone number?
               Q!2    B'
                       Are you aware the following interview will be a sworn statement?


        PLEASE RAISE YOUR RIGHT HAND

                                                        , solemnly swear or affirm to tell the truth, the whole truth, and
                 ""'-"'-'-'~'-'-J"--~:=,i"-"'-~~




                                                                                                                             Time
                                                                                           /6-tf-r~                   2-t '{ 3     fl/ZS
                                Witness signature                                                Date                        Time

        Subscribed ana sworn to me by               .       /<::, 'ro h~£ (Y                 d"'</-tE;
        This          a er          day of       12~           .     ,2015

             ~LL~
i(
'\...


                               Notary Publfo, State at Large                                 "          My Commission Expires

                                                                                                                          GB003079
               Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 44 of 211 PageID #:
                                                   3239


                                       LOUISVILLE METRO POLICE DEPARTMENT
                                              PUBLIC INTEGRITY UNIT
                                               OFFICIAL STATEMENT
(                                           CASE NUMBER: 15- ()b ~
         Today's date is      5°.v4~,,      OC{a l/ d-0 /S. The time is.                                           hours.

         Thisisaninterviewwith          f)Cl.Qve //'(,, Cr-ei.k/f'acc/                         (R/S)
                                                /
         This interview is being conducted at:

         D        Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204
         ..g     Other Location:              0 o<J      lJ. Je-ft'-e(:iry?            5-f'


         &_~--
               (Title)                                                            (Name)

                 Q 1 G2(Are you aware this interview is being audio and/or video recorded?
                 Q2 g Has anyone threatened you in order to obtain this interview?
                 Q3 121' Are you giving this interview of your own free will?
                 Q4 GJ'PJease, state your full name, and spell your last name. What is your date of birth?
                 Q5 g'state your home address including the zip code.
                 Q6 i::;a' Is this the same as your mailing address? (If no) Mailing address?
                 Q7 Q' State your home telephone number with the area code.
    \.           Q8 621. State your mobile and an alternate phone number with area codes.
                 Q9 Q' Are you employed?
                 QI 0    9 State your employer and the position you hold there.
                 Ql 1 g'What is your work telephone number?
                 Q12 j~fAre you aware the following interview will be a sworn statement?


         PLEASE RAISE YOUR RIGHT HAND

         Do you,   /l,.., Le ;/ CC¢vy{;,((/               , solemnly swear or affirm to tell the truth, the whole truth, and
         nothing but     tli'J truth, so help you God?
         I UNDERSTAND THE ABOVE OATH THAT I HAVE TAKEN.

                                                                                                               « g: 21prn
                                                                                                                      Time
         djJ Q,._;h
                 -o-           ~ignature
          Subscribed and sworn to me by
                                          .                                          jf) -



                                                               ,()aayeil_ CCo.wftic,;(
                                                                                             '1 - 1S-
                                                                                             Date                     Time



          This     -""?)'--t:'/
                            _ _ _ day of            OGT                ,2015




                                                                                                    My Commission Expires
                                                                                                                   GB003080
        Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 45 of 211 PageID #:
                                            3240

                             LOillSVILLE METRO POLICE DEPARTMENT
                                      PUBLIC INTEGRITY UNIT
(                                      OFFICIAL STATEMENT
I                                       CASE NUMBER:           /5·-uc.,     l(
    Today's date is   S?'ntlq_!I
                              I
                                   oc:r      0 'I i9(.) I~       The time is     ']f' ;L"6f     yYI     hours.

    Thisisaninterviewwith         Gvr/r?91 jllrch/S                                (RIS)        wE
    This interview is being conducted at:

    0      Public Integrity Unit, 810 Barret A venue, Louisville, KY 40204

    ~      Other Location:                                                          ,?-./o-:(/;Jsv(Correc.t~s)
    Present during this interview is;    ¥·
                                         ~
                                                         ~
                                                  5 Co II (2 (JtfTr.:-e._7              5fai'    I   'Wt?   At,rltc4
    dif-s                     Covrfn-cy           &·dtols
        (Title)                                                         (Name)

           QI G2J'Are you aware this interview is being audio and/or video recorded?
           Q2 [3'Has anyone threatened you in order to obtain this interview?
           Q3 lid'Are you giving this interview of your own free will?
           Q4 G;1Please, state your full name, and spell your last name. What is your date of birth?
           Q5 !YI' State your home address including the zip code.
           Q6 @Is this the same as your mailing address? (If no) Mailing address?
           Q7 li2!"State your home telephone number with the area code.           .
           Q8 ll2f State your mobile and an alternate phone number with area codes.
           Q9 0 Are you employed?
           QI 0 U2f State your employer and the position you hold there.
           Q11 0 What is your work telephone number?
           Q12 5l Are you aware the following interview will be a sworn statement?


    PLEASE RAISE YOUR RIGHT HAND

    Do you, Qvr/;,., 11      M c/.~/5           , solemnly swear or affirm to tell the truth, the whole truth, and
    nothing but the truil(so help you God?
    I UNDERSTAND THE ABOVE OATH THAT I HAVE TAKEN.

                                                                        -7' 10-Ll-t 5                 ~J,o5q
                                                                                 Date                       Time
                                                                           (o-<{-1~                      z.100 !ks
                                                                                 Date                       Time
    Subscribed and sworn to me by

    This     _,O~'/'. . .__ dayof oc2        --              , 2015




                          NotarfPublic, State at Large                                  My Commission Expires

                                                                                                       GB003081
             Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 46 of 211 PageID #:
                                                 3241

                                   LOUISVILLE METRO POLICE DEPARTMENT
                                          PUBLIC INTEGRITY UNIT
                                           OFFICIAL STATEMENT
(                                       CASE NUMBER: 15-068
                                                                   --------
       Today's date is    Wednesday, October 07, 2015                  The time is    C}O </;)              hours.

       This is an interview with    John Saar        (RIS)                                           W/M
                                    ----------------
       This interview is being conducted at:

       ~        Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204
       0       Other Location:

       Present during this interview is;     Sgt. Scott Gootee and Sgt Robert Banta


              Tech                 John Saar
             (Title)                                                         (Name)

               QI Q'Are you aware this interview is being ~d/or video recorded?
               Q2
               Q3
                       §Has anyone threatened you in order to     riFtafu
                                                                       this interview?
                        Are you giving this interview of your own free will?
               Q4       Please, state your full name, and spell your last name. What is your date of birth?
               Q5 0 State your home address including the zip code.
               Q6 G21'Is this the same as your mailing address? (If no) Mailing address?
               Q7 b2f State your home telephone number with the area code.
               Q8 0 State your mobile and an alternate phone number with area codes.
               Q9 l2J Are you employed?
               QIO CZ! State your employer and the position you hold there.
               Ql 1 Ql'What is your work telephone number?
               Ql2 !;Zf Are you aware the following interview will be a sworn statement?


       PLEASE RAISE YOUR RIGHT HAND
       Do you,     John Saar                         , solemnly swear or affirm to tell the truth, the whole truth, and
       nothing but the truth, so help you God?

                        ~HE ABOVE OATH THAT I HAVE TAKEN.                                    •j
                        ~                                                   --x 1c-1LJ<:
                                                                                      Date                     Time

                                                                                  10'5')1 ::,-
                                                                                                               Time

        Subscribed and sworn to me by                      John Saar

        This
                 -07- - - - day of           October              , 2015


    \l . ·
                               Notary Pub!fo, State at Large                                 My Commission Expires


                                                                                                           GB003082
                Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 47 of 211 PageID #:
                                                    3242

                                      LOUISVILLE METRO POLICE DEPARTMENT
                                             PUBLIC INTEGRITY UNIT
                                              OFFICIAL STATEMENT
(                                          CASE NUMBER: 15-068
                                                                        -------~
            Today's date is    Wednesday, October 07, 2015                 The time is      :Jo 5"l/             hours.
            This is an interview with    Teresa Kitchens                                     (RJS)        W/F
                                        ---------------~

            This interview is being conducted at:
            ~       Public Integrity Unit, 810 Barret Avenue, Louisville, KY 40204
            0       Other Location:
            Present during this interview is;   Sgt. Scott Gootee and Sgt Robert Banta


                  Tech                  Teresa Kitchens
                                      ----------------------------~
                 (Title)                                                          (Name)
                    Q 1 Q'Are you aware this interview is bein~nd/or video recorded?
                    Q2 g Has anyone threatened you in order ~;tlus interview?
                    Q3 G2J Are you giving this interview of your own free will?
                    Q4 GZJ Please, state your full name, and spell your last name. What is your date of birth?
                    Q5 [i2I' State your home address including the zip code.
                    Q6 li2! Is this the same as your mailing address? (If no) Mailing address?
                    Q7 ~State your home telephone number with the area code.
    (               Q8 1i21 State your mobile and an alternate phone number with area codes.
                    Q9 b2J Are you employed?
                    QI 01i21 State your employer and the position you hold there.
                    QI l IZJ What is your work telephone number?
                    Ql2 ~Are you aware the following interview will be a sworn statement?

            PLEASE RAISE YOUR RIGHT HAND
            Do you,    Teresa Kitchens                    , solemnly swear or affirm to tell the truth, the whole truth, and
            nothing but the truth, so help you God?

            I UNDERSTAND THE ~rv:ATH THAT I HAVE TAKEN.
        -r:s ~                                                                 Llo-7- l5
                    ~            ~~e                                                       Date                     Time

                    d! ~iu        Witness s i g n a t u r e a t f
                                                                                         1~1L<                      Time
             Subscribed and sworn to me by                     Teresa Kitchens
             This      07
                      -'-----
                              day of            October                '2015

f.      L
                    ~~~ 4~ /d-~6- :?all
                                  Notary Public, State at Large                       ------~--~----
                                                                                                  My Commission Expires

                                                                                                                GB003083
             Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 48 of 211 PageID #:
                                                 3243




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                  Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 49 of 211 PageID #:
                                                      3244


                 I                               Louisville Metro Police Department
                                                      Crime Scene Unit Report
(
          Date: 10/04/2015                        Day: Sunday                                         [8J Original         0     Supplement
          CSU#:          80-15-0797190Rl-RED                                                  ICN#:   80-15-079719
          Offense(s):                             Attepted Suicide
          Notified/Dispatched by:                Lt. K. Despain by telephone
                                                 LMDC-                     LMDC-                                                     LMDC-
                                                 1825;                     1830;                                                     1913;
                                                 Uofl                      Uofl                                                      U of L
                                                 Hospital                  Hospital                                                  Hospital
                                  Time Received: 1913       Arrival Time:
                                                                          -1921
                                                                            ----                                       Cleared Time: 1927
          Detective(s) at Scene:                  Lt. K. Despain and Sgt. S. Gootee
          Lead Detective/Division/Unit:          _S~g~t_.S_._G_o_o_te_e_/_P_IU
                                                                             _ _ _ _ _ _ _ Code#:             2471
         CSU Technician(s):                       E. Redfield      Code #: 8141
                                                 -----------------
              Crime Scene Information:
                                 600 W. Jefferson Street, 61h floor, H6
              Location of Scene: Dorm 9 (Hall of Justice)                                     Date of Occurrence:        10/04/2015
              Type of Premise:      0Residence 0Roadway 0Business 0Vehicle IZ!Other                     Correctional Facility
              'Neather Condition:     IZ!lnside 0Snow 0Rain 0Clear OOther
    (                                                                                         ----------------
          Victim's Information:
          Victim's Name:            James Earl Ashb
          Victim's Address:         600 W. Jefferson Street, 6th floor, H6 Dorm 9 Hall of Justice                                                   LI
          Cit :      Louisville                                           State:        KY                               Code:        40202
          Race:       White                                                                                               A e:        36
          Elimination Prints Taken?                                       Post Mortem
          Victim's Hands. B         ed?                                                 GSR Done on Victim?    0 Yes                  No

          Suspect Information:
                                                                                    .                           .·.·
                       Susoec:t's Name             .·   Race        Sex                 DOB                   Address             .           GSR
          NIA                                                                                                                                 D
                                                                                                                                              D
          Photography:
          Photographing Technician(s):          E. Redfield *Photos of the scene, victim at U of L Hospital, and Evidence
                                                at the CSU Office.*

          Video:
        I,_     ~ Technician(s) or Detective:    _N_l_A_________________________



                                                                                   1 of 3                                         LMPD # 07-0001    i '
                                                                                                                           GB003085
               Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 50 of 211 PageID #:
                                                   3245
                                                                                                                                                                                CSU#: 80-15-0797190Rl-RED
       Crime Scene Mapping:
       Crime Scene Measurements and Diagram Completed By:                                       N/A

       Evidence Processing:




                                                                                                                                    D
                                                                                                                                    D                                         D
       Exhibits Collected:                                                                                                                                             ,
    · :IB~;t~J;ifii.blfti~i'.'.:fr                                                                     , ~"'.,""..""~--:·""~-'Q_"'¥~"'it\"'J~[""}:1~"":Ur""~~;~"'-7;~~"'1%~""~~:t""'·.'.~~~"'"}t;""":~~~1.:"'·~~~"'.i~{.,_a1~c-c1i~-r.'":~§"'"~~:."'\~0"""-";u~""~t{l:~""0M£"";.~!""J~""~i~""f~~"'"J1fat
                  1                   One (1) brown colored, unknown brand, be5jJ§~eet collecttfdJrom the floor of the
                                      common. area of 600 ~. Jefferson Stree!~::"~~n~!t~f;;, H~ Dor~;;~ (_H~ll of Jus~ice)      . .                       ..
                                      *Note-Prior to CSU arrival, the bed sheet was moy~~;[f~IJJ:l...,~.~J.9nginal location so v1ct1m
                                      could receive medical attention .                      · "•">&1·v·;i.,   ;;}:;.
                                                                                                     '""-'--,--_,--,,


                                     The following Exhibits were,9~.llei::teci"i({il~! University of Lo~f~.Ville ~ospital,
                                     Erner enc Room, Bed #6,f!l!:lfl. belon tO'~JM~. victim.                        ·~:!/ii}';:?' •
                  2                  One (1) orange colored, "BbB'Et!~'~~ER TriSf!~~h" brand, size 4XL, q(llf;LMDC shirt
                                     collected from Detective A. Rivera~h:·'.;.•.            }]:                       1
                  3                  One (1) pair of orange colored, "BC5B'.ElAFU~ER TriStitch" brand, size 4XL, LMDC pants
                                     collected from D~tllf~tlv~.h\;i:~i¥era.          ',(<
(                4                   One (1) pair of;;Qllie color0C!'; 1'f't~IJ1e~" bran(); §i;z:e "XL", boxer style underwear collected
                                     from Detectiv~);a.. Rivera.        '• <1,.,'
                                                                             ,_, ;. .
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                                                                                           "<, ;,,                                       ·
                                                                             \" __ ~,;,,-:;:-   -.




      On 10/04/29f1,'5'at approxiqiatel~·~~~,p hours, Lt. K. D~~J>ain telephoned the CSU Office and
      requested (,~sponse to 600 W. JS'fif~f~t;>,p Street at the;('~IU Office. Upon arrival, met with Lt. K.
      Despain a~@ Sgt. S. Gootee and proo~'.ialileGt to the ()1nfloor, Dorm 9 where the following was
      performed\~>                                ·:; " · .·.··..·• ··

      Digitally phct~9graphed the scene.
                                     ,:                         ••,
      Collected Exhibif#t(See Exhibits Coilected Section)

      At approximately 1913 ~ours, Lt. K. Despain advised CSU to respond to 530 South Jackson Street,
      ER, Bed #6. Upon arrival, met with Sgt. A. Rivera and the following was performed:

      Digitally photographed the victim.

      Collected Exhibits #2, 3, and 4 (See Exhibits Collected Section).

(\_ 'approximately 1958 hours, digitally photographed Exhibits #1, 2, 3, and 4.

     At approximately 2030 hours, Exhibits #1, 2, 3, and 4 were secured in the CSU Evidence Lockers.
                                                                      CONTINUED Page 3
                                                                                                                                                                                                                                                   LMPD # 07-0001
                                                                                                                                                                                                                                GB003086
                                                                                                     2 of 3
                                                                                                                                                                                                                                                            05/13
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                                             3246

     On 10/05/2015 at approximately 2015 hours, Exhibits #1, 2, 3, and 4 were removed from the CSU
     Evidence Lockers.

( - On 10/05/2015 at approximately 2105 hours, Exhibits #1, 2, 3, and 4 were released to Property Room
1
    Clerk D. Pool at the LMPD Property Room.


     Technician's Name:    E. Redfield                                         Code#:    8141
                          ----''--"'--'-----------------                                ------
     Supervisor's Name:                                                        Code#:
                                                                                        -----
     Date:
             ------------




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                                                                                         LMPD # 07-0001
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                                                    3247


             I                                    Louisville Metro Police Department
                                                       Crime Scene Unit Report
                                                                                   Autopsy
(
        Date: 10/22/2015                            Day: Thursday                                              0   Original          ~ Supplement

        CSU#:                80-15-079719KRICH                                                         ICN#:   80-15-079719
        Offense(s):                                 Suicide Investigation
        Notified/Dispatched by:                     self-initiated
                                 Time Received:     0743    Arrival Time: 0752
                                                                          - ---- Cleared Time: 1033
        Detective(s) at Scene:                     _N_/_A_________________________
        Lead Detective/Division/Unit:               Sergeant S. Gootee/PIU                                     Code#:     2471
                                                   -~~-----------
        CSU Technician(s):                          K. Richardson
                                                   --''-'-'"-'-'-'-"'-"--"-'"-'----------
                                                                                                               Code #:    8150


        Crime Scene Information:
                           600 W. Jefferson Street,
        Location of Scene: 61h Floor, H6 Dorm 9                                                        Date of Occurrence:       10/04/2015

        Victim's Information:
        Victim's Name:             James Ashb
                                  -----'---------------------------~
                                          1
        Victim's Address:          400 S. 6 h Street LMDC
        Cit :    Louisville                                                        State:     KY                                 Code:
    \   {ace:       White                              Sex:         Male                    DOB:                                   A e:   36
        Elimination Prints Taken?         0   Yes        ~No                 0     Post Mortem

        Suspect Information:                                                                                                                           ..
         .           .   •     .                              ...                                  .


                    SusQect's Name            .       ·Race.               .Sex.             DOB                         Address             .       Gl!R
        NIA                                                                                                                                          0
                                                                                                                                                     0
        Photography:
        Photographing Technician(s):              K. Richardson

        Exhibits Collected:
          Exhibit#                                                                      Description                                              .


                               Exhibits collected at Pathology from Dr. R. Falls, Medical Examiner; belonging to
                               the victim.
                5              Head hair standard.
                6              Blood standard.




                                                                                            1of2                                          LMPD # 07-0001
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                                                    3248

                                                                                   CSU#: 80-15-079719KRICH
          Narrative:
          On Thursday October 22, 2015 at approximately 0743 hours, CSU Technician K. Richardson
   ... ·· responded to Pathology at 810 Barret Avenue. Upon arrival, met with Dr. R. Falls, Medical Examiner
(.        and the following was performed at approximately 0925 hours:

         Digitally photographed the victim.

         Collected Exhibits 5 and 6 from Dr. R. Falls at approximately 1030 hours.

         Transported and secured Exhibits 5 and 6 in the CSU Evidence Lab ..

         Released Exhibits 5 and 6 to the LMPD Property Room clerk K. WUbertat approximately 1323 hours.




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                                                            3249



                                                 POSTMORTEM EXAMINATION

                                                        OF THE BODY OF

                                                  ASHBY, JAMES ME-15-1353

                        A postmortem examination of the body identified by the Jefferson County Coroner as
                 James Ashby is performed at the Urban County Government Center on October 22, 2015 at 9:25
                 a.m. by Dr. Lauren Lippincott and Dr. Randall Falls. The attendant is Kendall Gault.

                EXTERIOR OF THE BODY

                        The body is received in a white body bag clad in a multicolored hospital gown. An
                identification tag bearing the decedent's name is aiound the left ankle. A toe tag bearing the
                decedent's hospital alias is around the left first toe.

                         The body is that of a normally developed, normally nourished, adult white male
                 appearing consistent with the reported age of 36 years. The body has a measured height of 66"
                 and a weight of 136 pounds. The scalp hair is black and straight measuring up to 112" in length.
                 The irides are brown. The sclerae are white. The pupils, viewed through clear comeae, are round
                and equal measuring up to 6 mm. The conjunctivae are minimally injected and petechiae are ·
                absent. The ears and nose are palpably intact. Facial hair consists of a brown mustache and
                beard, measuring up to I". The frenula of the lips are intact. The natural anterior dentition is in
                fair repair. The trachea is midline and the neck is without masses. Superficial lymph nodes are
(               not enlarged. There are multiple irregular red healing abrasions measuring from 1/8" up to 112"
                superior to the middle aspect of the left clavicle. The chest is symmetric and of normal mobility.
                The abdomen is slightly protuberant. White powder is present over the skin of the umbilicus,
                lower abdomen and groin. The atraumatic external genitalia are normal male. The penis is
                circumcised and the testes are palpable within the scrotal sac. Examination and palpation of the
                extremities reveals no evidence of peripheral edema, deformity or fracture. White powder is also
                over the left knee and the right anterior leg.

                       The back is well-developed and without injury. The anus is atraumatic.

                        Rigor mortis is well-developed in the major muscle groups. Purple Iivor mortis is present
                posteriorly except over pressure points and blanches.

                EVIDENCE OF MEDICAL INTERVENTION

                   I) EKG pads with attached leads over the anterior torso
                   2) Single lumen catheters in the right and left antecubital fossae
                   3) Gauze with tape over left wrist with underlying puncture wound
                   4) Multiple wrist bands on right wrist including identification band with hospital alias, "Fall
                      Risk" bracelet and "Allergy" bracelet
                   5) Foley catheter with attached plastic tubing and urinary retention device in place in the
                      urethra and secured to left thigh
{(
.. --
-   _,   -         6) Cushioned bandage over the sacrum




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      MEI5-1353


      IDENTIFYING MARKS, SCARS AND TATTOOS
(
          I) Multiple monochromatic and polychromatic tattoos over the following body regions:
             right forehead; right temple; right zygomatic arch; surrounding the left eye and involving
              the left forehead, left supraorbital ridge, left temple, left zygomatic arch and midline of
             the nasal bridge; traversing the anterior neck; traversing the posterior neck; lateral right
             and left rieck; traversing the upper chest; traversing the upper back; right and left mid·
             chest; traversing the mid and lower back; right flank; midline upper abdomen; traversing
             the mid abdomen; upper lateral left arm; surrounding the mid right and left arms; along
             the length of the dorsal right and left arms; right elbow; along the length of the dorsal
             right and left forearms; upper ventral left forearm; ventral right and left wrists; dorsal
             right and left hands; dorsal surface of proximal phalanges 2-5 on each hand
         2) Multiple irregular scars measuring up to I" over the right antecubital fossa
         3) 1/2" linear scar on the mid left arm
         4) Multiple parallel obliquely oriented linear scars measuring from I" up to 1 l/4"over the
             ventromedial left forearm
         5) 3/4" well-healed linear scar on the mid lateral left forearm

     INJURIES

             There is a I" x 3/8" area of irregular red scabbed abrasions over the left cheek

     INTERIOR OF THE BODY

             A "Y" incision is carried through a midline panniculus measuring up to 4cm through,
     reddish musculature into an abdominal cavity lined with glistening serosa and containing no free
     fluid. Generally, the intra-abdominal viscera maintain their usual in situ relations. Anteriorly, the
     liver edge is sharp and the diaphragm displays no abnormality. The appendix is present.

             The mediastinum is midline. The pleural cavities contain 200ml of serosanguinous fluid,
     bilaterally.

     CARDIOVASCULAR

            The heart is of the normal configuration and weighs 440 grams. The epicardial surface
    contains a normal amount of glistening, yellow adipose tissue. The left ventricular free wall,
    interventricu!ar septum, and right ventricular free wall measure l .Ocm, l .2cm and 0.3cm in
    thickness, respectively. The mural and valvular endocardia are smooth and glistening. The
    papillary muscles and projecting myocardial muscle bundles are of slightly increased
    prominence. The chordae tendineae display no abnormality. The sinotubular junction
    demonstrates slight atherosclerosis. The coronary ostia are in their usual location and give rise to
    normally distributed coronary arteries. There is approximately 75% atherosclerotic narrowing of
    both the proximal left circumflex artery and proximal left anterior descending artery, and
    approximately 50% atherosclerotic narrowing of the mid right coronary artery. On section, the
    firm, brown myocardium is of normal consistency without hemorrhage or fibrosis.

            The systemic aorta is of normal caliber. The intimal surface of the ascending aorta
    reveals few mild atherosclerotic plaques. The ostia of the large branches are of normal


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       distribution and dimension. Exploration and inspection of the large veins reveals no evidence of
       antemortem clot.

      RESPIRATORY

              The lungs are of the usual lobation and weigh 1040 and 990 grams, right and left
      respectively. The lungs are nonnally inflated. The pleural surfaces are gray-red and
      predominantly smooth. There are two yellow pleural plaques, one over the left lower lobe
      measuring up to 1.0 cm, and one over the right lower lobe measuring up to 2.5cm. Mild to
      moderate amounts of subpleural anthracotic pigment are present within all lobes. The bronchi
      are ofnonnal distribution and dimension. They are lined by a smooth, tan epithelium and
      contain thick, opaque white mucoid material. The pulmonary vasculature is of nonnal
      distribution and dimension. The vessels show a smooth, glistening intimal lining and no
      antemortem clot. On section, the lungs are finn and exude moderate amounts of tan frothy fluid.
      The hilar lymph nodes are mildly anthracotic and non-calcified.

      LIVER AND GALLBLADDER

              The liver weighs 2330 grams. The capsule is intact, smooth and shiny. Sectioning the
      hepatic parenchyma reveals a brown and soft cut surface with a vague nutmeg-like appearance.

              The gallbladder contains approxlli:tately 5 mL of bile and no stones. The large bile ducts
      are patent and of normal caliber and distribution.

      PANCREAS

              The pancreas is tan-yellow with a nonnal lobulated appearance. There is no fibrosis or
      calcification. The ducts are patent and of nonnal caliber.


      ADRENALS

             The adrenal glands are of nonnal size and shape. They are composed of yellow outer
     cortical rims overlying deeper brown cortical zones and gray medulla..

     GENITOURINARY

            The kidneys are of similar size and shape and together they weigh 400 grams. The renal
     capsules are removed with ease to reveal smooth, red-brown cortical surfaces. The cortices are
     sharply delineated from the underlying medullary pyramids. The usual arcuate markings are
     preserved. The calyces, pelves and ureters are unremarkable.

             The urinary bladder contains no urine.

           The prostate gland is of normal size and shape. Sectioning reveals a firm, tan-white,
     unremarkable cut surface.




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               SPLEEN
(
                       The spleen weighs 220 grams. The capsule is intact. The parenchyma is red-purple with
               easily discernible red and white pulp.

               ALIMENTARY TRACT

                     The intact esophagus is lined by gray-white, smooth mucosa with normal longitudinal
              folds. The gastroesophageal junction is unremarkable. The gastric wall is intact and of usual
              thickness. The gastric lumen contains approximately 25 mL of opaque tan liquid; no pills or
              capsules are identified. The gastric mucosa is tan-pink and arranged in the usual rugal folds.
              The small and large intestines are unremarkable.

              MUSCULOSKELETAL

                     Examination and palpation of the sternum, ribs, spine and pelvis reveals no fractures.

              NECK

                      There is no soft tissue hemorrhage within the neck. The hyoid bone and thyroid
              cartilages are intact. The airway contains a copious amount of white frothy, mucoid fluid along
              its length. The mucosal surfaces of the larynx and trachea are otherwise unremarkable. The
              vocal cords display no abnormality.

                    The lingual mucosa is intact, and the underlying firm red-brown musculature is without
              hemorrhage.

              THYROID

                     The thyroid gland is unremarkable.

              HEAD

                     There is no soft tissue hemorrhage within the scalp. The calvarium is intact and displays
             no abnormality. The dura is of normal tenseness. The superior sagittal sinus is patent and in the
             midline. The leptomeninges are glistening and translucent. The brain is of normal convolutional
             pattern and weighs 1360 grams.                                                             ·

                     Examination of the arteries at the base of the brain reveals them to be of normal
             distribution and dimension. They are smooth-walled, collapsed and transparent. The uncinate
             gyri and cerebellar tonsils do not demonstrate pressure phenomena.

                     Multiple frontal sections of the brain at approximate levels of 2cm reveal normal
             relations of gray and white substance. No focal abnormal markings are demonstrated. The
             ventricles contain clear fluid and the lining ependyma is smooth and glistening. The choroid
    I        plexuses display no abnormality. The basal ganglia are unremarkable.
~ "-·
                     Multiple horizontal sections of the cerebellum, pons and medulla reveal normal
             architecture of these structures without focal abnormal markings.

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(~,                      Examination of the base of the skull, after removal of the brain and dura, reveals no
                 fractures.


                DISPOSITION OF EVIDENCE

                The following items are maintained at the OCME:
                   1) Photographic documentation
                   2) Diagrammatic documentation
                   3) Tissue for stock and histology
                   4) DNA standard card
                   5) Cardiac blood for short term storage

                The following items are collected by Kelly Richardson of LMPD/CSU:
                   1) Photographic documentation
                   2) Pulled head hair
                   3) Blood standard card




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                                             MICROSCOPIC

  HEART: Myocyte hypertrophy.

 LUNGS: Focal alveolar collections ofneutrophils. Areas of alveolar chronic inflammation with
 increased numbers of fibroblasts. Diffuse alveolar edema. Abundant pigment-laden alveolar
 macrophages. Vascular congestion with focal red cell extravasation and atelectasis.

 PLEURAL PLAQUE: Collection of acute and chronic inflammatory cells with admixed fibrin
 and cellular debris.

 LIVER: Focal nonspecific portal inflammation. Sinusoidal congestion.

 KIDNEY: Arteriolosclerosis with glomerulosclerosis. Vascular congestion with focal red cell
 extravasation. Focal interstitial chronic inflammation.

 BRAIN: Focal neuronal cytoplasmic eosinophilia with nuclear pyknosis, loss of nucleoli and
 surrounding parenchymal edema.




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                                  JUSTICE AND PUBLIC SAFETY CABINET
                                               Office of the Chief Medical Examiner
     Steven L. Beshear                              Urban Government Center                            J. Michael Brown
     Governor                                           810 Barret Avenue                                        Secretary
                                                Louisville, Kentucky 40204-1702
                                          Phone (502) 852-5587 Fax (502) 852-1767
                                                         www.kentucky.gov


                                                      FINAL DIAGNOSIS

                                                 ASHBY, JAMES ME-15-1353


                 I.      Findings consistent with asphyxia via ligature hanging
                         A. Per deputy coroner.report, police investigation and review of available medical
                             records:
                                 I. 36-year-old male found hanging by bed sheet in jail cell; last seen alive
                                     approximately I 0 minutes prior.
                                 2. Status post cardiopulmonary resuscitation with return of cardiac activity
                                     and post-injury in-hospital survival of 17 days
                         B. Hypoxic/ischemic encephalopathy (see microscopic description)
(                        C. Acute bronchopneumonia, with early organizing pneumonia (see microscopic
                             description)
                 II.     Hypertensive and atherosclerotic cardiovascular disease
                         A. Cardiomegaly
                         B. Arteriolonephrosclerosis (see microscopic description)
                         C. Coronary artery disease, moderate to severe
                         D. Aortic atherosclerosis
                 III.    Postmortem toxicology not performed due to post-injury survival interval


            OPINION: Death in this case is due to asphyxia via ligature hanging. (E953.0J)



                                    Randall K. Falls, Jr., DO



                                    Lauren Lippincott, DO



            DATE PERFORMED: October 22, 2015
            DATE COMPLETED: November 23, 2015
            COUNTY OF ffiRISDICTION: Jefferson

    KentuckyUnbridledSpirit.com
                                               Ki!!!tYs~                               An Equal Opportunity Employer M/F/D
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          COMMONWEALTH OF KENTUCKY
          OFFICE OF THE CHIEF MEDICAL EXAMINER
    ,·    LOUISVILLE, KENTUCKY
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         Toxicology         BA   BDS    CO       UDS                  VA            Ref Lab                                          \f;Jjsto

         Manner             A    H      N        u                                  Pending




         Opinion~~1~:~;-----------------------~-------~
                      .. _(_____Staff_____l~:'....f_.______~Attendant~"--··c..·~'-/--'i"'-'""·-----
         Resident____L_




         White: Office           Canary: Book                         Green: Coroner                                                            Pink: Police                                                          Yellow:Toxicology
                                                                                                                                                                                                                      GB003097
                                                                                                                                                                                                                            . #325709 - 12(12
              Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 62 of 211 PageID #:
                                                  3257
           Division: 1 DISTRICT                        Incident/Investigation Report                                            UNAPPROVED
           Beat:     123
                   Agency:     LMPD           Case Number: 80-15-079719                                       Case Status: INVESTIGATION COMPLETED

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                                         .                   .                   ·.
                                                                                            ...                                                                       .·




      ·.                               .         ..              Incident Information
                                                                            _:·-.
                                                                             ;        --·         ,,.·--~--    '-   '



       Date/Time Reported       IDate/Time From                  IDate/Time To                         Officer
       10/04/2015 18:00          10/04/2015 18:00                 10/04/2015 18:00                     (2091) RIVERA, ARNOLD F
       Incident Location
      400 S 6TH ST, LOUISVILLE, KY 40202




                                                                                                                                                                    0 Att
                             SUICIDE INVESTIGTION - CORRECTIONS - IN FACILITY                                                           SU004              999      I?]     Com
      Alcohol, Drugs or Computers Used          Location Type                                 Premises Entered          Forced Entry Weapons
      O Alcohol      O Drugs   0 Computers JAIL/ PENITENTARy                                                            0 Yes I?] No  1.

      Entry                     Exit                             Criminal Activity                                                          2.
                                                                                                                                            3,
      Bias Motivation                        Bias Target                                    Bias Circumstances                          Hate Group




                                             Injuries                                                                    Residency Status              Ethnicity
,(                                           None                                                                        Resident                      Non-Hispanic
\     Name(Last, First, M)                                                                                                  Race    Sex          DOB               Age
      ASHBY, JAMES E                                                                                                        W       M                                      36
      Address                                                                                                                                     Home Phone


      Employer Name/Addr~ss                                                                                                                       Business Phone


      Victim of Crimes                                                                                                                            Cell Phone




                                                                                                                                                       GB003098
     Report: r_Jwlni,frx                              Printed by: (2471) GOOTEE, SCOTTS                  at 10/22/2015 13:04                                       Page 1of4
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                                    3258
      Division: I DISTRICT                                                 Incident/Investigation Report                                                                UNAPPROVED
      Beat:                 123
                       Ageucy:        LMPD                        Case Number: 80-15-079719                                                    Case Status: INVESTIGATION COMPLETED


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 S~q.#             Description                                                                                                                     Serial Number                      Make/Model
 ·.
      l
Owner                                                                                                                                              License I State                    Color


Status                                                         Status Officer                                                        Quantity                 Units of Measure            Value


Gun Type                                               Caliber                         Finish                                                  Grip                                    Guo Stock


Condition                                      Gun Test                        Test Type                                                 Sight Test                     Sight Type
                                                       Yes                No                                                                   Yes            No
Property Notes




 '.~f~L#'.:~] Description                                                                                                                          Serial Number                      Make/Model


····'··)
Owner                                                                                                                                              License I State                    Color


Status                                                         Status Officer                                                            Quantity             Units of Measure            Value


Gun Type                                               Caliber                         Finish                                                  Grip                                    Gun Stock
                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                      '

Condition                                      Gun Test                        Test Type                                                 Sight Test                     Sight Type
                                                       Yes                No                                                                   Yes            No
                                                                                                                                                                   >
Property Notes




 Sei#              Description                                                                                                                     Serial Number                      Make/Model


Owner                                                                                                                                              License I State                    Color


Status                                                         Status Officer                                                            Quantity             Units of Measure            Value


Gun Type                                               Caliber                         Finish                                                  Grip                                    Gun Stock


Condition                                      Gun Test                        Test Type                                                 Sight Test                     Sight Type
                                                       Yes                No                                                                   Yes            No
Property Notes




                                                                                                                                                                                          GB003099
Report: r_lwtni.frx                                                        Printed by: (2471) GOOTEE, SCOTTS                               at 10/22/2015 13:04                                                       Page 2 of 4
                 Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 64 of 211 PageID #:
                                                     3259
          Division: 1 DISTRICT                                                      Incident/Investigation Report                                                                            UNAPPROVED
          Beat:            123
                         Agency: LMPD                                      Case Nnmber: 80-15-079719                                                          Case Status: INVESTIGATION COMPLETED
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     r.'°'"'""".-...,...,-
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                        Description                                                                                                                              Serial Number                                    Make/Model


       Owner                                                                                                                                                    License I State                                  Color


       Status                                                          Status Officer                                                                  Quantity                Units of Measure                            Value


       Gun Type                                                  Caliber                                  'Finish                                             Grip                                                  Gun Stock


       Condition                                            Gun Test                        Test Type-                                                 Sight Test                           Sight Type
                                                                 Yes            No                                                                         Yes               No

       Property Notes

                                                        '



                                                                                                                                                                Serial Number                                    Make/Model


       Owner                                                                                                                                                    License I State                                  Color


       Status                                                          Status Officer                                                                 Quantity                 Units of Measure                           Value

(      Jun Type                                                  Caliber                                 I Finish                                            Grip                                                  Gun Stock


       Condition                                            Gun Test                        Test Type                                                 Sight Test                            Sight Type
                                                               Yes             No                                                                         Yes                No
       Property Notes

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                                                                                                                                                                                                                                     GB003100
     Report: r_lwlni,frx                                                         Printed by: (2471) GOOTEE, SCOTTS                                        at 10/22/2015 13:04                                                                        Page 3 of 4
Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 65 of 211 PageID #:
                                    3260
  Division: 1 DISTRICT                     Incident/Investigation Report                            UNAPPROVED
  Beat:      123
           Agency:     LMPD           Case Number: 80-15-079719                    Case Status:JNVESTIGATION COMPLETED




                                                           PUBLIC NARRATIVE

Victim was found by Corrections personnel hanging from metal bars within his cell. Victim used his bed sheet to complete the act. CPR was
conducted by LMDC and LFD. Victim was revived and transported to UL Hospital. Victim remained alive on life support till 10/21/15 at which
time the family decided to tum off support and the victim passed on the same day.




                                                      INVESTIGATIVE NARRATIVE




                                                                                                                                               (




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Report: r_lwlni.frx                       Printed by: (2471) GOOTEE, SCOTI S      at 10/22/2015 13:04                                Page 4 of 4
         Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 66 of 211 PageID #:
                                             3261




                                              Event Chronology

             Event Number: EI 5087866



             Date        Time       Term       Ql!erator   A£!iR!!
             10/04/l 5   16:25:24   911ms06    13144        EVENT CREAIBD: Location= 400 S 6Til ST LVIL: @JAIL
                                                            SALLYPORT, CroSll Streets= W LIBERJY ST I
                                                                CEDAR ST, Name= OFFCJER HOLDEN , Call Source=
                                                            2-Phone
                                                             Agency= EMS , Group= EMS , Beat= 202 , Status= P ,
                                                            Priority= I , ETA= 0, Hold Two= 0 ,
                                                                Current= F , Open= T, Type Code= 09DOO - DUAL-
                                                            CARDIAC OR RESP. ARREST/DElffil (DELTA
                                                                OVERRIDE)
                                                             Agency= LFD , Group= LFD , Beat= 22 , Status= P ,
                                                            Priority= 4, ETA= 0, Hold T)]Je= 0 ,
                                                                Current= F , Open= T, Type Code= MEDICAL -
                                                            MEDICAL , SubType Code= DELTA- Medical - Delta
                                                             EVENT COMMENT= UNCONS/UNRESPONSJVE PT-
                                                            PERFORMING CPR
             I0/04/15    16:25:27   91lms22    36992         Agency= EMS , Group= EMS , Beat= 202 , Status= A ,
(
                                                            Priority= I , ETA= 0, Hold Type= 0 ,
                                                                Current= F , Open = T, Type Code= 09DOO - DUAL-
                                                            CARDIAC OR RESP. ARREST/DEATH (DELTA
                                                                OVERRIDE)
             I0/04/15    16:25:30   911msl8    32354        Agency= LFD, Group= LFD, Beat= 22 , Status= A ,
                                                            Priority= 4 , ETA= 0, Hold Type= 0 ,
                                                                Current= F , Open= T, Type Code= MEDICAL-
                                                            MEDICAL, Sub'JYpe Code= DELTA-Medical - Delta
             10/04/15    16:25:43   91lms23    9678          Unit= E255, Status= DP, Location= 400 S 6TH STLVIL:
                                                            @JAIL SALLYPORT, Employee= 38529,
                                                                Employee= 33792
             10/04/15    16:25:54   $E255      38529     'ft Unit= E255 , Status= ER, Location= 400 S 6TH ST LVIL:
                                                            @JAIL SALLYPORT, Employee= 38529 ,
                                                                Employee= 33792
             10/04/15    16:26:06   911ms06    13144        EVENT UPDATED: Location= 400 S 6TH STLVIL: @JAIL
                                                            SALLYPORT , Cross Streets= W LIBERTY ST I
                                                                CEDAR ST, Name= OFFCJER HOLDEN- LMDC, Call
                                                            Source= 2-Phone
                                                            Agency= EMS , Group= EMS , Beat= 202 , Status= A ,
                                                            Priority= 1 , ETA= 0, Hold Type= 0 ,
                                                                Current= F , Open= T, Type Code= 09DOO - DUAL-
                                                            CARDIAC OR RESP. ARREST/DEATH (DELTA
                                                                OVERRIDE)
                                                             EVENTCOMMENT=UNDERTHECOURTHOUSE
             10/04/15    16:26:47   911ms06    13144        EVENT UPDATED: Location= 400 S 6TH STLVIL: @JAIL
                                                            SALLYPORT ,CroSll Streets=W LIBERTY ST I
                                                                CEDAR ST, Name= OFFCIER HOLDEN- LMDC, Call
                                                            Source= 2-Phone, Phone Number= (502) 574-7500
    '
    ~-       I0/5/2015 11:32:20                        Event_Chronology                                         Page I




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                  Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 67 of 211 PageID #:
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LI ia "'"l""'      """"~'- !<"'""                     3262
3>    ore_   I"• I,.   iA.S 1.A..j ~ }-




                                                     Irr!!!      Operator
                                                                                 ,Phone I= (502) 574-7500
                                                                              Agency= EMS , Group= EMS , Beat= 202 , Status= A ,
                                                                             Priority= I , ETA= 0 , Hold Twe= 0 ,
                                                                                 Current= F , Opeu = T, Type Code= 09000 - DUAL-
                                                                             CARDIAC OR RESP. ARREST/DEATH (DELTA
                                                                                 OVERRIDE)
                          10/04/15        16:28:51   911msl 8    32354        Agency= LFD , Group= LFD , Beat= 22 , Status= A ,
                                                                             Priority= 4, ETA= 0, Hold Twe= 0 ,                   .
                                                                                 Primary Unit=~ Current= F , Open= T, Type
                                                                             Code= MEDICAL- MEDICAL, Sub'JYpe Code=
                                                                                 DELTA-Medical - Delta
                          10/04/15        16:32:20   $E255       38529        Unit=~ Status= AR, Location= 400 S 6111 ST LVIL:
                                                                             @JAIL SALLYPORT, Employee= 38529 ,
                                                                                 Employee= 33792
                          10/04/15        16:32:21   $E255       38529       Agency= EMS , Group= EMS , Beat= 202 , Status= A ,
                                                                             Priority= I , ETA= 0 , Hold Type= 0 ,
                                                                                 Primary Unit= E255 , Primary Member= 38529,
                                                                             Current= F , Open= T, Type Code= 09DOO - DUAL-
                                                                                 CARDIAC OR RESP. ARREST/DEATH (DELTA
                                                                             OVERRIDE)
                          10/04/15        16:39:38   911ms23     9678         Unit= E920 , Status= DP , Location= 400 S 6I1l ST LVIL:
                                                                             @JAIL SALLYPORT, Employee= 29503
                         10104115         16:39:41   91lms23     9678         Unit= E920 , Status= AR, Location= 400 S 6TH STLVIL:
                                                                             @JAIL SALLYPORT, Employee= 29503
                          10/04/15        16:41:20   91lms23     9678        EVENT COMMENT= HANGING -RESUSCITATED FULL
                                                                             ARREST
     ,i                   10/04/15        16:50:02   9llmsl 8    32354       Agency= LFD, Group= LFD , Beat= 22 , Status= A ,
                                                                             Priority= 4, ETA= 0 , Hold T)pe= 0 ,
                                                                                 Primary Unit= FE02 , Current= T, Open= F, 'JYpe
                                                                             Code= MEDICAL- MEDICAL, SubType Code=
                                                                                 DELTA- Medical - Delta
                                                                             EVENT CLOSED:
                         10/04/15         16:52:20   9llorr02    9313         Unit= E255, Status= - , Location= 400 S 6TH STLVIL:
                                                                             @JAIL SALLYPORT, Employee= 38529 ,
                                                                                 Employee= 33792
                        . 10/04/15        16:52:40   9llms23     9678         Unit= E255 , Status= CU, Conunent= Alarm Timer
                                                                             Extended: 0, Location= 400 S 6TH STLVIL:
                                                                                 @JAIL SALLYPORT, Employee= 38529, Employee=
                                                                             33792
                         10/04/15         16:59:41   911ms44     30173       Unit=~, Status= - , Location= 400 S 6111 ST LV!L:
                                                                             @JAILSALLYPORT ,Employee=29503
                         10/04/15         17:06:57   91lms22     36992       EVENT COMMENT= LINETO UNIVERSITY PHY 156
                         10/04/15         17:07:09   $E255       38529        Unit= E255, Status= TR, Location= 530 S JACKSON ST
                                                                             LV!L:@UNIVERSITYHOSPITAL, Employee=
                                                                                38529, Employee= 33792
                         10/04/15         17:07:39   91lms23     9678         Unit= E920 , Status= TR , Comment= Code I , Location=
                                                                             530 S JACKSON ST LVIL: @UNIVERSITY
                                                                                 HOSPITAL, Employee= 29503
                         10/04/15         17:12:08   $E255       38529        Unit= E255 , Status= TA, Location= 530 S JACKSON ST
                                                                             LV!L: @UNIVERSITY HOSPITAL, Employee=
                                                                                38529 , Employee= 33792
                         10/04/15         17:27:39   911jcso10   89           Unit= E920, Status=-, Location= 530 S JACKSON ST
                                                                             LVIL: @UNIVERSITY HOSPITAL, Employee=
                                                                                 29503
                         10/5/2015 11 :32:20                             Event_Chronology                                       Page 2




                                                                                                                           GB003103
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                                            3263




(           Date         Ii!!l£      Im!!      Operator    Action
            10/04/I 5    17:30:33    9llms22   36992        Unit-= E920 , Status= CU , Comment-= Alann Ttmer
                                                           Extended: 0, Location= 530 S JACKSON ST LVIL:
                                                               @UNIVERS11Y HOSPI'IAL, Employee= 29503
            10/04/15     I 7:42:08   9Ilms41   9712         Unit-= E255 , StatuP - , Location= 530 S JACKSON ST
                                                           LVIL: @UNIVERSI1YHOSPITAL, Employee=
                                                               38529, Employee= 33792
            10/04/15     17:44:35    9Ilms22   36992        Unit-= E255 , Status= CU , Connnent-= Alann Ttmer
                                                           Extended: 0, Location= 530 S JACKSON STLVIL:
                                                               @UNJVERSI1Y HOSPI'IAL, Employee= 38529,
                                                           Employee= 33792
            10/04/15     18:12:48    $E255     38529       Unit-= E255, Status= AM, Location= ENGINE 15,
                                                           Employee= 38529, Employee= 33792
                                                           Disposition Assigned= CFHOSP
            10/04/15     I 8:2I:12   9Ums23    9678        Agency= EMS , Group= EMS , Beat-= 202 , Status= A,
                                                           Priority= I , ETA= 0 , Hold 'I)pe= 0 ,
                                                               Primary Unit-= E255 , Primary Member= 38529,
                                                           Current-= T, Open = F , Type Code= 09DOO - DUAL-
                                                               CARDIAC OR RESP. ARREST/DEATH (DELTA
                                                           OVERRIDE)
                                                           EVENTCWSED:
                                                           Unit-= E920, Status= AM , Location= BROADWAY &
                                                           CAMPBELL, Employee= 29503




    (




            101512015 II :32:20                        Event_Chronology                                       Page3




                                                                                                         GB003104
               Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 69 of 211 PageID #:
                                                   3264


        Gootee, Scott

1·~rom:                                     Johnson, John A
'       Sent:                               Tuesday, October 06, 2015 1:16 PM
        To:                                 Banta, Robert
        Cc:                                 Gootee, Scott
        Subject:                            RE: PIU CASE # 15-068



        Crew involved was: Paramedic Angie Brown, Technician John Saar, Technician Teresa Kitchens. They all work the
        following days 1000-2200hrs.
        October 7'h, 8th, 121h, 13th, 15th,17'h, 18th. Just let me know when you would like to speak with them and I will make sure
        they are aware.

        John


        From: Banta, Robert
       Sent: Tuesday, OctOber 06, 2015 9:59 AM
       To: Johnson, John A
       Cc: Gootee, Scott
       Subject: PIU CASE # 15-068

        Capt. Johnson,
        I got your information from Lt. Col. Dennison. He advised you would be the point of contact for information needed
        regarding PIU cases when we need to interview LMEMS regarding responding to scenes. Sgt. Gootee is a new
      - 'nvestigator with PIU and he is investigating a Louisville Metro Corrections In Custody death of an inmate that occurred
    (    .n Sunday, October 4, 2015. According to MetroSafe CAD, Unit FE02, E255, and E920 responded to LMDC, 400 South 5th
        street at approximately 1628 hours. We would like to conduct an interview with all involved and would like to get
        schedules and contact information. Thank you for your assistance.

       Respectfully,
       Robert


       Sgt. Robert Banta
       Louisville Metro Police Department
       SPECIAL INVESTIGATIONS DIVISION
       Public Integrity Unit
       810 Barret Avenue (4th Floor)
       Louisville, Kentucky 40204
       (502) 817-3157

       NOTICE OF CONFIDENTIALITY: This e-mail, including any attachments, is intended only for the use of the individual or
       entity to which it is addressed and may contain confidential information that is legally privileged and exempt from
       disclosures under applicable law. I the reader of this message is not the intended recipient, you are notified that any
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                                          3265




(
                                  Death Report


                               Inmate James Earl Ashby

                                          Cin # 431177

                                   Booking # 201523918

((




            Prepared by:   Lt. Nicholas Angelini
                           Crisis Intervention Team Commander
(J_                        I 0/28/15



        '   '                                                              GB003106
                          Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 71 of 211 PageID #:
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                                                                             Chronological Report             .2


                                                                             Medical Report                   3
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                                                                             Incident Report                  4

                                                                             Records Folder                   S


                                                                             Classification
                                                                                                              6

                                                                             Shift Reports
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                Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 72 of 211 PageID #:
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                  Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 74 of 211 PageID #:
                                                      3269




       (?c
       \              To:    Deputy Director Dwayne Clark
       (
              1
                             Chief of Staff

                      Fr:    Lieutenant Nicholas Angelini
                             Crisis Intervention Team Commander

                      Re:    Inmate James Earl Ashby CIN # 431177
                             Chronological Report

                      Dt:    October 28, 2015




                      On October 28, 2015 a chronological report was completed for the death oflmnate James
                      Earl Ashby CIN # 431177. Imnate Ashby was booked into the custody of Louisville
                      Metro Department of Corrections on September 3, 2015 at 1525hrs. On October 4, 2015
                      at 1620hrs, Inmate Ashby was found by L.M.D.C. staff, in his cell, after a suicide
                      attempt. Imnate Ashby expired at University of Louisville Hospital on October 21, 2015.
                      The following is a chronological report of events for Inmate Ashby while he was in
                      custody on the cui;rent arrest.


                      September 3, 2015
  ((G
                      1321- Imnate James Earl Ashby was arrested by Officer Brian Bailey with the
                             Louisville Metro Police Department on the following charges:

                             Trafficking in Controlled Substance, 1st Offense (> 2 GMS Methamphetamine)
                             Trafficking in Controlled Substance, 1st Offense (> 2GMS But <1 OOGMS Heroin)
                             Drug Paraphernalia - Buy/Possess

                            Inmate Ashby had no bail on his fresh charges and was to go to Arraignment
                            Court 008 on September 4, 2015 at 0900 hours.

                     1525 - Inmate Ashby was booked into the custody of Louisville Metro Department of
                            Corrections.

                     1549 - Inmate Ashby received the additional charge of:

                            Possession of Firearm by Convicted Felon

                            After a Narcotics Search Warrant was executed at his residence by LMPD Officer
                            Bailey.

   '                 1552-Booking fee of$35.00 applied to Imnate Ashby's account.
  '(
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                                                                                                         GB003110
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                                              3270




 ((            1800 - Inmate Ashby received a Bond of $1,000.00 full cash on his original charges by
     (,               Judge Gina Calvert.

              2012 - Initial medical intake was completed on Inmate Ashby.

              2032- Inmate Ashby secured to Unit I, Rear Security Dorm I. Booking process
                      completed.

              2044 - Inmate Ashby was moved from Unit I, Rear Security Dorm I, to Unit I, Rear
                      Security Dorm 3.

              2200 - Inmate Ashby received a Bond of $2,500.00 full cash on his charges by
                      Judge Gina Calvert.


              September 4, 2015

              0900 - Inmate Ashby was seen by medical staff for COWS monitor,

              0944 - Inmate Ashby appeared in Arraignment Court 008 for the charges of:

(                    Trafficking in Controlled Substance, I st Offense (> 2 GMS Methamphetamine)
 .   (.
                     Trafficking in Controlled Substance, I st Offense (> 2GMS But <I OOGMS Heroin)
                     Drug Paraphernalia - Buy/Possess
 (                   Possession of Firearm by Convicted Felon

                     Inmate Ashby was ordered to remain in custody and received a return to court
                     date of September 14, 2015 at 0900 hours in Courtroom 304 by Judge David
                     Bowles.

              1208 - Inmate Ashby was moved from Unit I, Rear Security Dorm 3 to Unit 3, Dorm 4B.

              1934 - Inmate Ashby was seen by medical staff for COWS monitor.


             September 5, 2015

             0130 - Inmate Ashby was seen by medical staff for COWS monitor.

             0845 - Inmate Ashby was seen by medical staff.for COWS monitor.

             1000 - Inmate Ashby was seen by medical staff and releases from COWS monitoring.


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                                                                                                GB003111
        Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 76 of 211 PageID #:
                                            3271




            September 6, 2015

            0027 - Inmate Ashby was moved from Unit 3, Dorm 4B to C.C.C. Dorm 3 North 1.


            September 7, 2015

            Unk - Inmate Ashby attended gym.


            September 8, 2015

            1125 - Inmate Ashby received a new court date of September 10, 2015 at 0900 hours in
                   Criminal Courtroom 301 for all charges.


            September 10, 2015

            0748 - Inmate Ashby signed out for his court appearance in Criminal Courtroom 301.

            0900 - Inmate Ashby appeared in Criminal Courtroom 301 for the charges of:

(f                 Trafficking in Controlled Substance, I st Offense(> 2 GMS Methamphetamine)
 \
                   Trafficking in Controlled Substance, I st Offense (> 2GMS But <I OOGMS Heroin)
(l                 Drug Paraphernalia - Buy/Possess
                   Possession of Firearm by Convicted Felon

                   Inmate Ashby was ordered to remain in custody and received a return to court
                   date of September 14, 2015 at 0900 hours in Courtroom 304 by Judge Jennifer B.
                   Wilcox.

            1426- Inmate Ashby was signed in from his appearance in Criminal Courtroom 301.

            1501-An Indictment Warrant #E056100022806!3 was issued to Inmate Ashby for the
                 charges of:

                  Trafficking in Controlled Substance, 1st Offense (> 2 GMS Methamphetamine)
                  Trafficking in Controlled Substance, 1st Offense (> 2GMS But <l OOGMS Heroin)
                  Drug Paraphernalia - Buy/Possess
                  Possession of Firearm by Convicted Felon

                  Inmate was granted a bond of $2,500.00 full cash.

           1841 - Inmate Ashby's cases were presented to the Grand Jury.
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                                                                                            GB003112
         Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 77 of 211 PageID #:
                                             3272




(('
\            September 11, 2015
(~   !

             0628 - Inmate Ashby was signed out for his court appearance in Circuit Court Division 2.

             Unk - Inmate Ashby appeared in Circuit Court Division 2 for the charges of:

                    Complicity to Trafficking in Controlled Substance, 1st Offense (> 2 GMS
                    Methamphetamine)
                    Complicity to Trafficking in Controlled Substance, 1st Offense(> 2GMS But
                    <100GMS Heroin)
                    Complicity to Drug Paraphernalia - Buy/Possess
                    Possession of Firearm by Convicted Felon

                    Inmate Ashby received a $2,500 .00 full cash bond and received a return to court
                    date of September 14, 2015 at 0900 hours in Circuit Court Divis!on 2.

             1352 - Inmate Ashby was signed in from his appearance in Circuit Court Division 2.

             Unk - Inmate Ashby attend.ed gym.


             September 14, 2015
((
             080~   Inmate Ashby was signed out for his court appearance in Circuit Court Division 2.
(
             0945- Inmate Ashby appeared in Circuit Court Division 2 for the charges of:

                    Complicity to Trafficking in Controlled Substance, I st Offense (> 2 GMS
                    Methamphetamine)
                    Complicity to Trafficking in Controlled Substance, 1st Offense (> 2GMS But
                    <l OOGMS Heroin)
                    Complicity to Drug Paraphernalia - Buy/Possess
                    Possession of Firearm by Convicted Felon

                    Imnate Ashby received a $2,500.00 full cash bond and received a return to court
                    date of October 2, 2015 at 0945 hours in Circuit Court Division 2 by Judge James
                    M. Shake.

             1146 - Imnate Ashby was released custody on the following charges:

                    Trafficking in Controlled Substance, 1" Offense (> 2 GMS Methamphetamine)
                    Trafficking in Controlled Substance, I st Offense (> 2GMS But <l OOGMS Heroin)
                    Drug Paraphernalia - Buy/Possess
                    Possession of Firearm by Convicted Felon

                    Imnate Ashby was released on these charges due to Indictment by Grand Jury by



                                                                                                GB003113
        Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 78 of 211 PageID #:
                                            3273




 ((>·
  \                Judge Eric J. Haner.
 (",
            1420 - Inmate Ashby was signed in from his appearance in Circuit Court Division 2.

            Unk - Inmate Ashby attended gym.


            September 16, 2015

            Unk - Inmate Ashby attended gym.


            September 25, 2015

            Unk - Inmate Ashby attended gym.

            2321 - Jnmate Ashby was paid $2.00 for a work detail.


            September 27, 2105

            1543 - inmate Ashby was paid $2.00 for a work detail.
((
(           September 28, 2015

            Unk - Inmate Ashby attended gym.


            September 29, 2015

           2000 - Inmate Ashby received medication from medical staff.


           September 30, 2015

           2000 - Inmate Ashby received medication from medical staff.

           2249 - Inmate Ashby was paid $2.00 for a work detail.


           October 1, 2015

           0800 - Inmate Ashby received medication from medical staff.
(l         Unk - Inmate Ashby received an X-Ray from medical staff.
(_ t


                                                                                            GB003114
           Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 79 of 211 PageID #:
                                               3274




    ((-        2000 - Inmate Ashby received medication from medical staff.
     (
     '
               October 2, 2015

               0454- Inmate Ashby was signed out for his appearance in Circuit Court Division 2:

               0800 - Inmate Ashby received medication from medical staff.

               0945- Inmate Ashby appeared in Circuit Court Division 2 for the charges of:

                      Complicity to Trafficking in Controlled Substance, 151 Offense (> 2 GMS
                      Methamphetamine)
                      Complicity to Trafficking in Controlled Substance, 1st Offense (> 2GMS But
                      <lOOGMS Heroin)
                      Complicity to Drug Paraphernalia - Buy/Possess
                      Possession of Firearm by Convicted Felon

                      Inmate Ashby received a $2,500.00 full cash bond and received a return to court
                      date of October 23, 2015 at 0845 hours in Circuit Court Division 2 by Judge
                      James M. Shake.

               1415 - Inmate Ashby was signed in from his appearance in Circuit Court Division 2.

               1850- Inmate Ashby and an Inmate Sean Hiser (528313) were involved in a physical
                     altercation. See Incident# 00066290.

               2000 - Inmate Ashby received medication from medical staff.

               2137 - Inmate Ashby was moved from C.C.C., Dorm 3 North 1 to Unit 6, Dorm 9, Cell
                      I.


               October 4, 2015

               1616 - Inmate Ashby was found by L.M.D.C. staff hanging in his cell an apparent suicide
                      attempt. Officer J. Hom and Officer C. Marbreybegan C.P.R. See Incident
                      # 00066317.

               1620 - Medical Staff arrived on scene.

               1623 - Main Control notified to contact Emergency Medical Services.

              1627 - A.E.D. applied to Inmate Ashby. No shock advised, start C.P.R.
'     I
    ·-\_      1629 -A.ED. reassess' Inmate Ashby. Shock advised. Shock delivered, start C.P.R. m
l._ J
                                                                                                 GB003115
              Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 80 of 211 PageID #:
                                                  3275




 (~
                          Louisville Fire and Rescue arrived on scene.
 (,
                  1632-A.E.D. reassess' Irnnate Ashby. No shock advised, start C.P.R.

                  1634 -A.E.D. reassess' Irnnate Ashby. No shock advised, start C.P.R.
                         E.M.S arrived on scene.

                  1636-A.E.D. removed from Inmate Ashby.

                  1706- E.M.S departed the Jail Complex with Inmate Ashby en-route to University
                         of Louisville Hospital. Officer Davidson escorting.

                  Unk - Imnate Ashby arrived at University of Louisville Hospital. Inmate Ashby
                         was taken to Emergency Room 9.

                  1751- Inmate Ashby was secured out to the hospital.


                  October 5, 2015

                  1733 - Inmate Ashby was visited by his mother and 2 sisters.

 ((
 ,\               October 6, 2015
\.
                  1634- Inmate Ashby was released on the following charges due to his medical condition:

                         Complicity to Trafficking in Controlled Substance, I st Offense (> 2 GMS
                         Methamphetamine)
                         Complicity to Trafficking in Controlled Substance, 1st Offense (> 2GMS But
                         <!OOGMS Heroin)
                         Complicity to Drug Paraphernalia - Buy/Possess
                         Possession ofFire<irm by Convicted Felon

                         Inmate Ashby received a return to court date of October 23, 2015 at 0845 hours in
                         Circuit Court Division 2.

                 1717 - Final release ran on Irnnate Ashby ..

                 1748 - Staff departed University of Louisville Hospital.


                 October 21, 2015

!" (             Unk - Inmate Ashby was pronounced deceased at University of Louisville Hospital.
     '"-._.

(<•\

                                                                                                    GB003116
    Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 81 of 211 PageID #:
                                        3276




         October 22, 2015
(
         Unk - L.M.D.C. 's Internal Affairs Unit was notified oflnmate Ashby's death.



        Additional Notes:

        Inmate Ashby did not have any attorney visits.
        Inmate Ashby did not have any visits.
        Inmate Ashby did not purchase any Commissary.




                                                                                        GB003117
     Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 82 of 211 PageID #:
                                         3277




                            Inmate James Earl Ashby
                                 Case Report Review
                                      Signature Page

                                                               11/3//S
      Lt. Nicholas Angelini, LMDC CIT Commander                 Review Date

       Have reviewed Case Report - Inmate James Earl Ashby




      Steve Durham, LMDC Assistant Director                           Review Date

(;    Have reviewed Case Report-Inmate James Earl Ashby
\
(

      Lt. Arthur Eggers, LMDC PSU                               Review Date

      Have reviewed Case Report- Inmate James Earl Ashby




      Dwayne Clark, LMDC ChiefofStaff                           Review Date

      Have reviewed Case Report -Inmate James Earl Ashby




      Mark E. Bolton, LMDC Director                             Review Date




                                                                              GB003118
     Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 83 of 211 PageID #:
                                         3278


       Timeline line for Ashby, James #431177 DOB 9/22/79                   1



      9/3/15 20:12 Intake: Medical Screening and Detox Packed started

      9/4/15 09:00 COWS Monitor

      9/4/15 19:34 COWS Monitor

      9/5/15 01:30 COWS Monitor

      9/5/15 08:45 COWS Monitor

      9/5/15 10:00 Detox D/C

      9/29/15 20:00 nurse administered medication

      9/30/15 20:00 nurse administered medication

      10/1/15 08:00 nurse administered medication

      10/1/15 20:00 nurse administered medication

      10/1/15 X-Ray of R Hand R Wrist ap/lat and R forearm ap/lap

      10/2/15 08:00 nurse administrated medications
((    10/2/15 20:00 nurse administered medication

(~    10/4/15 16:16 Nurse responds to scene of incident




                                                                          GB003119
          Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 84 of 211 PageID #:
                                              3279



                             Louisville Metro Department of Corrections Incident Report

          Incident Report#     00066290                  Incident Type    FIGHT                                      Incident DateTime   10/02/2015 18:50


           Location Type     CCC                                                   Location      3N1

         Reporting Officer COVINGTON, RAMONDA


                                                   Inmates Involved
                             Inmate#           Name
                             00528313          HISER, SEAN
                             00431177          ASHBY, JAMES EARL




                             Video Recorded? Type?                                    Medical Responders Name          OSERTAG




                              @f~~~~~l/lil~~:hM'i'ti~ih)
                                                           Type of Restraints
                              Name                            Restraint                   Note
                              HISER, SEAN                     HandCuffs
                              ASHBY, JAMES EARL               HandCuffs

~(   ,

                              tll;it,l~(~t~~:~~iril4i~·1:~,
                                                              Type of Force
                              Name                           Force                        Note
                              HISER, SEAN                    Verbal
                              ASHBY, JAMES EARL              Physical


              Narrative      At 1850 hrs. Ofc. Joshua Badgely called for medjcal and I, Sgt. Ramonda Covington to
                             come to 3N1. When I arrived Ofc. Badgely informed me that he obseived Inmate
                             Ashby, James cin #431177 choking Inmate Hiser, Sean cin #528313. Ofc. Badgely
                             went in the dorm, pulled Inmate Ashby off Inmate Hiser, handcuffed him and escorted
                             him to the attorney booth. He then went to the dorm where Inmate Hiser complied
                             with instructions to put his hands behind his back so he could be handcuffed and
                             escorted to the attorney booth. Both inmates stated that Inmate Ashby told Inmate
                             Hiser to stop sitting on the cooler while he was on the phone. Inmate Ashby states
                             that Inmate Hiser then hit him so he choked him.. Inmate Hiser states that inmate
                             Ashby immediately started chqking him. Other inmates in the dorm stated that they
                             both took it to the back of the dorm and began to fight. Nurse Ostertag assessed both
                             inmates. Inmate Hiser has redness to his neck and Inmate Ashby had no visible
                             injuries even though he reported getting hit in the mouth. Both inmates were written
                             up. Samantha Arriaga in classification was notified and housed Inmate Ashby in HOJ
                             609#1 and Inmate Hiser in HOJ 509#5. Pictures were taken and forwarded to the
                             appropriate parties.




                                                                                      10/02/2015
                                              24020 COVINGTON                            Date
                                              Employee Signature

                                                                                                                                   GB003120
         23634 ANGELINI                                               10/26/2015 12:00                                                       Paoe: 1
             Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 85 of 211 PageID #:
                                                 3280
                    Louisville Metro Department of Corrections Incident Report
 Incident Report#
                        j~o_o_os_s_2_9_o_(a_J_ _ _~1pc;dent Type   LjF_1G_H_r_ _ _ _ _ _ _ _ _ __,1!°;dent DateT1me   11010212015 18:50




                                                                                         L __                         =
 (r:ionType                                                                 ocation


Reporting Officer jBADGLEY, JOSHUA


                                            Inmates Involved
                    Inmate#              Name
                    00415569             WEST, CHRISTOPHER
                                         MICHAEL




                     Video Recorded? Type?                                    Medical R.esponders Name



                        [] Use of Restraints Required

                                                     Type of Restraints
                        Name                           Restraint                   Note




  (                     [] Use ofForce Required
(
~···
                                                        Type of Force
                        Name                           Force                       Note




       Narrative    IOn 10-2-14, I Officer Badgley was walking into dorm 3n1 t9 conduct a security check
                      and that is when I noticed inmate Ashby, James (431177) choking inmate Hiser, Sean

                    I (528313). I went over and pulled Ashby off of Hiser and placed him in handcuffs and
                    1 escorted him to the attorney booth. I then called for medical and Sgt. Covington to
                      respond to dorm 3n1 and then went back in the dorm and placed inmate Hiser in
                      handcuffs and escorted him to the attorney booth. Both inmates were check by
                      medical, then written up for fighting and transported back to the Main Jail Complex.
                     This concludes my involvement in the situation.
                    End ofReport.
                    Ofc. Badgley #707



                                                           ---·----------------~




                                                                                  Date
                                       Employee Signature




                                                                                                                          GB003121
   Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 86 of 211 PageID #:
                                       3281

                 Louisville Metro Department of Corrections Incident Report

Incident Report# J00066290(b)                1rcident Type   \~F-1G_H_T_ _ _ _ _ _ _ _ _ _ _~1rdent DateTime            J1010212015 18:50


Location Type                                                           ocation     j 3N1                                          I
                 ~----------------~
'•porting Officer JBADGLEY, JOSHUA                                                  \__   __ ---- --               _________ _J
                                        Inmates Involved
                 Inmate#             Name
                 00415569            WEST, CHRISTOPHER
                                     MICHAEL




                 Video Recorded? Type?                                     Medical Responders Name



                     L-~~ Use of Restraints Required

                                                   Type of Restraints
                     Name                           Restraint                     Note




                      -i   Use of Force Required

                                                     Type of Force
                     Name                           Force                         Note




     Narrative     On 10-2-14, I Officer Badgley was walking into dorm 3n1 to conduct a securtiy check     ···1
                   and that is when I noticed inmate Ashby, James (431177) choking inmate Hiser, Sean
                   (528313). I went over and pulled Ashby off of Hiser and placed him in handcuffs and        I
                   escorted him to the attorney booth. I then called for medical and Sgt. Covington to        I'


                   respond to dorm 3n1 and then went back in the dorm and placed inmate Hiser in              \,
                   handcuffs and escorted him to the attorney booth. Both inmates were check by
                   medical, then written up for fighting and tra·nsported back to the Main Jail Complex.
                 I This concludes my involvement in the situation.
                 ' End Of Report_
                 I Ofc_ Badgley #707                                  ·                         ·




                 I ______ ---


                                                                                  Date
                                     Employee Signature




                                                                                                                        GB003122
              Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 87 of 211 PageID #:
                                                  3282

                      Louisville Metro Department of Corrections Incident Report

                                                             T_y_p_•_~'-F~IG~-H:T_-_:----,,,i,__N____- __-,__-__-_-_--~~~~d~~:~a-te-T-im-e-~~ 0/02/2015 18:50
rjflent Report# r'-0-00_6_6_2_9_0_(c_)_ _ _ _1r_c_id_e_n_t

\    1::itron Type                                                               ocation       31                                                    1
Reporting Officer jOSTERTAG, SARAH C                                                         L_____________________________________ ~__I
                                               Inmates Involved
                     Inmate#               Name
                     00528313              HISER, SEAN
                     00431177              ASHBY, JAMES EARL




                      Video Recorded? Type?               jNO                      Medical Responders Name jS.OSTERTAG



                       L.:J   Use of Restraints Required

                                                        Type of Restraints
                        Name                              Restraint                     Note




                       r·-1
                       1...J Use of Force Required
                                                           Type of Force
                       Name                               Force                        Note




      Narrative      f At   1850 I was called to re~pond to 3S that there was a fight. I assessed both inmates   -
                     IHiser, Sean(# 528313) and Ashby, James(# 431177). Both inmates stated that they
                      were fine and did not need medical. Hiser, Sean had a red neck and no other injuries.
                      Ashby, James had no visible injuries.
                      This concludes my involvement
                      Sarah Ostertag, LPN




                                                                                      Date
                                          Employee Signature




                                                                                                                                             GB003123
      Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 88 of 211 PageID #:
                                          3283



                        Louisville Metro Department of Corrections Incident Report

f    Incident Report#


     Location Type
                         00066317


                        SINGLE C
                                                     Incident Type     SUICIDE ATTEMPT


                                                                                Location       H6 DORM 9 CELL # 1
                                                                                                                    Incident DateTime   10/04/201516:20




    Reporting Officer Goff, Ernest


                                              Inmates Involved
                        Inmate#            Name
                        00431177          ASHBY, JAMES EARL




                        Video Recorded? Type?                                       Medical Responders Name           BROWN,
                                                                                                                      BOHR,SUMMERF
                                                                                                                      IELD, NICHOLS,
                                                                                                                      CRAWFO



                         ~}'i~~t~~~r~~t~~~~~·~fi,
                                                       Type of Restraints
                         Name                             Restraint                     Note
                         ASHBY, JAMES EARL                Other                         SHACKLES




                         ~t~~~tI~ai~iffeD''i't~i'
                                                           Type of Force
                         Name                             Force                         Note.




         Narrative      On October 4, 2015 at approximately 1620 a call came out over the radio to 1059 H6.
                         When Sgt. Goff. arrived on H6 dorm 9 Officers J. Horn and C. Marbrey was giving CPR
                         to inmate Ashby, James cin # 431177. Nurse Brown was in dorm 9 assisting with
                        inmate Ashby, James. Main control was contacted to notify EMS at approximately
                         1623. Lt. Roy arrives on scene at approximately 1624along with Nurse Bohr,
                        Summerfield, Nichols, Crawford, and Lachamel/e. Ems notified by main control 1625,
                        Fire arrives on floor at 1629, ems arrives at 1632, ems arrives· on the floor at 1634,ems
                        departs the floor at 1644, LI. Eggers notified at 1644, ems departs facility at 1706.
                        Sgt. Goff spoke with Officer Stigall and was informed that white he was serving chow
                        he saw inmate Ashby, James cin # 431177 was hanging from the bars with a sheet
                        tied to his neck. Officer Stigall tried to use the knife for life to cut him down but was
                        unable to get it done so he tried to untie him from the bars and was able to get him
                        down that way. Pictures were taken and shift command was notlfied of the incident. A
                        copy of this incident report will be sent to shift command, upper command, PSU, and
                        to critical care unit.

                        Sgt Goff 319



                                                                                    10/04/2015
                                                                                                                                  GB003124
    23634 ANGELINI                                                   10/26/201511:58
            Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 89 of 211 PageID #:
                                                3284
                       Louisville Metro Department of Corrections Incident Report

l(dJ<~t Report# 100066317(a)                     l~cident Type    1su1c10E ATTEMPT                              17cident DateTime   110/04/2015 16:20


{    !'tion Type   r-----------------~ocation                                             IH6 DORM 9CELL#1

Reporting Officer !Horn, Jeffrey                                                          L__________________~
                   ~--------------~


                                          Inmates Involved
                       Inmate#         Name
                   00431177            ASHBY, JAMES EARL




                       Video Recorded? Type?                                    Medical Responders Name



                       [J   Use of Restraints Required

                                                   Type of Restraints
                        Name                          Restraint                     Note




                       [] Use of Force Required

                                                       Type of Force
                       Name                           Force                         Note




     Narrative       .on 10-4~2015, at about 1620hrs. I Ofc. J. Hom was working the east side of H6 when
                     a radio transmission came through for additional Otes. to come to H6 dorm #9. When I
                                                                                                                I
                   I arrived Ofc. Stegal was laying inmate Ashby, James on the floor in front of cell #1. The    j
                   ) inmate attemp~ed suicide by hanging himself with a sheet from the bars. The inmate          j
                   was unresponsive and unconscious and his skin color was a grayish blue. I checked
                   I
                   and there was no pulse at which time I began CPR chest compressions. Ofc. Marbry       1
                   began assisting with rescue breath through his CPR face mask and we continued          !
                   I
                   CPR for several minutes. Ofc. C. Horn arrived with the AED machine and we applied
                   the pads to the inmates chest and abdomen in between chest compressions. The AED
                                                                                                          I
                                                                                                                II


                   machine analyzed the inmate once and recomended CPR c~ntinue. The second time
                   the machine analyzed it advised a shock which was delivered. CPR was continued for
                   several more minutes by myself and Ofc. Marbry until Fire EMS arrived and took over. 1
                   I then assisted with the scene until EMS departed with the inmate. I secured the scene J
                                                                                             _____ J


                                                                                   Date
                                     Employee Signature




                                                                                                                                        GB003125
   Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 90 of 211 PageID #:
                                       3285

                  Louisville Metro Department of Corrections Incident Report

Incident Report# 100066317(b)                 1rcident r ype                                                       cident DateTime
                                                                                                                                          1_01_0_41_2_01_5_1_6_:2_0_~~1
                                                                                                                                          LI




                                                                                                                       -···---·------------1
                                                                                                                                                                 I
 Location Type                                                             ocation     [H6 DORM 9 CELL# 1

'•porting Officer !FERGUSON, KYLE                                                                   -·---   ----------- - --· ~·------------   _____ ..)l
                                        Inmates Involved
                  Inmate#            Name




                  Video Recorded? Type?                                       Medical Responders Name



                       Use of Restraints Required

                                                  Type of Restraints
                    Name                             Restraint                       Note




                   [_---1 Use of Force Required

                                                      Type of Force
                    Name                             Force                           Note




      Narrative   r-on 10/041158WUnd 1620 1·wasTrl-J1 Rwhen I heard a radio transmission requesting
                    additional officers to H6D9. I ran over to the requested location and upon my arrival I
                  1
                  : saw several officers and nurse performing CPR on l/m Ashby. There appeared to be
                  iadequate assistance so I asked Lt. Roy if he wanted me to go wait for EMS by the old
                  ; sallyport doors. He stated he did so I went down to the kitchen. LFD arrived first and I
                  ! escorted them inside where Sgt. Dearinger said he would take them the rest of the
                    way upstairs. EMS then arrived and I escorted them up to H6. Once there I asked Lt.
                    Roy if he wanted me return to my post and he stated that he did. This concludes my
                    involvement with the incident.
                    K. Ferguson #461




                                                                                     Date
                                     Employee Signature




                                                                                                                                       GB003126
                Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 91 of 211 PageID #:
                                                    3286
                       Louisville Metro Department of Corrections Incident Report

1(ct~1 Report# 1oooss311<c>                         1rcident Type                                                       cident DateTime   110/04/2015 16:20

 (
(    1t1tion   Type                                                              ocation    _[1'16 DORM 9 CELL # 1                                  J
Reporting Officer jO'Bannon, Edwin                                                            L                         --------~
                                              Inmates Involved
                      Inmate#             Name




                       Video Recorded? Type?                                        Medical Responders Name



                          D    Use of Restraints Required

                                                       Type of Restraints
                          Name                            Restraint                     Note




                          [J   Use of Force Required

                                                          Type of Force
                          Name                           Force                          Note




      Narrative         On 20151004 while working Unit 6 control room, I (Ofc. O'Bannon) was notified by
                        Ofc. Stigall of an inmate suicide attempt at 1616hrs in Dorm 9 Cell 1. I immediate"ly
                        called for additional Officers to come to the incident area. J then notified the Assigned
                        Sergeant to come to the area as well. Afterwards I notified the shift Lieutenant to come
                        to the area also. I then immediately begin writing down time frames of events that had
                        occured and those to happen. I was updated from Officers in close with inmate Ashby,
                        James that we will need EMS due to his then current state. I contacted cutter control
                      · to contact EMS by radio. I continued to write down time frame of events until the area
                        of interest was cleared from higher command. This concludes my Involvement in the

                      I incident.

                      I
                      End of Report                                                                                 I
                      L_ _ _ _ __
                                           ---- ------------ ---_____________ j

                                                                                       Date
                                        Employee Signature




                                                                                                                                              GB003127
   Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 92 of 211 PageID #:
                                       3287

                  Louisville Metro Department of Corrections Incident Report

Incident Report# j00066317(d)                 1rcident Type
                                                              '--------------~
                                                                                                          cident DateTime   j10/04/2015 16:20
                                                                                                                                                r--l
                                                                                                                                                I
 Location Type                                                           ocation
                                                                                       f'H6 DORM 9 CELL# f---·----·-· ------·--·- --~
                                                                                       I


={eporting Officer 1'--s_c_h_m_i1_t,_E_ri_c_ _ _ _ _ _ _ _ _ _ __,


                                        Inmates Involved
                  Inmate#            Name




                  Video Recorded? Type?                                     Medical Responders Name



                      ··-j Use of Restraints Required

                                                    Type of Restraints
                      Name                           Restraint                     Note




                      ;-~.1 Use of Force Required

                                                      Type of Force
                      Name                           Force                         Note




      Narrative   f0nf6i4/T5at eif-QUnd 1620 hrs. I heard radio transmission tor-additional office-rs to ~l
                  j When I arrived l helped secure.the scene until EMS arrived. Once EMS arrived I
                  !~~u~ned to my floor. This concludes my involvement in this s incident.

                  iSgt. E. Schmitt #356                                            ·                      I
                  .                                                                                       I
                                                                                                          '




                                                                                   Date
                                     Employee Signature




                                                                                                                            GB003128
            Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 93 of 211 PageID #:
                                                3288
                      Louisville Metro Department of Corrections Incident Report

:rd<znt Report# _1_oo_o_s_s_3_11_ce_>_ _ _ _   rr_c_rd-en_t_T-yp_e_~ls__u___1c-=_1_D_:E-A_r_r_E_M_P_r_ _ _ _ _~11c1dent DateTime   j 101041201 s 1s:20

(   .,lion Type                                                            ocation      rH6 DORM 9 CELL# 1                               I
Reporting Officer jHornback, Christopher
                                                                                        _ I _ _ _ _ _ _ _ _ _]




                                           Inmates Involved
                  Inmate#             Name
                  00431177            ASHBY, JAMES EARL




                  Video Recorded? Type?             HS AND H6 BODY            Medical Responders Name
                                                    CAMERA


                      0    Use of Restraints Required

                                                   Type of Restraints
                      Name                          Restraint                     Note




                      LJ   Use of Force Required
                                                     Type of Force
                      Name                          Force                         Note




     Narrative



                  I
                  I




                  [       __ - -- ------   --~----------                 ·---           -------


                                                                                 Date
                                    Employee Signature




                                                                                                                                        GB003129
   Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 94 of 211 PageID #:
                                       3289

                  Louisville Metro Department of Corrections Incident Report

Incident Report# 100066317(1)                     1rcident Type      1su1CIDE ATTEMPT                                    lf°ident DateTime   110/04/2015 16:20
                                                                                                                                                                 r'l
 Location Type                                                                     ocation      [i=i6 DORM 9 CELL# 1 - - · - - ·      -------1                   \


'leporting Officer !STIGALL, TIMOTHY M                                                          l_ --·--     ···-·-·--·-· ---- ····----------------i


                                          Inmates Involved
                  Inmate#             Name
                  00431177            ASHBY, JAMES EARL




                  Video Recorded? Type?                                                Medical Responders Name



                   ;. J   Use of Restraints Required

                                                      Type of Restraints
                    Name                                 Restraint                           Note




                   !~ 1 Use of Force Required
                                                          Type of Force
                    Name                                 Force                               Note




      Narrative   Onl-6-4-15, 8t 1616 1had entered H6 Dorm 9 to serve dinner chow. It was at that time
                   I found inmate Ashby, James (cin# 431177) had hung himself and attempted suicide
                  with his bed sheet tied to the bars on his window. I immediately ran out of the dorm to
                   grab the knife for life and notified the control room officer (Ofc. O'Bannon) to call for
                   additional officers. On my way back into the dorm I ran into my partner Ofc. Simpson
                   and n6tified him of the situation. We immediately enter inmate Ashbys cell, while Ofc.
                   Simpson is holding up inmate Ashbys body to relieve the pressure from his neck, I
                   (Ofc Stigall) attempted to cut the bed sheet that was tied around the bars with the knife
                   for life. After abol!t 30 seconds of the knife for life not working, l then decided to untie
                   the knot around the bars. Ofc. Simpson and l then carried inmate Ashby to the ground
                   on his back in the dayroom in Dorm 9. At that point backup arrived and they started
                   periorn1ing CPR on inmate Ashby. I was the Officer who had the body cam. l then
                   turned on the body cam and recorded the rest of the incident. After several minutes of
                              . ··------ ------· ---------------·--·----------- --- ----···-.. -·----- ., __________________J



                                                                                             Date
                                      Employee Signature




                                                                                                                                             GB003130
             Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 95 of 211 PageID #:
                                                 3290

                    Louisville Metro Department of Corrections Incident Report
Incident Report#
(-                   ~lo_oo_s_s_31_1_c9_J_ ___,1pcident Type ~ls_u_1c_1_o_E_A_T_T_E_M_P_r_ _ _ _ _~1rcident DateTime 11010412015 16:20

{    ,,lion Type                                                              ocation       H6 DORM 9 CELL # 1


Reporti.ng Officer jOLSON, CARL                                                             -·-----------------·--..----~


                                           Inmates Involved
                    Inmate#            Name

                   00431177            ASHBY, JAMES EARL




                    Video Recorded? Type?                                        Medical Responders Name




                     [ ] Use of Restraints Required

                                                    Type of Restrnints
                     Name                              Restraint                     Note




                     [ ] Use ofForce Required

                                                       Type of Force
                     Name                             Force                          Note




     Narrative      On Oct. 4, 2015 at around 1619 I heard a call for additional officers to H6 dorm 9.
                    When I arrived they had Inmate Ashby, James (431177) lying on the ground outside of
                     cell 1 with a sheet tied around his neck. l/M was unresponsive and unconscious.
                     Officer Horn had started CPR and I, Officer Olson #424 was getting the sheet off the
                     I/M's neck. I attempted to cut the sheet off of his neck using the knife for life but the
                     knife was not cutting the sheet so I untied the knot. I activated the body cam and had it
                   , pointed down on them. I had it on until another officer came over with his body cam
                   j and took over. Fire EMS arrived and took over. I stayed at the scene until EMS left
                     with him. This ends my involvement of the situation.
                                                                                                                 I
                   Officer C. Olson #424



                   l____ . -----------·----..-------                                             ___._j
                                                                                    Date
                                     Employee Signature




                                                                                                                        GB003131
    Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 96 of 211 PageID #:
                                        3291

                  Louisville Metro Department of Corrections Incident Report

Incident Report# j00066317(h)                   1rcident Type   1su1CIDE ATTEMPT                                lt°'dent DateTime   1101041201 s 16:20


 Location Type                                                             ocation     jH6DORM 9 CELL# 1 --- ----- - - --             -----1
                  ~---------------~                                                    I                                                       I
leporting Officer IMarbrey, Clifford                                                   l __ _ ____ ___ ____ __ __ _ __ _ ________ J


                                           Inmates Involved
                  Inmate#               Name
                  00431177              ASHBY, JAMES EARL




                  Video Recorded? Type?                                        Medical Responders Name



                         1
                   [.-       U_se of Restraints Required

                                                    Type of Restraints
                    Name                              Restraint                      Note




                         ! Use of Force Required                                                                                                         (
                                                       Type of Force
                    Name                               Force                         Note




      Narrative   i61140ctober, 2015,f(Ofc. M8rbrey) was inVolved in the following incident.       At approx.
                  j 1620hrs, while working on H5. I responded to a net call for "additional Officers, report
                  I to H6 Dorm 9". Once l reached the H6/D#9 I saw Ofc. Stigall and Ofc. Simpson in cell
                  ! #1 untying the bed sheets from the window bars of the cell that were tied around l/M

                  l Ashby, James (cin # 431177) neck. 1 ran to the Control room to tell Control Room
                  ! Office to start EMS to the Jail for an unresponsive white male and to also retrieve the
                   knife for life. I then went back to Dorm 9 and started assisting Ofc. Horn with CPR.
                   While he did the chest compressions 1did the rescue breath. After a few cycles of
                   chest compressions and rescue breaths, Ofc. Ramey arrived with the AED and place
                   the pads on the inmate's chest. The AED analyzed the inmate and advised us to
                   continue CPR. The second time the AED advised us to shock the inmate. The order
                   was given for everyone to stand clear, Ofc. Ramey administered the shock, Ofc. Horn
                   checked for a pulse and then CPR was continued. CPR was continued for several




                                                                                     Date
                                        Employee Signature




                                                                                                                                    GB003132
                  Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 97 of 211 PageID #:
                                                      3292
                        Louisville· Metro Department of Corrections Incident Report

    l(d°'nt Report# J00066317(i)                   lfcident Type    )Ls_u_1c_1o_E_A_T_T_E_M_P_r
                                                                                             _ _ _ _ _ _..,1tcident DateTime   J10/04/2015 16:20


(       Jtion Type
        1
                                                                               ocation      H6 DORM 9 CELL# 1                          J
Reporting Officer JRAMEY, RANDELL TODD
                                                                                           f-                  ----------·


                                             Inmates Involved
                        Inmate#          Name
                        00431177         ASHBY, JAMES EARL




                        Video Recorded? Type?                                    Medical Responders Name



                         [] Use of Restraints Required

                                                      Type of Restraints
                         Name                           Restraint                    Note




    (
                         [J   Use of Force Required
{
\_                                                       Type of Force
                         Name                           Force                        Note




            Narrative   On 10-4-15 I, Ofc. R. Ramey #824, responded to a call for additional officers on H6
                        Dorm 9. When i arrived Inmate Ashby, James #431177 was laying on the ground with
                        a bluish color to his skin. I saw Ofc. J. Horn giving chest compressions. I took my
                        CPR face shield out and handed it to Ofc. Marbery so he could give rescue breaths. I
                        picked up an AED machine that had been placed on the table beside of inmate Ashby
                        and prepared it to be used. I applied the AED pads to inmate Ashby and it analyzed
                        him and advised no shock. CPR was continued by Ofc. J. Horn and Ofc Marbrey.
                        The second time the AED analyzed inmate Ashby a shock was advised. I advised
                        everyone to not touch inmate Ashby and administered a shock through the AED. After
                        the shock the AED analyzed inmate Ashby again and advised to continue CPR. Ofc.
                        J. Horn and Ofc. Marbrey continued CPR. When Ffre and EMS arrived, I stayed at the
                        scene to assist until inmate Ashby was taken from the dorm. This ends my
                        involvement with this incident.
                                                                                           --------




                                                                                    Date
                                        Employee Signature




                                                                                                                                   GB003133
   Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 98 of 211 PageID #:
                                       3293

                 Louisville Metro Department of Corrections Incident Report

Incident Report# 1000663170)                   1rcidentType    1su1C1DE ATTEMPT                               lr"ident DateTime   j101041201s 1s:20
                                                                                                                                                      ,,------l
                                                                                                                                                      i
                                                                                        iHtfDORM 9CELL#T _______________ ---··:
Location Type                                                               ocation     I                                                      ;
                                                                                        .                                                      I
1eporting Officer !SIMPSON, DEVAN                                                                   -·---·----··--- -- _____________________ __j


                                          Inmates Involved
                 Inmate#              Name
                 00431177             ASHBY, JAMES EARL




                 Video Recorded? Type?                                         Medical Responders Name




                            Use of Restraints Required

                                                    Type of Restraints
                     Name                            Restraint                        Note




                        1
                            Use of Force Required

                                                      Type of Force
                      Name                           Force                            Note




     Nariative   '10i19t4/1s at apprOXimately 1618 I was walking back to the control room after
                 1
                     completing accuchecks, when Officer Stigall came out of Dorm 9 stating that an
                 iinmate Ashby James (GIN 431177) had hung himself. While Officer Stigall grabbed
                 I the knife for life I ran into the dorm and opened up cell one where l/M Ashby was
                 Ihoused. I ran into the cell and picked up l/M Ashby So that Officer Stigall could get the
                 l sheet off of the Inmates neck. The knife for life would not cut the sheet so Officer
                 iStigall untied it from the bars. Once the sheet was untied off of the bars of the cell I
                 : dragged l/M Ashby out into the dayroom of Dorm 9 so that CPR could be administered
                 j by other responding officers. l then began getting names of responding medical staff
                 land officers. This ends my involvement.




                                                                                      Date
                                       Employee Signature




                                                                                                                                  GB003134
            Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 99 of 211 PageID #:
                                                3294
                   Louisville Metro Department of Corrections Incident Report

l(j<J_~nt Report# j00066317(k)                  1rcident Type     ~'s_u_1c_1o_E_A_T_T_E_M_P_T_ _ _ _ _ _~11cident DateTime   j10/04/2015 16:20


(    ·~lion Type   ~--------------~ocation                                                IH6 DORM 9 CELL# 1          --------
'    '

Reporting Officer jLACHALMELLE, CRYSTAL                                                   l ___
                                          Inmates Involved
                   Inmate#            Name
                   00431177           ASHBY, JAMES EARL




                   Video Recorded? Type?                                        Medical Responders Name




                    [ ] Use of Restraints Required

                                                   Type of Restraints
                    Name                              Restraint                      Note




((                  [ ] Use ofForce Required

(                                                      Type of Force
                    Name                              Force                         Note




      Narrative    THIS NOTE WAS TYPED UNDER C.LACHALMELLE/RN FOR S,BOHR, LPN,,,@
                   APPROX 1620, MEDICAL WAS NOTIFIED OF EMERGENCY SITUATION IN H6,@
                   APPROX 1624, MEDICAL ARRIVED TO H6 & NOTED IM LYING OUTSIDE OF
                   CELL WITH TWO SECURITY STAFF NOTED USING AED/PERFORMING CPR@
                   APPROX 1628, AED WAS ALERTED TO NO SHOCK ADVISED, @APPROX 1629,
                   CPR WAS INITIATED AND SHOCK WAS ADVISED, SHOCK RECEIVED, @
                   APPROX, 1631, EMS ARRIVED AND IM WAS NOTED WITH A BLOOD PRESSURE
                   OF 110/66 WITH A PULSE, EMS LEF AREA WITH IM ON STRETCHER AND NO
                   FURTHER NEEDS WERE NOTED REQUIRING MEDICAL
                   ATTENTION,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,, EOR/SDBOHR, LPN




                   ·----·-·· ,,____________________________J


                                                                                   Date
                                    Employee Signature




                                                                                                                                 GB003135
  Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 100 of 211 PageID #:
                                       3295

                 Louisville Metro Department of Corrections Incident Report

                                                                                                                                                      (~
ncident Report# 100066317(1)                   1pcident Type                                                     cident DateTime   110/04/201516:20
                                                               '--~~~~~~~~~~~~...J



Location Type                                                              ocation

                 I
leporting Officer ARNOLD, MEGAN B


                                           Inmates Involved
                 Inmate#             Name

                 00431177            ASHBY, JAMES EARL




                 Video Recorded? Type?                                        Medical Responders Name



                     I I Use of Restraints Required

                                                   Type of Restraints
                     Name                            Restraint                       Note




                       ~ Use of Force Required

                                                      Type of Force
                      Name                            Force                          Note




     Narrative       0n·10-04-20i5 '8t arounCf162o hfS-1, Ofc. M. Arnold responded to H6 Dorm 9 du~ to       I
                     radio transmission. Upon arrival I seen Officers actively doing CPR on inmate Ashby.
                     Medical was already advised as well as EMS. I stood by irl case my help was needed
                     until I was dismissed to be back on my floor. This concludes my involvement with this
                     incident.


                     Ofc. M. Arnold #617




                                                                                     Date
                                      Employee Signature




                                                                                                                                   GB003136
              Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 101 of 211 PageID #:
                                                   3296
                       Louisville Metro Department of Corrections Incident Report

                                                    l~cident Type    'SUICIDE ATTEMPT                            lfcident DateTime   j10/04/2015 16:20


(··--- .,ration Type


Reporting Officer !Nichols, Courtney


                                             Inmates Involved
                       Inmate#           Name
                       00431177          ASHBY, JAMES EARL




                           Video Recorded? Type?                                   Medical Responders Name !NICHOLS



                           [] Use of Restraints Required

                                                       Type of Restraints
                            Name                         Restraint                      Note




                           D   Use ofForce Required
                                                          Type of Force
                           Name                          Force                         Note




        Narrative      This writer arrived with medical to H6d9 at approx 1624. l/m Ashby, James
                       , CIN#431177 was laying on the floor outside of Cell #1. CPR had been initiated by
                       corrections. This writer stayed to assist if.needed. This writer remained in H6d9 until
                       EMS arrived and Pt was transported via EMS to ER. -- EOR-----C.Nichols LPN




                       I
                       I                           .
                       '---------- ,, _______________________________ J




                                                                                      Date
                                        Employee Signature




                                                                                                                                         GB003137
  Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 102 of 211 PageID #:
                                       3297

                  Louisville Metro Department of Corrections Incident Report

Incident Report# I00066317(n)                     l~cident Type   !SUICIDE ATTEMPT                                1Jcident DateTime   11010412015 16:20


 Location Type
                                                                              ocation     iH6 DORM-9    CEl-C#T---------~              - - -· --i

                  I
Reporting Officer DEARINGER, TIMOTHY                                                      l_ -- -- --- ··--   ----·· ----·------ --------- ___J

                                             Inmates Involved
                  Inmate#                 Name

                  00431177               ASHBY, JAMES. EARL




                      Video Recorded? Type?                                      Medical Responders Name




                               Use of Restraints Required

                                                        Type of Restraints
                       Name                              Restraint                      Note




                       !-:-   l Use of Force Required
                                                          Type of Force
                        Name                              Force                         Note




      Narrative   IOn 10-4-15 at apProximatSTy 1_618 hrs I, Sgt T Dearinger hearda radio transmission         -
                  Icalling for EMS and the need for medical staff on H6.      Currently being on J2, I
                      I immediately went to the nurse's station to inform medical staff that an emergency was
                      \underway on H6 and EMS was being called. I then assisted in transporting medical
                      · equipment to H6 for medical staff. Upon hearing the transmission that LFD had
                       arrived, I went to the kitchen and was finished escorting LFD to H6 in order for Ofc
                       Ferguson to remain in the old sally port to await the arrival of EMS. This ends my
                       involvement in the incident EOR
                       Sgt T Dearinger #304




                                                                                        Date
                                          Employee Signature




                                                                                                                                      GB003138
          Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 103 of 211 PageID #:
                                               3298
                    Louisville Metro Department of Corrections Incident Report
Incident Report#
                     /~o_o_os_s_3_1_1_(0_>_ _ _~1rcidentType
r·
                                                                                                        cident DateTime   /10/04/2015 16:20


                                                                          ocation      H6DORM9CELL#1                         -    J
Reporting Officer JHORN, KRISTOPHER                                                   I                 - -

                                         Inmates Involved
                   Inmate#           Name




                    Video Recorded? Type?                                   Medical Responders Na.me



                     EJ   LJse of Restraints Required

                                                   Type of Restraints
                     Name                           Restraint                   Note




((                   CJ
c
                          lJse of Force Required

                                                     Type of Force
                     Name                           Force                       Note




     Narrative     \On October 4, 2015 at approximately 1620 I (Officer K. Horn#445) responded to a
                   back up call to H6 Dorm 9. When I arrived the scene was secure sd l returned to my
                   assigned post. This concludes my involvement

                   E.O.R

                 !Officer K. Horn #445


                 I
                 [ _____________________ .


                                                                               Date
                                    Employee Signature

\t
L}
                                                                                                                                 GB003139
  Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 104 of 211 PageID #:
                                       3299

                 Louisville Metro Department of Corrections Incident Report

ncident Report# 100066317(p)                     1rcident Type   1su1CIDE ATTEMPT                                       lfcident DateTime                 j10104/201516:20


Location Type                                                           ocation
                                                                                    fHB DORM 9-c"ETUn-- --·· ------- ·-
                                                                                    i
                                                                                                                                                             ------1
leporting Officer !CRAWFORD, DANYELLE                                               L...• _ --·-·--------·-- -·- -- ·- -··---- - • - - ---··- --- --   - ----- -- ______   j
                                           Inmates Involved
                 Inmate#                Name
                 00431177               ASHBY, JAMES EARL




                 Video Recorded? Type?                                     Medical Responders Name



                     I.   _-j Use of Re.straints Required
                                                     Type of Restraints
                      Name                             Restraint                  Note




                          .: Use of Force Required

                                                        Type of Force
                          Name                         Force                      Note




    _Narrative   ICalled i0.H6. 8T8Pi)rox.16:21 to 8ttempted suicide of 1/M Ashby. WherlTBrrived C-PRl
                 \had already been started. Stayed in the room to assist as needed.
                 I                                                                                                          !
                 I
                 I Nurse Crawford
                 i




                                                                                  Date
                                        Employee Signature




                                                                                                                                                        GB003140
                 Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 105 of 211 PageID #:
                                                      3300

                             Louisville Metro Department of Corrections Incident Report

    )'lcJil,ent Report# j00066317(q)                   1rcident Type    ~ls_u_1_c_1D_E_A_r_r_E_M_P_r_ _ _ _ _ _~1rcident DateTime 110/04/2015 16:20
    \
    (       ption Type                                                            ocation    IH6 DORM 9CELL#1

    Reporting Officer !SOMMERFELD, ABIGAYLE                                                  _,------------- - - -


                                                 Inmates Involved
                             Inmate#          Name
                             00431177        ASHBY, JAMES EARL




                             Video Recorded? Type?                                  Medical Responders Name



                              [J Use of Restraints Required
                                                          Type of Restraints
                              Name                          Restraint                   Note




    {
    (\                        f~J Use of Force Required
(                                                           Type of Force
                              Name                          Force                       Note




            Narrative        Patient #431177 was found hanging in cell with sheet tied around neck on H6W-9.
                         1
                             CPR was started and AEO was utilized and CPR continued, EMS arrived and patient
                             was taken with EMS responders. EOR Nurse Brown-Hayes                 .
                         1


                         !
                         I

                         [ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ - - - - - - - - - - - - · - - - - - - ._ _ _ _ _ _ _ J
                                                                                                               I


                                                                                      Date
                                            Employee Signature
'       I
\_\,___
l '
                                                                                                                                    GB003141
   Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 106 of 211 PageID #:
                                        3301

                  Louisville Metro Department of Corrections Incident Report

Incident Report# J00066317(r)                  1rcident Type   1su1CIDE ATTEMPT                           ljcident DateTime         110/04/2015 16:20


 Location Type                                                         ocation     r-ris DORM 9 CELL# 1          ---·-------------1
                                                                                   '
'leporting Officer JLACHALMELLE, CRYSTAL                                                                                                            I
                                                                                        ·-- _,, --- --·- -- --- ---·-----------------------··-------1


                                          Inmates Involved
                  Inmate#              Name
                  00431177             ASHBY, JAMES EARL




                  Video Recorded? Type?                                   Medical Responders Name




                      L~    Use of Restraints Required

                                                     Type of Restraints
                      Name                            Restraint                  Note




                      I_   j Use of Force Required

                                                       Type of Force
                      Name                            Force                      Note




      Narrative    On 10/04/2015 I (Crystal Lachalmelle RN) with medical arrived to H6D9 approximately    ·1
                  I1624. Inmate Ashby, James #431177 was lying on floor outside of cell door #1. CPR
                   was being performed by corrections. Medical stayed to assist if need. EMS arrived
                   approximately 1631 and l stayed until inmate Ashby, James #431177 was transported         i
                   to ER by EMS.                                                                             \
                   EOR                                                                                       I
                                                                                                             l
                   Crystal Lachalmelle RN




                                                                                 Date
                                       Employee Signature




                                                                                                                                  GB003142
             Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 107 of 211 PageID #:
                                                  3302

                    Louisville Metro Department of Corrections Incident Report

(0l~ent Report# 100066317(s)                    'rcident Type    1su1CIDE ATTEMPT                           lf°ident DateTime   110/04/2015 16:20


(-· \ation Type                                                             ocation     [6 DORM 9 CELL # 1

    Reporting Officer !SOMMERFELD, ABIGAYLE


                                          Inmates Involved
                    Inmate#           Name
                    00431177          ASHBY, JAMES EARL




                    Video Recorded? Type?                                     Medical Responders Name



                     EJ   Use of Restraints Required

                                                  Type of Restraints
                     Narne                           Restraint                    Note




((                   fj   Use of Force Required
(                                                    Type of Force
                     Name                            Force                        Note




        Narrative   Responded to emergency on H6 west hold for patient James Ashby 431177@ 16:24.
                    Patient was lying on the floor outside of his cell #1, CPR was being performed by
                    corrections officers. Stayed to assist if needed. EMS_ arrived and continued CPR till
                    transport to the hospital ER ..... EOR ASommerfeld




                                                                                                            I
                                --               ------·---~----------·---------_J


                                                                                 Date
                                    Employee Signature




                                                                                                                                    GB003143
  Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 108 of 211 PageID #:
                                       3303

                 Louisville Metro Department of Corrections Incident Report

ncident Report# 100066317(1)                    1rciden1 Type    1su1c10E ATTEMPT                          l!cident DateTime   110/04/2015 16:20            I
                                                                                                                                                     (
Location Type                                                                ocation     (-H6 DORM 9 CELL #-1                  -------;

~eporting Officer ILD_A_V_l_D_S_O_N_,E-R-IC_ _ _ _ _ _ _ _ _ _ __,                       l_____________ -------------________             J




                                          Inmates Involved
                 Inmate#              Name
                 00431177             ASHBY, JAMES EARL




                 Video Recorded? Type?                                          Medical Responders Name



                     l.~ i Use of Restraints Required

                                                    Type of Restraints
                     Name                              Restraint                       Note




                     I   J Use of Force Required
                                                        Type of Force
                     Name                              Force                           Note




     Narrative   /Af8pprOX16:20 on 4 October 20151 (Ofc. E. Davidson) responded to a backup c8l1 at
                 \ H6 Dorm 9 where l/M Ashby, James had hung himself. I was one of the last to arrive
                 Ion scene with multiple medical personnel. Shortly after my arrival Lt. Roy instructed
                 1 me    to get my gear and that I was going to the hospital with the l/M. I went back,
                 Igathered my gear, and waited outside the old sally port for the l/M to be loaded into
                 i the ambulance and rode with him and EMS in the ambulance to University Hospital.
                 i 1/M was transported without further incident.
                 i
                 \ Ofc. E. Davidson #867


                 i




                                                                                       Date
                                       Employee Signature

                                                                                                                                                   ('--_)


                                                                                                                               GB003144
           Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 109 of 211 PageID #:
                                                3304

                    Louisville Metro Department of Corrections Incident Report

(~'ci~ent Report# !00066317(u)                  rrcident Type    jSUICIDE ATTEMPT                         ircident DateTime   11010412015 16:20

                   ~-------------------'. ocation                                        H6 DORM 9 CELL# f - - - - - - - - -             '
 (   \ation Type
                                                                                        I
                                                                                        !
                                                                                                                                        i
                                                                                                                                        I
 Reporting Officer 'SIMMONS, HENRY                                                      L____ ------------------------·- ____ J


                                         Inmates Involved
                   Inmate#           Name
                   00431177          ASHBY, JAMES EARL




                    Video Recorded? Type?                                     Medical Responders Name



                    Li   Use of Restraints Required

                                                  Type of Restraints
                     Name                            Restraint                    Note




                    El   Use of Force Required

                                                     Type of Force
                    Name                            Force                         Note




      Narrative    l(Ofc Simmons) responded to call for addition officer to H6 Dorm 9. When I arrived I
                   saw several officers performing cpr on l/M Ashby. Once I saw the situation under
                   control I return back to floor




                                                                                                          i
                   L_______ ------------------------------------------ ----- _______J
                                                                                 Date
                                   Employee Signature




                                                                                                                                  GB003145
         Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 110 of 211 PageID #:
                                                         .                                                                ~-                  ~r6
                                              3305
                                                                   If;,
                    LO!JISVILLE METROPOLITAN DEPARTMENT O~CORRECTIONS ~
                                                                         Release Report
<(
           Inmate#                 Inmate Name~                         Sex                  Race
 (
           00431177                ASHBY,      JAM~L                    MALE                  White/Eurp/ N.Afr/Mid Eas


           Booking Number          Date/Time                            Hair Color                 Eye Color




                                               ...
           201523918               09/03/2015 15:25                     Brown                      Brown

           Committed By                            SSN                                            Heighi       Weight
           LOUISVILLE METRO POLICE                                                                5'09"        155

            Address. . .                                          Drivers License #               FBI#:

                                                                  KY . . . . .                    SID #: A0052853

             Phone:                                               .scaFS, Marks, Tattoos
           Resident:                                             Type                 Location             Description
            County:

             Bag#:()-                                             Aliases/SSN
                                                                 Name                                          DOB                 AliasSSN
                                                                 ASHBY, JAMES E


                                                                           Release. Information
                Release Date/Time:                                                     Reason for Release:
((               Releasing Officer:                                                        Length of Stay:
 ()            Transfer To Agency:                                                          Transportation:
                         Comments:       COURT ORDER




                                                                              Arrest Information
           Arrest D!ltefTime: 09/03/2015 15:49                                             · Arresting Agency: LOUISVILLE METRO POLICE

           Location: 2426   w MAIN ST.   LOU, KY                                             ·Arresting Officer: BAI LEY


                                                                          Additional Information
           Sentence Status:                                    .Cell Assignment: H6W-09/001                          Classification: Ml/GP

           Emergency Contact: KELLEY JOHNSON                   ~                                 Booking Officer: EGGLESTON, MAGGIE

                                                                                     Charges
         Reference#              Statute            Category            Charge DtTm        DispositlonDtTm       Document      Co.Uri          Bond Type
         Case Nbr                Description                            Court DtTm         Disposition           Bond/Sentence                 Bond Amount
         05992                   50031         FELONY                                      09/14/2015 13:45 Fresh Arrest    304                CASH
         15F009541               TRAFF IN CONT SUB, 1ST                 09/14/2015         INDICTMENT       Bond: $2,500.00                    $ 2,500.00
                                 DEGREE, 1ST OFF - (>OR= 2                                 GRAND JURY
                                 GMS METHAMPHETAMINE)
         05993                   161.164(3)    FELONY                                      09/14/2015 13:45 Fresh Arrest            304
         15F009541               TRAFF IN CONT SUB, 1ST                 09/14/2015         INDICTMENT       Comp w/05992
(j   ~
                                 DEGREE, 1ST OFF - (> OR = 2
                                 GMSHEROIN)
                                                                                           GRAND JURY


L~       05994                   00436        MISDEMEANOR                                  09114/2015 13:45 Fresh Arrest            304
         15F009541               DRUG PARAPHERNALIA -                   09/14/2015         INDICTMENT.      Comp w/05992
                                 BUY/POSSESS 218A.500(2).                                  GRAND JURY

         25979 Wheeler                                              10/06/201516:57
                                                                                                                                     GB003146
                                                                                                                                            Page:     1
          Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 111 of 211 PageID #:
                                               3306

          Oo07R              52196         FELONY                                 09/14/2015 13:45   Added Charge   304
          15F009543
              ,·c •          POSSESSION OF FIREARM BY           09/14/2015        INDICTMENT         Comp w/05992
                             CONVICTED FELON                                      GRAND JURY
          08510              50031         FELONY                                 10/06/2015 16:56   Added Charge CR02           CASH
(         15CR002386         COMPLICITY TRAFF IN CONT SUB,      10/23/2015        COURT ORDER        Bond: $2,500.00             $  2,500.00
     \                       1ST DEGREE, 1ST OFF-(> OR= 2
     '                      GMS METHAMPHETAMINE)
          08511              161.164(3).  FELONY                                  10/06/2015 16:56 Added Charge CR02
          15CR002386        COMPLICITY TRAFF IN CONT SUB,       10/23/2015        COURT ORDER No Bond has been set
                            1ST DEGREE, 1ST OFF - (>OR= 2
                            GMS HEROIN)
          08512    ~        52196         FELONY                                  10/06/2015 16:57 Added Charge CR02
          15CR00238 · ·     POSSESSION OF FIREARM BY            10/23/2015        COURT ORDER No Bond has been set
                            CONVICTED FELON
          08513             00436         MISDEMEANOR                             10/06/2015 16:57 Added Charge CR02
          15CR002386        COMPLICITY DRUG                     19123/2015        COURT ORDER No Bond has been set
                            PARAPHERNALIA - BUY/POSSESS
                            218A.500(2)


                                                                               Holds
          ORI             Agency Name                         Bond Amount                Status       Bond Denied   WarrantNbr
                          Statute                             Description


          By signing below I acknowle ge the receipt of my property.
                                        (V\_    "'      '°'" 6<
                                         Inmate Signature
                                                                      -+ ~ ~ :;_.._(\.._-"------'1~0'--f--1
                                                                                          Date        /
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         25979 Wheeler                                      10/06/2015 16:57                                        GB003147
                                                                                                                           Page:      2
         Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 112 of 211 PageID #:
                                              3307




            AOC- 385.1
            Rev. 11-10                                                                                                                   Citation No. _N_A-'-.---~-­
            Page 1of1                                                                                                                    Case NO. 15-CR-002386-001
                                                                                                                                         Court: Circuit
            Cqmmonwealth of Kentucky
                                                                                                                                         Div: _ _ __
            Court (If Justice
            www.oourts.ky.gov                                                                                                            County: Jefferson


            COMMONWEALTH OF KENTUCKY                                                                                                               PLAINTIFF

            v.
            ASHBY, JAMES E
                                                                                                                                                   DEFENDANT




                 Sell    Race                          l!e)ght            Weigllt                                                                                Type ..
                 M        w                             soa                    1so

           To ~he Jailer/Department of Corrections of_ Jefferson                                          _, Kentucky:
                                                                                              ~}"
           You are hereby commanded t 0 release from custpdy the above•named Defendant who is charged with:
            1 UOR;0423655 COMPLICllY TICS, 1ST DEGREE, 1ST OFFIONSE ('"' 2 GMS METHAMPHETAMINE) (fl ( C).

            2     UOR'.0423775 COMPLIC!lY     ·oss• TICS, 1ST DEGREE, 1ST OFFENSE (>= 2GMS HEROIN) ( F) ( c )
((          3     UQR;0521960 ConvlCled Felon in Possession of a Fiie•rm ( F) ( D)

 (,_ )      4 UOR:0420815 COMPLICITY DRUG PARAPHERNALIA- BUY/l>llSSESS ( M) (A)




           Next Court Date: 10/23/2015                                           08:45AM                                                   courtroom DIVISION 2


           Further Orders:




            10/06/2015 at 4:34:24 PM                                                       , • , 1' , /~{i!l@plronically signed by
           Date                                                                                    -,;:sis~~re,11t Judge
                                                                                                      · ··                                                   Div _ _ __

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           Distribution: Jail/Corrections                  c~~rtFire,1·
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                      Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 113 of 211 PageID #:
                                                           3308
                ASHBY, JAMES EARL
                                                                                                                 i
                Bk Dt: 09/03/2015 15:25                          DOB: 09/22/1979:
                 lnrhate11:00431177
                Booking #:201523918
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Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 114 of 211 PageID #:
                                     3309




                                                                     GB003150
          Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 115 of 211 PageID #:
                                               3310




((
                NO.     ISCR2386                                              JEFFERSON CIRCUIT COURT
\
    (.)                                                                                     DIVISION TWO (2)

                 COMMONWEALTH OF KENTUCKY                                                          PLAINTIFF


                v.                                 AGREED ORDER


                JAMES ASHBY                                                                      DEFENDANT


                                                     *   * ·*     * * *
                                Motion having been made, all parties being in agreement, and this Court being
                sufficiently advised; '

                               IT IS HEREBY ORDERED that James Ashby be released on his own
               recognizance.
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                                                                                  10 1!t l1s
                                                                   DATE:~~--~-'--~~~~~~-




              .6\~ISTANT CO                WEALTH'S ATTORNEY
          ,~· .. / '




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                          I:
                          NT PUBLIC DEFENDER


               cc:LMDC

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                                                                                                     GB003151
     Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 116 of 211 PageID #:
                                          3311



      AOC- 385.1
                                                                                                                 Citation No. NA
      Rev. 11-10                                                                                                                 --------
                                                                                                                 Case No. 15-CR-002386-001
      Page 1 of 1
                                                                                                                 Court: Circuit
      Commonwealth of Kentucky
                                                                                                                 Div: _ _ __
      Court of Justice
      www.courts.ky.gov                                               · From Custody                             County: Jefferson


      COMMONWEALTH OF KENTUCKY                                                                                                 PLAINTIFF

      V.
      ASHBY, JAMES E
                                                                                                                               DEFENDANT




                                                                                                        ;;.;;,;!iji..,_;;.s• •.aond Amount        Type
                                                                                                                    .Y


     To the Jailer/Department of Corrections of_ Jefferson                                                                                   ·' Kentucky:
                                                                           .                                     "l~
     You are hereby commanded to release from custody the above-named Defendant who is charged with:
       1   UOR:0423655 COMPLICITY TICS, 1ST DEGREE, 1ST OFFENSE(>= 2 GMS METHAMPHETAMINE) ( F) ( C)

      2    UOR:0423775 COMPLICITY ·oss· TICS, 1ST DEGREE, 1ST OFFENSE(>= 2GMS HEROIN) ( F) ( c)
((    3    UOR:0521960 Convicted Felon in Possession ofa Firearm ( F) ( D)

c     4    UOR:0420815 COMPLICITY DRUG PARAPHERNALIA- BUY/POSSESS ( M) (A)




     Next Court Date: 10/23/2015                             . 08:45AM                                              Courtroom DIVISION 2


     Further Orders:




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                                                                                                                                   10      /r,, //"s~ --
     Date                                                                               ;·   Slgnature
                                                                                               - ' " 'Qf Judge                             Div _ _ __
                                                                                        )'




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     Distribution: Jail/Corrections

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                                                                                                                                       GB003152
          Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 117 of 211 PageID #:
                                               3312
              'l
                    LOUISVILLE METROPOLITAN DEPARTMENT OF CORRECTIONS
                                                                           Release Report
            Inmate#                    Inmate Name                        Sex                  Race
            00431177                  ASHBY, JAMES EARL                   MALE                 White/Eurpl N.Afr/Mid Eas




                                                  ... ...
            Booking Number           · Dateffime                          Hair Color                 Eye Color
            201523918                 0910312015 15:25                    Brown                      Brown

            Committed By                             SSN                                            Height       Weight
            LOUISVILLE METRO POLICE                                                                 5'09"        155




              Phone:
            Resident:
                                                     KY-            Drivers License #




                                                                    Scars, Marks, Tattoos
                                                                   Type                 Location
                                                                                                    FBI#:

                                                                                                    SID #: A0052853




                                                                                                             Description
             County:

              Bag#:()-                                              Aliases ISSN
                                                                   Name                                          DOB                AliasSSN ·
                                                                   ASHBY, JAMES E


                                                                             Release Information
                   Release D
((                                                                                       Reason for Release:

                                                                                             Length of Stay:
  ( J~.
                                                                                              Transportation:




                                                                                Arrest Information
            Arrest Date/Time: 0910312015 15:49                                                'Arresting Agency: LOUISVILLE METRO POLICE

            Location:   2426   w MAIN ST. ,LOU, KY                                             Arresting Officer: BAILEY


                                                                            Additional Information
            Sentence Status:                                     Cell Assignment: H6W-091001                           Classification: MllGP

            Emergency Contact: KELLEY JOHNSON                                                      Booking Officer: EGGLESTON, MAGGIE

                                                                                       Charges
          Reference#                Statute           Category            Charge DtTm        DispositionDtTm       Document           Court      Bond Type
          Case Nbr                  Description                           Court DtTm         Disposition           Bond/Sentence                 Bond Amount
          05992                     50031         FELONY                                     091141201513:45 Fresh Arrest    304                 CASH
          15F009541                 TRAFF IN CONT SUB, 1ST                0911412015         INDICTMENT      Bond: $2,500.00                     $  2,500.00
                                    DEGREE, 1ST OFF - (>OR= 2                                GRAND JURY
                                    GMS METHAMPHETAMINE)
          05993                     161.164(3)    FELONY                                     091141201513:45 Fresh Arrest             304
(I        15F009541                 TRAFF IN CONT SUB, 1ST                0911412015         INDICTMENT      Comp w/05992
''.._                               DEGREE, 1ST OFF - (> OR= 2                               GRAND JURY
                                    GMS HEROIN)
 ll       05994
          15F009541
                                    00436        MISDEMEANOR
                                    DRUG PARAPHERNALIA -                  0911412015
                                                                                             0911412015 13:45 Fresh Arrest
                                                                                             INDICTMENT       Comp w/05992
                                                                                                                                      304

                                    BUY/POSSESS 21BA.500(2)                                  GRAND JURY

          25979 Wheeler                                               101061201516:57                                                   GB003153
                                                                                                                                               Page:    1
             Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 118 of 211 PageID #:
                                                  3313
                           i
              060"/2             52196         FELONY                                  09/14/201513:45    Added Charge   304
              15F009543          POSSESSION OF FIREARM BY            09/14/2015        INDICTMENT         Comp w/05992
                                 CONVICTED FELON                                       GRAND JURY
 (::'-        08510              50031         FELONY                                  10/06/2015 16:56   Added Charge CR02           . CASH
              15CR002386         COMPLICITY TRAFF IN CONT SUB,       10/23/2015.       COURT ORDER        Bond: $2,500.00               $ 2,500.00
                                 1ST DEGREE, 1ST OFF-(> OR= 2
         (                       GMS METHAMPHETAMINE)
              08511              161.164(3)    FELONY                                  10/06/2015 16:56 Added Charge CR02
              15CR002386         COMPLICITY TRAFF IN CONT SUB,       10/23/2015        COURT ORDER No Bond has been set
                                 1ST DEGREE, 1ST OFF - (>OR= 2
                                 GMS HEROIN)
              08512              52196        FELONY                                   10/06/2015 16:57 Added Ch~rge CR02
              15CR002386         POSSESSION OF FIREARM BY            10/23/2015        COURT ORDER No Bond has been set
                                 CONVICTED FELON
              08513              00436        MISDEMEANOR                              10/06/2015 16:57 Added Charge CR02
              15CR002386         COMPLICITY DRUG             10/23/2015                COURT ORDER No Bond has been set
                                 PARAPHERNALIA - BUY/POSSESS
                                 218A.500(2)


                                                                                    Holds
              ORI              Agency Name                         Bond Amount                Status       Bond Denied   WarrantNbr
                               Statute                             DeScrij:ltion


              By signing below I acknowledge the receipt of my property.


                                              Inmate Signature                                  Date


                                             Officer Signature                                 Date
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             25979 Wheeler                                       10/06/2015 16:57                                        GB003154Page:      2
         Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 119 of 211 PageID #:
                                              3314




           -A-O-c-'"'''3-8-5.""1_.__,""'"'"""""~
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            CQIVJMONWEA\;TH Or Kl'NTUOKV
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            ASHBY, ,JAMJ::S 13

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            It PC!li!l/!f2a17s coMPtJ.Ol'IY'Ds.s• r1os, 1stli.i:GRl!E, 1sr oFJiEN5e (>= l!GMs fl~OINH FH c >
            3 ll!lrt,:052'1 ~ <;~nvlcl~d f"•lon iii f'C!~se.ssloli or a Firearm_{ F)(O )
            4 UQR1042QSl5 coMf>llcJ'JY !'ll'il1$ PARAPHeRNl\llA. ~UYIPOS!IE$$ (Ml( A)



                                                                          Oili45AM                                      Courtroom DIVJSiON 2


           Furtlier'Orders:




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            Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 120 of 211 PageID #:
                                                 3315




r- ·.
 (      i
                 NO.     15CR2386                                             JEFFERSON CIRCUIT COURT

                                                                                            DIVISION TWO (2)

                 COMMONWEALTH OF KENTIJCKY                                                            PLAINTIFF


                 v.                                AGREED OR.DER

                 JAMES ASHBY                                                                         DEFENDANT


                                                      * * * * * *
                                MQtion having been made, all parties being in agreement, and this Court being
                 sufficiently advised;

                                  IT JS HEREBY ORDERED that James Ashby be releaSed on his own
                 recogniz.ance.

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                                                                    DATE: _ _     /_ei_,_/_a._/_r_<___
                                                                                  .ENTERED IN COURT
                                                                                    DAVID L NICHOLSON. CLERK



                                              ALTH'SATTOkNEY


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                cc:LMDC




                                                                                                         GB003156
          Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 121 of 211 PageID #:
                                               3316
               ' .,   '


        JEF-056-66
        Rev. 6-06
(( .. · Page 1 of 1
        Commonwealth of Kentucky
  (    !court of Justice
                                                   ORDER OF COMMITMENT                County: JEFFERSON
       www.courls.ky. gov                               (MITTIMUS)



                                                JEFFERSON CIRCUIT COURT                               8/22/79
                                         To Jefferson County Department of Corrections




       Defendant JAMES ASHBY
       Alias
       Case Number 15CR2386-001
       Charges COMP TICS I !METH), COMP OBS TICS I (HEROIN), CFPOH, COMP PDP


       Return Date .10/23115
       Time 8:45                                                         Bond 2.500

 tnOl l        lJOSl.'
((                                                            OR
 (. )Safely keep defendant having been sentenced to _ _


                            10/2115                                                  JAMES M. SHAKE
                               Date                                              Judge, Jefferson Circuit Court


      . ENTERED IN COURT


       BYM. GORDON
                          Deputy Clerk




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                                                                                                     GB003157
           Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 122 of 211 PageID #:
                                                3317


        JEF-056-66                                                                   Case No.   15CR2386
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     ~ .•pommonwealth    of Kentucky
                                                                                     Court : Circuit #2
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      . Court ofJus~c~f\~ ( /                      ORDER bF COMMITMENT               County: JEFFERSON
        www.courfoS.(l<\~I\"-' ......,                  (MITTIMUS)



                                                 JEFFERSON CIRCUIT COURT                              8/22/79
                                         To Jefferson County Department of Corrections




       Defendant JAMES ASHBY
       Alias _ _
       Case Number 15CR2386-001
       Charges COMP TICS I !METH), COMP OBS TICS I !HEROIN), CFPOH, COMP PDP


       Return Date     _JQ-d--15
       Time _ _ Cj~45                                                   Bond 2,500


(                                                             OR
(. )safely keep defendant having been sentenced to _ _


                             9/14/15                                                 JAMES M. SHAKE
                              Date                                               Judge, Jefferson Circuit Court


       ENTERED IN COURT


       BYM. GORDON
                         Deputy Clerk




                                                                                                     GB003158
Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 123 of 211 PageID #:
                                     3318




                                                                     GB003159
                     Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 124 of 211 PageID #:
                                                          3319

           1,1.0C-E-:'?,5 WarCode: WAI                                                                      Case Number;              15-CR-002386-001
          _Rev. 1-08                                                                                        County:                   JEFFERSON
     Co'mmonwealth of Kentucky                                                                              Court:                    CIRCUIT COURT
r"-<sourt-of Justice
                                                                                                            Warrant Number:           E05610002280613
\_
           ·'G' 6.52; RCr 6.54, Form 5                                                                      Generated:                9/10/2015 3:02:15PM
         ( I                      .

                                                                                - Warrant of Arrest
                                                                           Indictment Warrant-                                                               Page 1 of 1


          Plaintiff COMMONWEAL TH VS. JAMES E ASHBY Defendant
          TO ALL PEACE OFFICERS IN THE COMMONWEALTH OF KENTUCKY: You are commanded to arrest the
          person named below and bring him/her forthwith before the JEFFERSON COUNTY - CIRCUIT COURT. If Court is not in
          session, you shall deliver him/her to the Jailer of JEFFERSON County.
         JAMES E ASHBY
         2426 WEST MAIN STREET
         LOUISVILLE, KY 40212


           Gender                  Race                   Date of Birth                      Hei~ht       Weight                O~er_ator License#            State.

                M                 WHITE                                                       5'9          150                     E98076569                  OLKY

      @To answer charges that he/she committed the offense(s) of:
            Chg# UOR C~d~_        KRs           Type .Qe.~C~lp i.~n    .                                    .   ·. "~qf               ·c~.~n~   . -~1~p·ot   pJsp
            1    42365            2'1BA.1412    (F)    TRAFF IN CONT SUB, 1ST DEGREE, 1STOFF-(> OR= 2 GM: COMPUCl)Y                      1
            2        42377        2.1BA.1412    (Fl    TRAFF IN CONT SUB, 1ST DEGREE, 1ST OFF - (> OR   =2 GM~    COMPLICITY             1
                     52196        527.040       (F) . POSSESSION OF FIREARM BY CONVICTED FELON                    NIA                    1
           '
           _)
           4         420B1        218A.500(2)   (M)    DRUG PARAPHERNALIA - BUY/POSSESS                           COMPLICITY.            1


     1~         r)le defendant may post bail in the amount of         $2,50~:~?!' ~=cured•   by CASH.


     0          The defendant may not post bail.

                    Indictment/lnfonnation ASSIGNED TO DIV 2: CHARGES PENDING IN DIST CT




               /-                                                                 EXECUTION
         E'.J Executed on Defendant named herein this __Jj1 day of, ~f J:.-                             ,2 .Dl5-
         D Not executed because _ _ _ _ _ _ _ _._-_·__                          -·-·------a-=_;;:_ia_
                                                                                                 ./_____:,. .________
                                                                                                     Q.:i._f~_----
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     t(..                                                                                                                         -
     ,_,.
     {      !                                                                                                             Signature of Peace Officer

      Electronically signed by Circuit Court Clerk C.Clerk (JEFFERSON COUNTY - CIRCUIT COURT)_ on 9/10/2015 at 3:01 :08PM.

     )ate printed:           Thursday, September 10, 2015                                                                                               GB003160
                           Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 125 of 211 PageID #:
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                                                                3320
                             ~· ' ""'' '---· J~-~..
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                                                            ''                                                                                                                      KSP 206 (REV 211/06)



                                                                                                                                                         ATTN:       HOME PHONE
                                                                                                                                                           D
                           ALIAS                                                                                                                                     EMERGENCY PHONE

                                                                                                                                                                     KENTUCKY RESIDENT STATUS
                                                                                                                                                                     F. 0 FULL TIME P. 0 PART TIME                  N.0 NON RESIDENT
                                                                                                                                            ZIP:                     MARITAL STATUS ·
                ll:'.
                £iJ
                0
                zlllJ
                           l.D. TYPE/STATE      1.D. NUMBER                                                     r -
                                                                                                                ~- - - - - -
                                                                                                                                                                 ,  VICTIM~S RELATIONSHIP
                                                                                                                                                   ________...... ETHNIC ORiGIN
                                                                                                                                                                                                       Tb    OFFENDER


                                                                          SEX                                              RACE
                It                                                                                 /
                0                                                                                                                                                   0 HISPANIC         0 NON HISPANIC
                           PLACE OF EMPLOYMENT I OCCUPATION                                                     CITY                         STATE                  H~Gf )            WEl9H{ \ · iiAIR COLOR EYE COLOR
                                                                                                                                                                      -._.,I              f   ,,,.;; .,.;-

             · £iJ         VEH. MAKE                        VEH. TYPE                   VEH. YEAR               COLOR       TOP/BOTIOM                              ALCOHOLIDRUG INVOLVEMENT (SPECIFY)
               --'                                                                                                                                                  0 NO DYES 0 UNK
                Oe,_~~---"---'--~~~+-~~-'--~-l-~~~~~~-'--~...i...~~~~"""'~"-'~~~....,.....,-1
            ..ii:
              w               REG. STATE                            REG. YEAR            REGISTRATION NO.                                   VEHICLE IDENTIFIERS                                    MPH         IN MPH ZONE VOL KEY

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                                                                                         EXACT LOCATION OFVIOLATION I ARREST                                                                  B.A. Rl;:SYLTS



                                                                 TIME OF AR'f~EST           MILES            DIRECTION                                     CITY                                                                         SECTOR

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                                                      E_J COURT TIME                                   COURTLOCATION                                     COURT CASE NO.                 DISPN. DATE TRIAL                               CLERKS
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             8                                                          OPM         0    COURT                                                                                                                          ON

                          POSTcARREST COMPLAINT




            --'           COL LICENSE                               DNo                 DYes                               PLACARDED HAZARDOUS VEHICLE                              ONo                      DYes
            0
            (.)
                          COMMERCIAL VEHICLE                        DNo                 DYes                               COL CLASS               DA          DB              DC
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                          NAME OF _V\flTNESS _ _ _ __:_~------~----~- ADDRESS>----~--~-~--~------
(    (                                                                CITY/STATE
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    '\                    NAME OF WITNESS                                                                                         ADDRESS                                                                                    oe             ~
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                        CASE NO.                                                                                       2                                                3                                               4 f)00,.__1!
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                          CARRl~P FOR UCR BY CONTRIBUTOR: D                                                             . D IN-CAR VIDEO                               0 FINGER PRINTS                EVIDENCE HELD
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                          OFFICJ::R'S SJGNATltRE ..                                                                        BADGE I l.D. N1?..r:-iBER                                                 GB003161
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                        Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 126 of 211 PageID #:
                                                             3321



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                                    KRS ?.1~A.1412, b 42C77S                   'l'HAH'ICKING IN A CONHlOLLED !;UB$ l'ANG'-i IN ·n It FIRST
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                                    KAS 210A.SOO, 50 4?.0f.i1fi                ILLCaAL USE QA 1'0$81-.SfilON OFDAUO PARAPH~nNALI/\                                      1. TO
                                                                              (CQM!''l.IQllY) .                                 ..·.,__._....._ _...._ _ _ _ _ _ _ _ _..1-
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                                    KAS 2 lefl;J412. 6        ~P.:i&.i~        TriAf'FJCKIN~~ .IN A r-6Nl'Rci~u;p,iiuJ!liTANCE IN THE HHSt                        l                 TB
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                                                                               MORE (cOMr'LiCITY.)                          .
                                    J(RS 218A. 1412, [i 42Hii5                 TllllfFICKING. lf\l AOONTf.lOllE!) SWBS'tl\NC~ 1.N l'HF. Fli'lST                                     TB
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      Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 127 of 211 PageID #:
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         N119326




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                                          ASHBY,       JAMES




                        KYA0052853            09/22/l979                      M   w   509      l65       . BRO   Bl<




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               Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 128 of 211 PageID #:
                                                    3323


                             LOUISVILLE METROPOLITAN DEPARTMENT OF CORRECTIONS
(r
\
               Added Char                               es                    Booking Report
        (')Inmate#                  Inmate Name                         Sex                   Race
             00431177              ASHBY, JAMES EARL                    MALE                  White/Eurp/ N.Afr/Mid Eas
             Booking Number        Datemme                            Hair Color              Eye Color
             201523918             09/03/2015 15:25                     Brown                 Brown

            Drivers License#                                           Ethnicity:                         Height      Weight
             KY~                                                      Not of Hispanic Origin              5'09"       155

               Address--                                           Phone:                         FBI#:

                                                                                                  SID#: A0052853


                Resident:                                         Scars, Marks, Tattoos
                                                                 Type ·                Location           Description
                 County:

              Birth State:

              Citizenship: United States of America               Aliases/SSN
                                                                 Name                                           DOB               AliasSSN
                                                                 ASHBY, JAMES E


                                                                           Additional Information
                    Classification: Ml/GP                                  Occupation: UNEMPLOYED

(r                Cell Assignment:3N1/025                                     Employer: NONE
    \
        (   ·~)~~s_e_nt_e_nce~s_1a_t_u_s·-·~~~~~~~~~~~Em~e~~en_cy~c_o_n_1a_c_t:_R_E_F_u_s_E_D~~~~~~~~~~~~~~~~~~--1
                                                                                Arrest Information
                  Committi>d By: LOUISVILLE METRO POLICE                                Arresting Officer: BAILEY

               Arrest Date/Time:09/03/2015 15:49                                         Booking Officer: EGGLESTON, MAGGIE

               Arresting Agency:LOUISVILLE METRO POLICE                                        Location: 2426   w MAIN ST.     LOU, KY

                     Arrest Note: DETS EXECUTED NARCOTICS SEARCH WARRANT ON TIME DATE
                          .       AND LOCATION WHICH ABOVE SUBJECT WAS PRESENT. FURTHER
                                  DETS RECOVERED BAGGIES OF METH AND HEROIN PACKAGED
                                  AND READY FOR SALE ALONG WITH DRUG PARA AND A
                                  REMINGTON .290 RIFLE

                                **.,..ADDC*****"**DETS EXECUTED NARCOTICS SEARCH WARRANT AT
                                LOCATION WHERE SUBJECT LIVES. UPON SEARCH DETS REMOVED
                                A .270 LONG RIFLE . SUBJECT JS A CONVICTED FELON ON CASE
                                01CR062120. DETS ALSO REMOVED LARGE AMOUNT OF NARCOTICS

                                                                                       Charges
             Reference#            Statute            Category            Charge DtTm         DispositionDtTm      Document      Court       Bond Type
             Case Nbr              Description                            Court DtTm          Disposition          Bond/Sentence             Bond Amount
             05992                 50031         FELONY                                       (none)               Fresh Arrest   304        CASH
             15F009541             TRAFF IN CONT SUB, 1SJ                 09/14/2015                               Bond: $2500.00            $ 2,500.00
                                   DEGREE, 1ST OFF-(> OR= 2
                                   GMS METHAMPHETAMINE)
             05993                 161.164(3)    FELONY                                      (none)·               Fresh Arrest      304
             15F009541             TRAFF IN CONT SUB, 1ST                 09/14/2015
                                   DEGREE, 1ST OFF - (>OR= 2
                                   GMS HEROIN)
                                   00436        MISDEMEANOR                                  (none)                Fresh Arrest      304
                                   DRUG PARAPHERNALIA -                   09/14/2015
                                   BUY/POSSESS 218A.500(2)
                                   52196       FELONY                                        (none)                Added Charge        GB003164
                                                                                                                                     304
                                   POSSESSION OF FIREARM BY               09/14/2015
              Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 129 of 211 PageID #:
                                                   3324

                            LOUISVILLE METROPOLITAN DEPARTMENT OF CORRECTIONS
r;,-- . I                Booking Report
\ ... 1·------1------~-s-----'-------,---------.
    ( · Inmate#                     nmate Name                         eX:                 Race
       1
            00431177               ASHBY, JAMES EARL                  MALE                 White/Eurp/ N.Afr/Mid Eas
            Booking Number         Date/Time                          Hair Color           Eye Color
            201523918              09/03/201515:25                    Brown                Brown

                                                    DOB                Ethnicity:                        Height       Weight

                                                 ~                    Not of Hispanic Origin             5'09"        155

                                                                 Phone:                          FBI#:

                                                                                                 SID #:.A0052853


              Resident:                                         Scars, Marks, Tattoris
                                                               Type              Location                Description
                County:

             Birth State:

            Citizenship: United States of America               Aliases/SSN
                                                               Name                                             DOB               AllasSSN
                                                               ASHBY, JAMES E


                                                                         Additional Information
                    Classification: PRE-ARRAIGNMENT                      Occupation: UNEMPLOYED

((               Cell Assignment: PASSIVE/J1-P-030                           Employer: NONE

      •         Sentence Status:                                Emergency Contact: REFUSED
(
     . ~)- - - - - - - - - - - - - - - - - - - - - - - - - - - !
                                                                              Arrest Information
                 Committed By: LOUISVILLE METRO POLICE                               Arresting Officer: BAILEY

              Arrest Date/Time:09/03/201515:49                                        Booking Officer: EGGLESTON, MAGGIE

              Arresting Agency:LOUISVILLE METRO POLICE
                                                                                               Location: 2426   w MAIN ST.     LOU, KY

                    Arrest Note: DETS EXECUTED NARCOTICS SEARCH WARRANT ON TIME DATE
                                 AND LOCATION WHICH'ABOVE SUBJECT WAS PRESENT. FURTHER
                                 DETS RECOVERED BAGGIES OF METH AND HEROIN PACKAGED
                                 AND READY FOR SALE ALONG WITH DRUG PARA AND A
                                 REMINGTON .290 RIFLE

                               "***ADDC*******"DETS EXECUTED NARCOTICS SEARCH WARRANT AT
                               LOCATION WHERE SUBJECT LIVES. UPON SEARCH DETS REMOVED
                               A .270 LONG RIFLE. SUBJECT IS A CONVICTED FELON ON CASE
                               01CR062120. DETS ALSO REMOVED LA'RGE AMOUNT OF NARCOTICS

                                                                                    Charges
            Reference#             Statute          Category           ChargeDtTm          DispositionDtTm        Document           Court    Bond Type
            Case Nbr               Description                         Court DtTm          Disposition            Bond/Sentence               Bond Amount
            05992                  50031 .       FELONY                                   . (none)                Fresh Arrest       008
                                   TRAFF IN CONT SUB, 1ST              09/04/2015
                                   DEGREE, 1ST OFF - (>OR= 2
                                   GMS METHAMPHETAMINE)
            05993                  161.164(3)    FELONY                                    (none)                 Fresh Arrest       008
                                   TRAFF IN CONT SUB, 1ST              09/04/2015
                                   DEGREE, 1ST OFF - (>OR= 2
                                   GMSHEROIN)
                                   00436        MISDEMEANOR                               (none)                  Fresh Arrest       008
                                   DRUG PARAPHERNALIA -                09/04/2015
                                   BUY/POSSESS 218A.500(2)
            06072                  52196      . FELONY
                                                                       09/04/2015
                                                                                          (none)                  Added Ch~rge       008
                                                                                                                                         GB003165
                                   POSSESSION OF FIREARM BY
            Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 130 of 211 PageID #:
                                                 3325
     ,.,
                   ...     LQUISVILLE METROPOLITAN DEPARTMENT OF CORRECTIONS
(- ..                                                                        Booking Report
           Inmate#                Inmate Name                          Sex                   Race
 (    !
           00431177               ASHBY, JAMES EARL                    MALE                  White/Eurp/ N.Afr/Mld Eas
           Booking Number         DatefTime                            Hair Color            Eye Color
           201523918              09/0312015 15:25                     Brown                 Brown

                                                                        Ethnicity:                         Height      Weight
                                                                       Not of Hispanic Origin              5'09"       155

                                                                  Phone:                          FBI #:

                                                                                                  SID#: A0052853


             Resident:                                           Scars, Marks, Tattoos
                                                                Type                 Location              Description
               County:

            Birth State:

           Citizenship: 1,Jnited states of America               Allases/SSN
                                                                Name                                             DOB               AliasSSN




                                                                         Additional Information
                    Classification: PRE-ARRAIGNMENT                       Occupation:


((             Cell Assjgnment: PASSIVE/J1-P-030

               Sentence Status:
                                                                             Employer:

                                                                 Emergency Contact:
C_, )·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~--{
                                                                               Arrest Information
                Committed By: LOUISVILLE METRO POLICE                                 Arresting Officer: BAILEY

             Arrest Date/Time:09/03/2015 15:49                                           Booking Officer: EGGLESTON, MAGGIE

             Arresting Agency:LOUISVILLE METRO POLICE                                           Location: 2426   w MAIN ST.     LOU, KY

                     Arrest Note: DETS EXECUTED NARCOTICS SEARCH WARRANT ON TIME DATE
                                  AND LOCATION WHICH ABOVE SUBJECT WAS PRESENT. FURTHER
                                  DETS RECOVERED BAGGIES OF METH AND HEROIN. PACKAGED
                                  AND READY FOR SALE ALONG WITH DRUG PARA AND A
                                  REMINGTON .290 RIFLE

                                                                                     Charges
           Reference#             Statute            Category           Charge DtTm          DispositionDtTm        Document      Court           Bond Type
           Case Nbr ·             Description                           Court DtTm           Disposition            Bond/Sentence                 Bond Amount
           05992                  50031         FELONY                                       (none)                 Fresh Arrest      008
                                  TRAFF IN CONT SUB, 1ST                09/04/2015
                                  DEGREE, 1ST OFF - (>OR= 2
                                  GMS METHAMPHETAMINE)
           05993                  161.164(3)    FELONY                                       (none)                Fresh Arrest       008
                                  TRAFF IN CONT SUB, 1ST                09/04/2015
                                  DEGREE, 1ST OFF - (> OR = 2
                                  GMS HEROIN)
           05994                  00436        MISDEMEANOR                                   (none)                Fresh Arrest       008
                                  DRUG PARAPHERNALIA -                  09/04/2015
                                  BUY/POSSESS 218A.500(2)

                                                                                                                             Active Bond Total:$0.00

                                                                                                                                   Bonds Total: $0.00



                                                                                         0   s                                            GB003166
         Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 131 of 211 PageID #:
                                              3326




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          AOC- 385.1
          Rev.11-10
          Page 1 of 1
                                                                                                      Citation No. .5N1193262-1
                                                                                                      Case No. 15-F-009541
                                                                                                      court: District
          Commonwealth of Kentucky
                                                                                                      Div: _ _ __
          Court of Justice
          www.courts.ky.gov                                            From Custody                   County: Jefferson


          COMMONWEALTH OF KENTUCKY                                                                                     PLAINTIFF

          v.
          ASHBY, JAMES EARL
                                                                                                                       DEFENDANT

          Alias: _ _ _~---------------'"1111,.....
          Jail ID: 431177


               Sex     Race                        Height    Weight                                                                Tye
               M        w                           509       165


          To the Jailer/Department of Corrections of           Jefferson · .                                       .     .      , Kentuck}i:

         You are hereby commanded to release from custody the above-named                          De~dant who is. ch~f9!!d with:
           1    UOR:0'\23650 TICS, 1ST DEGREE, 1ST OFFENSE(>= 2 GMS METHAMPHETAMINE) ( F) ( C)       Disp:09/14/2015;.jfil~t~if~~<i\'.~Y;G~NEi
         .II IRY /IN~ORMATION                                                                                          · ..        ..            0
(r         2    UOR:0424830 TICS, 1ST DEG, 1ST OFF(~=2GMSBUT<100 GMS HEROIN) ( F) ( C). Dlsp:09/14/2015'JN[jlO~M~'l\J;,;{,i~~ND;f\.IR'r/
                                                                                                                                                 D
         IM~n'1ll:l'Ff:\U~os10                                                              ll'lfJIOl]McNTBY'G~ND~U~vt:1~Fcl~MATIQN•'
 l                               DRUG PARAPHERNALIA- BUY/POSSESS ( M) (A) Disp:09/14/2015                                                  .




         Next Court Date:                                                                                Courtroom


          Further Orders:




          09/14/2015 at 11 :45:25 AM
          Date




                                                                                                                   t::nterea
                                   Clerk

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l.       Distri!lution: Jail/Corrections                                                               - - - - - - - - ' ' D.C .



                                                                                                                               GB003167
        Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 132 of 211 PageID #:
                                             3327




/··     AOC-390
        Rev. 1-05
                             Doc. Code: OAP                                                 Case No. 15-F-009541

\ ('i   Commonwealth of Kentucky                                                            Court District
        Court of Justice
        Www.courts.ky.gov                                   ORDER fOR APPEARANCE            County Jefferson
        KRS 421.600-.690                                        OF   PRISONER




        COMMONWEALTH OF KENTUCKY

        vs
        _A_S_H_a_v_,J_A_M_E~S~EA_R_L~~~~~~~~~~~~~~~~~~~~~~~~~ DEFENDANT

                                                                       County

        On the motion of the _ _ _ _ _ _ _ _ _ _ _c_o_m_m_o_nw_e_a_ll_h_ _ _ _ _ _ _ _ _ __ it appearing that

         ASHBY, JAMES EARL
                                                               (Prisoner's Name)

                      Sex    Race                                                  Inmate Number,----+-=S"'ta"'te""i·
                       M       W                                                         43117               OLKY

        is essential to the proper prosecution of this action al'ld that he/she is presently an inmate; you are hereby

        ORDERED to have him/her before this Court on or before the following:

                      Date                          TI me                             Courtroom
                    09/14/2015                 9:00am                                    hj304


        there to remain, subject to .further orders of this Court.




                    09/10/2015 at 10:58:26 AM
                              Date




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                                                                                                               GB003168
         Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 133 of 211 PageID #:
                                              3328

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         AOC-390               Doc. Cede: OAP
                                                                                           Case No.   15-F-0095±:!_ ___ _
          Rev. 1-05
          Commonwealth · of Kenlucl<y                                                      Court Dlt;trtct
          Court of Juslice
         www.courlS.ky.gov                                ORDER FOR APPEARANCE
         KRS 421.600-;690                                      OF   PRISONER



         COMMONWEALTH OF KENTUCKY

         VS
         ASHBY, JAMES ~Rl
                                                                                                                DEFENDANT


                                                                      County
                                        -<!>-----------------·
         To the V\/arden/Jailer of Jefferson

         On t11e motion of the _ _ _ _ _ _ _ _ _ _ _c_o_m_.m_o_n_w_ea_J_th_____________ . it a0pearing that

          ASHBY, JAMES EARL
                                                             (Prisoner's Name)

                       Sex     Race
                         M         W

         is essential to the proper prosecution of this action and that he/she is presentl)' an inmat•;; yoJ are herel>y
(
(        ORDERED to      have_ him/her before this Court on or before the following:
    (
                        Date                      Time.                                Courtro_on ;---~------j
                      09/10/2015               09:00AM                         (CRIMINAL COURT fmOM 301)
                                                                                               -                         -
         _there to remain, subject lo further orders of this Court.




                      09/08/2015 at 11:25:53 AM                           _ _ _'_Isl elect~!~!oally sigr!ed b.L__ _ _
                               Date                                                      Judges Signature




                                                                        Date           9J     1

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                                                                               -----' 8_
                                                                                                             _ _ _ D.C.




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"'--'
                             ·---··-----------------------
                                                                                                                GB003169
          Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 134 of 211 PageID #:
                                               3329



          AOC-425:1                   Doc. Code: OCOM
          Rev. 11-10
          Page 1 of1

          Commonwealth of Kentucky
          Court of Justice www.courts.ky.gov                             COMMITMENT 0
          KRS 439.179                                                   JUDGMENT AN
                                                                                 REL
          COMMONWEALTH OF KENTUCKY

          V.
          ASHBY, JAMES EARL
                                                                                                                          DEFENDANT·

          Alias:      earl, ashby
          Jail ID: 431177

            Sex                                                  ht     Weight     Operator License Number State        Bond Amount        Type
               M                                        509               165                                  OLKY .     2,500.00           CA
                                             t of Corrections         of-. Jefferson                                                    _, Kentucky:
         You are hereby commanded to receive the above-named Defendant who has been found guilty of the following:




((
 (_ ) Next Court Date: 09/14/2015           09:00 AM      (CRIMINAL COURTROOM 304)
                                   JUDGMENT AND ORDER RELEASING MISDEMEANANTS FROM JAIL
         II is the Judgment of this Court that the Defendant be sentenced to serve             See sentence details above        . On
       Motion of the Defendant and the Court being sufficiently advised,· ff IS HEREBY ORDERED, pursuant to KRS 439.179,
       that the Defendant is granted the privilege of leaving the jail during the hours of:             am/pm to              am/pm
       ----------through                                                            , for one or more of the following purposes:

         D          1. Working at his/her employment.                                    D      2. Seeking employment.

         D          3. Attendance at an educational instttution.                         D      4. Medical treatment.

         D . 5_                  Other}
                                        Bail Conds:NO USE/POSSESS FIREARM OR OTHER WEAPON; {DANGER A/C
                                                        .                                                                  ·
           Every prisoner gainfully employed and released herein is hereby ordered to pay a reasonable amount not to exceed
        forty dollars ($40.00) per day KRS 439.179 (4) for the cost of his/her board. If he/she defaults, the privilege hereby
        granted may be forfeited by the Court.
          The Court further directs that the Jailer/Department of Corrections of.                                                       perform the
        functions under KRS 439.179 (3) and (5).

         09/04/2015 at 9:44:06 AM
                   . "°'"   ·~       '--··

         Date                                                                             Signature of Judge                        Div _ _ __


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                                                            f. t"~
         Distribution: Transporting Officer                 1"r1
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                       Jail/Corrections
                                                                                                                               , D.C.
                       Court File
                                                                                                                                  GB003170
                   Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 135 of 211 PageID #:
                                                        3330

                                ;   :




                                                        Conditions of Release and Judicial Decision
                  county : Jl;FFERSON                                               Judge : CALVERT, GINA K
                  Defendant's Name : ASHBY, JAMES EARL                             Interpreter Language : NONE
                  Next Court Date :                                                ASL Needed : NO
                  court Type :                                                     Courtroom:
                 Jail ID# : 431177
                 Charge County: JEFFERSON                                          Holding County: JEFFERSON


                 Bail Credit

                        Ball Credit Amount: $0.00
                        Bail Credit: NI)                                           Reason lnefiglble: Judicial Discreti.on

                 Release 1>ecisl11n

                        Bond Amount $1,000.00 - CASH on 09/03/2015 06:00 PM

                        Judldal Discretion
                        DANGER
                 Conditiorni

                           •   NOT TO VJOlATE ANY LOCAL, STATE, OR FEOERAL lAWS
                           •   NOT TO POSSESS ANY WEAPONS
                           ,   MAKE ALL SCHEOULED COURT APPEARANCES
                 Case(s)
                        Booking Date: 09/03/15 03:25 PM
                         JEFFERSON
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                                                                                                        Citatioh #           Class Level        Counts
                                    0423650   TICS, lST DEGREE, 15T OFFENSI: (>= 2 GMS METHAMPHETAMIN 5N1193262               C       F           1
                                    0424830   TICS, !ST DEG, !ST Off(>=2GMS BUT<:lOO GMS HEROJN)      5Nll93262               C       F           1
                                    0420810   DRUG PARAPHERNAUA - BUY/POSSESS                         5N1193262               A       M           1




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           ---.,,,=-----~-
               Date                                                                                     Judge's/ Pretrial Officer's Signature
    l       /'
                 Created On 09/03/25 6:33 pm by     Georse~Powell

                                                                                                                             GB003171
    ofC/n/~
                             Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 136 of 211 PageID #:
                                                                  3331              L....J v  vrrCl''IUCf"'i.                                                                                                UV    L.l'OLI:,;


                                                                                                                              COMMONWEALTH :Of' KENTUCKY

                                               .
                                                                                                                         UNIFORM 'cit.ATION                                                                        KSP 206 (REV 2/1 /06)
                           AGENCY
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                                                                                                                                                                                       AITN:          HOME PHONE
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                                                                                                                                                                                                      EMERGENCY PHONE




                                                                                                                                                                                                      VICTIM'S RELATIONSHIP TO OFFENDER

                                                                                                                                                                                                      ETHNIC ORIGIN
                                                                                                                                                     RACE.




               U'i ·        VIOLATION DATE                 VIOLATION TIME                                EXACT LOCATION OF VIOLATION tl)RJl.ST                                                                                      , B.A. RESULTS

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                            VIOLATION
                               CODE·
                                           ASCF                   STATUTE/ORD.                                  CHARGES           #     PLEA
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                - · POST-ARREST COMPLAINT                                                                                                                                                                .


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          () . COMMERCIAL VEHICLE                                  .0 No                              [JYes                                          . CDL CLASS                DA               DB          DC




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                       NAME OF WITNESS __-----''-----'-'-'-----ADDRESS,_~-----------~---                                                                                                                                                                            zg;
l• f                                                                                                                                                            CITY/STATE·                                                                                         ~
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-~-;Jf                         E_(_~_o_z_,_:-'-1_<:_. _:;~                                                                    ·----2-+-'------~-'------3L.I_____~--'--·---·~4_.·-~ "'
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         Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 137 of 211 PageID #:
                                              3332




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          AOC- 31!5.1
          Rev.11-10
          Page 1of1
     (
          Commonwealth of Kentucky
          Court of Justice
          www.courts.ky.gov                                               From Custody

          COMMONWEALTH OF KENTUCKY                                                                                     PLAINTIFF

          v.
          ASHBY, JAMES EARL
                                                                                                                       DEFENDANT


          Alias: -------------------'Ill~
          JaiflD: 431177


               Sex      Race                        Height     Weight
               M         W                           5 9        165


          'J:~thJailer/Department of Corrections of              Jefferson      ·                    . .    .           .         , Kentucky:

         You. re hereby commanded to release from custody .the above•Diim.(;!d ,Pe.;:1fdant wh9 is charged w.ith:
           1       OR:0521960 Convicted Felon in Possession of a Firearm ( F)( D) Disp:09/14/2015 ·INPIQTMENT BY GR/IND JURY/ INFORMA'l'ION



Cc
    c
         Next Court Date:                                                                                       Courtroom


         Further Orders:




          09/14/2015 at 11:46:17 AM
         Date




                                                                                                                      1::nterea
                                 Clerk




         Distribution: Jail/Corrections                                                                    - - - - - - - - · D.C.



                                                                                                                              GB003173
            Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 138 of 211 PageID #:
                                                 3333


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            , AOC-390              .Doc. Code: OAP                                              Case No. 15-F-009543
              R~v. 1-05

             Commonwealth of Kentucky                                                           Court District
             Court of Justioe
             www.courts.ky.gov                                 ORDER FoR APPEARANCE             County Jefferson
             KRS 421.600-.690                                      OF   PRISONER




             COMMONWEALTH OF KENTUCKY
             VS

             _A_S_H_B_Y~,J_A_M_E_S_E_A_R_L_ _~--~--~----------------DEFENDANT

                                                                          County

     .   ~-gn the motion of the _ _ _ _ _ _ _ _ _ _ _c_om_m_o_nw_ea_l_th_ _ _ _ _ _ _ _ _ _ _, it appearing that

             ASHBY, JAMES EARL
                                                                  (Prisoner's Name)

                           Sex     Race                                                 Inmate Number              State
                            M        W                                                        431177

            is essential to the proper prosecution of this action and that he/she is presently an inmate; you are hereby
((
            ORDERED       to have him/her before this Court on or before the following:
    ()
                            Date                     ·Time                                Courtroom
                          09/14/2015                 9:00 am                                  hj304


            there to remain, subject to further orders of this Court.




                          09/10/2015 at 10:59:02 AM                           Isl electronically signed by HON. JENNIFER B. WILCOX
                                   Date                                                            Judge's Signature




                                                                                                      NTERED

                                                                             Date     -----r------------
                                                                             Clerk
                                                                                      ----f-----.--'---------
                                                                             By --~-+---~------- D.C.
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Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 139 of 211 PageID #:
                                     3334

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AOC-:39.0             Doc. Cede: OAP
Rev. 1·05
Commonwealth of KenlUcky                                                            Court . Di:.i_t_ric_1_______,1--
Court of Ju$fice
WWW.<'Outls.ky.gov                              ORDER FDR APPEARANCE                Courrty Jefferson
KRS 'i21.600-.690                                   OF   PRISONER




COMMONWEALTH OF KENTUCKY

vs
ASHBY, .JAMES EARL                                                                                        DEFENOMIT

                                                             County
                             ---------------------·
To the Warden/Jailer of Jefferson                                                                                        ..
                               •
On the motion of the ____________c_o_m_m_o_n_w_ea_l_lh_ __                                · - - - ·__ it aopeanng th;;t
ASHBY, JAMES EARL
     ----------------=------------------
                      (Prisoner's Name)

               Sex    Race
                M      W
is essential to the proper prosecution of this acOon and that he/she is presen':I}' an inn1ate; ¥OJ are hereby

ORDERED lo have him/her before this Court on or before the. following:

               Date                      Time                                Colirtroon
            . 0911012015            09:00AM                           (CRIMINAL COURT


there to remain, subject to further orders of this Court.




             09108/2015 at 11:26:18 AM                                      Isl el?ctro!2ically sign~_Y____
                      Date                                                         Judges Signaiure




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                                                               Date

                                                               Clerk
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                                                               By
                                                                                   ~   J'K )      D.C.

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                                                                                                          GB003175
               Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 140 of 211 PageID #:
                                                    3335

                     ·,    '
                 AOC-425.1         Doc. Code: OCOM
              , ,Rev. 11'10
                 Page 1of1
     (-, ·1     Commonwealth of Kentucky
                Court of Justice www.courts.ky.gov                 COMMITMENT 0
                KRS}439.179                                       JUDGMENT AN
                                                                           REL
                COMMONWEALTH OF KENTUCKY

                V.
                ASHBY, JAMES EARL
                                                                                                                      DEFENDANT

                Alias:    earl, ashby
                Jail ID: 431177

                  Sex                                            Weight      Operator License Number State       Bond Amount' Type
                  .M                                ....;;;;-...:....-16;;;,5__._...                                 2,500.00         CA
                                    art    nt of Corrections of .Jefferson                                                       _, Kentucky:
               You are hereby commanded lo receive the above-named Defendant who has been found guilty of the following:




((
 l_           Next dourt Date: 09/14/2015           09:00 AM      (CRIMINAL COURTROOM 304)
                                           JUDGMENTAND ORDER RELEASING.MISDEMEANANTS FROM JAIL
                 It Is the Judgment of this Court that the Defendant be sentenced to serve              See sentence details above       . On
               Motion of the Defendant and the Court being sufficiently advised, IT IS HEREBY ORDERED, pursuant lo KRS 439.179,
               that the Defendant is granted the privilege of leaving the jail during the hours of:             am/pm to              am/pm
               --~-------throug!J                                                           , for one or more of the following purposes:

               D          1. Working at his/her employment.                            D     2. Seeking employment.

               D          3. Attendance at an educatiqnal institution.                 D     4. Medical treatment.
                                    Bail Conds:NO USE/POSSESS FIREARM OR OTHER WEAPON; {DANGER A/C
               D          5. Other}                   ·
                 Every prisoner gainfully employed and released herein is hereby ordered lo pay a reasonable amount not to exceed
              forty dollars ($40.00) per day KRS 439.179 (4) for the cost of his/her board. If he/she defaults, the privilege hereby
              granted may be forfeited by the Court.               ·
                The Court further directs that the Jailer/Department of Corrections of.                                           perform the
              functions under KRS 439.179 (3) and (5).

                09/04/2015 at 9:44:29 AM
               Date                                                                    Signature of Judge                    Div _ _ __


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               Distribution: Transporting Officer
                             Jail/Corrections
                                                                                                                        , D.C.
                             Court File
                                                                                                                          GB003176
           Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 141 of 211 PageID #:
                                                3336




 (~ \ County : JEFFERSON                                                  Judge : CALVERT, GINA K
        Defendant's Name : ASHBY, JAMES EARL                              Intetpn;!ter Langua9e : NONE
        Next Coutt !!>ate :                                               A$1. Needed : NO
        court Type:                                                       Courtroolll :
        Jail ID# : 431177
        Charge County: JEFFERSON                                          Holding County: JEFFERSON


        Bail Crl!dit

               Ball credit Amount: $0.00
               Bqil Credit: NO                                            Reason Inefigible: Judicial Discretion

        Release Decision

               Bond Amount $2,500.00 - CASH on 09/03/2015 10:00 PM

              Judicial Discretion
              OANGER
       conditions

                 ,     NOT TO VIOLATE ANY LOCAL, STATE, OR FEDERAL LAWS
(r
lJ               •
                 ,
                       NOT TO POSSESS ANY WEAPONS
                       MAKE ALL SCHEDULED COURT APPEARANCES
       Case(s)
              Booking Date: 09/03/15 03:25 PM
              15-F-009541 JEFFERSON


                                                                                               Citation#           Class ·Level           Counts
                         0423650      CS, lST DEGREE, lST OFFENSE(>= 2 GMS METHAMPHETAMIN 5Nl193262
                                                                                                                   -·---
                                                                                                                     c .F                    1
                         0424830      CS, lST DEG, lST OFF(>=2GMS !lUT<100 GMS HEROIN)    5N1193262                  c          F            l
                         0420810    DRUG PARAPHERNAllA - BUY/POSSESS                      5N1193262                  A          M
                                                                                                                         - - - - - - --
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                                                                                               Citation#           Class Level            Counts
                         0521960    CONVICTED FELON IN                                                              D           F           1




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       Created On 09/tJ3/15 10:37 pm by Maria_Hagan
     S.l\fvlANTH/~ MUSS
                                                                                                                    GB003177
                     Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 142 of 211 PageID #:
                                                          3337
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                       REG.    STAT~                        REG. YEAR                         REGISTRATION NO.                                                                       VEHICLE IDENTIFIERS .                                                         MPH              IN MPH ZONE VOL                  ~EY

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                     VIOLATION DATE                   VIOLATION TIME .                        EXACT LOCATION OF VIOLATION I ARREST                                                                                                                             B.A. Rl;SULTS


                                                                                                                                                                \ ..f·\,_)
                                                                                                     MILES·                              DIRECTION                                                       CITY                                                  COUNTY OF VIOLATION                           SoCTOR
                     DATE OF ARRoST
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                                                       TIME .OF ARREST
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                -    VIOLATION ·1AsCF
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                                                          STATUTE/ORD.                             CHARGES                        #            PLEA          FINO-   ' FtNAL .   DISPN.
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     ...J ·: COL LICENSE                                    [J No                             DYes                                                              PLACARDED HAiARDous VEHICLE                                                          D No .                    OYes
     a
     ()             COMMERCIAL VEHICLE                      0 No .                            OYes                                                          '   COL CLASS                 DA                 DB                      De
                                                                                                                                                            '                        ..
                    NAME OF WITNESS _ _ _ _ _ _ _ _ _ _ _ _~---~- ADDRESS
                                                                  CITY/STATE
                                                                                                                                                                                                 .
                                                                                                                                                                     ADDRES_S




                                                                                                                                                                                                                                                                        GB003178
     Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 143 of 211 PageID #:
                                          3338




(
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                                                                          GB003179
Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 144 of 211 PageID #:
                                     3339




                                                                     GB003180
           Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 145 of 211 PageID #:
                                                3340
                                                                  Additional Information
           Classilioa!Dn: Ml/GP                                    Occupab>n: Ut'IEMPLOYED

r ·    Cell Assignment:                                              Employer. NONE

     I Se llll!nce Status:                                 Emergency Cont.ct: KELLEY JOHNSOt·J


                                                                      Arrest Information
        Commined By: LOUISVILLE METRO POLICE                                    Arresbig Ofi:er:BAILEY

     Arrest Date!Tmeo09/03i20l5 15:49                                           Booking Ollmer. EGGLESTON. MAGGIE

    Arre.sling J\!lem¥:LOUISVILLE METRO POLICE                                         Localion: 2425 W MAIN ST. L:JU, l\Y

            Arresr Nme:DETS EXECUTED NARCOTICS SEARCH WARRANT ON TIME DATE
                       AND LO::ATION WHICH AllOVESUBJECTWAS PRESENT. FURTHER
                       DETSRECOVERED &~G31ESQF METH AND HEROIN PACKAGED
                       AND READY FOR SALE ALONG WITH DRUG PARA AND.~
                       REMINGTON .200RIFLE

                        ,.,,.,.,,.AOOC"'""'"'"'""'"OETS EXECUTED NARCOTICS SEARCH \'/ARRANT AT
                        LD::ATION WHERE SUBJECT LIVES. UPDN SEARCH DETS REMOVED
                        A .270 LONG RIFLE . SUBJECT IS A CONVICTED FELDN DN CASE
                        01 CR002120. DET S ALSO REMOVED LA.RGE AM DU NT OF NARCOTICS

                                                                             Charges
   R:ef-efle:noe #           Statute        Cat•goiy              Chaige DtTm         Dispos~ionDtT m   Document         Coult     Bond Type
   Case Nbr                  Description                          Coult DtTm          Disposition       BondiSentenoe              Bond Amcunt
   05992                     50031           FELONY                                   09/1412015 13:45 Fresh Am>.st  304           CA.SH
   l5F009541                 TRAFF IN CONT SUB, 1ST               O!l/14/2015         IMDICTMENT       Bond:S2500.00               $   2,500.00
                             DEGREE, 1STOFF-(>OR=2                                    GRAND JURY
                             GMS METHA.MPHETAMINEl
((      )93                  151. 164(3)     FELOl-N                                 09."14/201513:45 Fresh Arre.st     304
~.·. "oF009541               TR.A.FF IN CONT SUB. 1ST            09i14i2015          lt·JOICTMENT
                             DEGREE, 1STOFF-!>OR=2                                   GRAND JURY
                             GMS HEROIN)         .
   05994                     00436           MISDEMEAt-IOR                           08114/2015 13:45 F"'sh A.m!.st     304
   15F009541                 DRUG PARAPHERNALIA-                 09!14/2015          INDICTMEtff
                             BllYiPOSSESS 21BA.500(2)                                GRAND JURY
   06072                     52196           FELONY                                  09/14/201513:45 Added Charge       304
   15F009543                 POSSESS lot-I OF FIREARM BY         J9i14i2015          INDICTMEtff
                             COtNICTED FELON                                         GRANDJlJRY




                                                                                                                             GB003181
                Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 146 of 211 PageID #:
                                                     3341
         08510               50031        FELO!N                                     10/0£/2015 16:56 Added Charge CR02             CASH
         15CR0023B<i        COMPLICITY TRAFF l!·l cm.rr sus.      10123/2015         COLJRT ORDER Bond: $2500.00                    s  2.500 00
                            1ST DEGREE. 1ST OFF - (>OR= 2
                            GMS METHA.MP HETAMl!~E)
(         i511
          pCR002386
                            161.164(3)    FELONY
                                                  m
                            COMPLICITY TRAFF cmrr SlJB.          1Di23i2015
                                                                                     1010lli201516:56 Added Charge
                                                                                     COURT ORDER
                                                                                                                         CR02

                            1ST DEGREE. 1ST OFF - (>OR= 2
                            GMS HEROlf~,
         OB512              52196         FELOt-IY                                   10/0612015 16: 57 Added Cha rga     CR02
         15CR002386         POSSESSION OF FIREARM BY             10/23/2015          COURT ORDER
                            COM\IJCTED FELON
       08513                00436         MISDEMEANOR                                1Oi06!2015 1£ :57 Added Charge      CR02
       15CR0023B6           COMPLICITY DRUG                      10/2312015          COURT ORDER
                            PARl\.PHERNALIA- BUY/POSSESS
                            218A.500(2)
                                                                                                               ActM! Bond T01at$O .DO .
                                                                                                                    Bonds T01at SS000.00

                                                                     Arrest Information
            Commined Ely: LOUISVILLE METRO POLICE                          Arrest"iJ Officer: WI LL JAMS

         Anest0aletr...,:09/101201515:00nmate S!!Jnature                       Boolo'-9 Ollicer:f.iatiijLESTON. MAGGIE
         Arres!Eg Agency:COU!ffi ATTORNEY OFFICE                                     loCBIDn: Lf110C LOUISVIL!.E k.'Y

                Arrest Nme:"'"'"'•AODED CHA~ignature                                          Dat.e

                          SUBJECT HELD ON WARRANT DF ARREST INDICTMENT WA'lAA'IT




(('                                                                       Charges
(     _.- ,,ierence t:"     Statute          Categoiy            Charge DtTm        DispoSitkinDtTm    Document          Court   ·Bond Type
    -·Case !\lbr            Description                          Coun DtTm          Dispostl:io n     Bond/Sentenoe               Bond Amount



                                                                                                              ActM! Bond T<11at$O .OD
                                                                                                                    BondsT01atSO.OO


James Ashby was booked into LMDC on 9-3-15 @ 1525hrs. During Classification pre-screening interview, inmate stated she
did not fear for his safety and he did not declare any medkal or mental health issues.

Housing Movement and Cell Transfers                                                                      James Ashby #431177
                                                                      Movement Logs
             Location             Activity          Start D!Tm           End D!Tm              Note                 Scheduled :Sy
    ~.   J3N-8                                    1010412015 23:14
         J3N-8                                  · 10104.1201516:48   1010412015 23:14                    . ADAMS, ASHLEY M
         H6'N-09                                  101041.2o1516:00   1010412015 16:48'
         H6W-09                                   10102.1201519:19   101021201521:37                     : ARRIAGA SAMANTHA
         PASSl'lE                                1010212015 19:19    1010212015 19:19
         PASSIVE                                 101021201519:17     101021201519:19                       ARRIAGA SAMANTHA




                                                                                                                           GB003182
              Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 147 of 211 PageID #:
                                                   3342


   Incident Reports

('--,   ~ncidents during this booking
                                                                                                                    Incident History




 Inmate Notes                                                                                                                     James Ashby# 431177


 -=--======-~- --~~==--1~~~~,~--==1~::.;:n~~::::::::Ys:~NuRsE sro':= =~- l::~::~~::~:::::, ::::::~1
 ----·- ·- ----- -     ----- ---·- INMATE------kiFRQMJ304s PER NURSE ~-1:--CoLEOFF-DETox MOVE ro GP--·~-~OS;201s 13A-0··;:11-~M:·a~-----l
 ---------·          -----·-------·-----~MOVEMENT ___ j
                                                 _________ ----·--------- _______________ J_ ______                                     j                            _t_______
                                                                          fumateN~---------·----·--·                 ---- ------ lo.ate of Not;--·lcreatflfsyuser
                                                                          From: Kilkerty, Meagari____________________________________ ___,_109/0S_l.201510:19 KILK"ELLY, Meagan··-

                                                                          SentTuesday, September08, 201510:19 AM
                                                                          To: Mitchell, Cindy C                                                    I
                                                                          Subject VI/A                                                             i
                                                                                                                                                  I
                                                                      l
                                                                      .J/l\rl JAMES ASHBY #431177 (CCC/3Nl) has requested to be reviewed
                                                                          for VV/A status.                                                        )
                                                I                     1
                                                                      i                                                                           I
                                                Ill                       Meagan KiH:ell:.'                                                       i
                                                                       Louisville Metre Department of Corrections                                 I
                                                I                     !Pa- Community Corrections center                                           r

                                                I                     316 East Chestnut street

                                                j                     l
                                                                      lcuisville, Kentucky40202
                                                                      Office: (5'02)574-8012 Fax: £502)574-6986
                                                                      1


                                                li
                                                                     IMEAGAN .KILKELLY@lOUIS\olLLEKY. GO/
                                                                      1 <mailto:~.i!EA.GA.N.KILKELLY@LOU1SVILLEY.Y.GO/>


                                   I            I                    !                                                                                                                         I
                                   /            I                     (Please consider the environment before printing this e-mail. P             /
                                                                                                                                                                      1                        /

                               ~ -~..---·--!·GE-N-ERA--LINMAT,-fDE_N_IED cCC\:"v~r-ka-id_e_stat~-,-,,-,-hi~·tim_e_:-In-m-ate Ashb-r.-Ja;;_e_s_Ea-rl-. - j-o9-t0-8~'20i5i~rJ7!CJ~r~dn_d_}' __
                                                                                                                                                                --~-1 _~ ___ _
                     -·-· --                                                                                                                                                               JI


____ .__ ___ __· -· _J__ . _l~o:~ ___                                t431177        h"301<ourrf~rTr~'~king ':·~~=:9-10-15~ 9•~--_ __              !




                                                                                                                                                           GB003183
                 Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 148 of 211 PageID #:
                                                      3343
 Inmate Name                                      Inmate#       Note Type      . ~nmate Notes
                                                            . ---------·-- - - - - - - -------------·----·-' -·-·-- - - - - - - -          --           .J Date~~!'~-~- ___ 1:.~ated By"'!~~- __
                                                              INMATE SERVICES From: Killcelly, t-t'leagan                 ,                               109/17/201513:11 IKILKELLY, Meagan
                                                              NOTES            sent: Thursday, September 17, 2015 1:11 PM
                                                                              1To: Mitchell, Cindy C
                                                                                                                                                          II                   .I
(
(
                                                            Ii                  /Subject W/A

                                                                                II/M JA.MES ASHBY #431177 (CCG/3-t'~l) has requested to be reviev,,ed     !
                                                            I                   for 'vV/A status.
                                                            I                   I                                                                         i
                                                                               I
                                                                               l Meagan Kilkelly
                                                                                  Louisville Metro Department cf Corrections
                                                                                / PCI - Community Corrections Center
                                                                               1316 East Chestnut Street
                                                                                Louisville, Kentucky40202
                                                                                Office: (502}574-8012 Fax: (502)574-6986
                                                                                t..1EAGAN.trJLKELLY@LCUISVILLEKY.ro~1

                                                                                <mailto:MEAGAN.KILKELLY@lOUISVIllEKY.GOV.:>

                                                                                                                                                         I
                                                                                                                                                                           II
                                                                                Please consider the environment before printing this e-mail. P
                                                                                                                                                         I                 I
··-----·-···-·--       ·---·-·····-----t-~- ~~:~ENT--. -ib~::; :~~,~~~~~~~:,~~~~J~~;;~~:~ ~HR~~':~G A jl10/02/20i5' 21:02·1,:::~:-·-----·-
                                 ----                                            ADDED- S/CMOVECLEAREDBYNURSESCHJNDLER                                                     .          '
                                                            INMATE -- -     --·- PER SGT GOFF THERE IS AN EXTREME EMERGENCY ON H6 SO             ~04/2015 1650 /ADAfvtS. ASHLEY M
                                               I            MOVEMENT            EVERYONE IN H609 NEEDS TO BE MOVED-OUT. PLACED OM ML TC J3-              I                 J



-_·----·-- ---_----_·_·-~~-.-~-------_-·----_j·-·-_-_-_..   INMATE   ------ll-ovE CANCELED PER SGT GoFF           ---      -- -     --~ - - - ---j10/0412oi523:14~ADAMS ASHLE~M
         _          ____          _                         MOVEMEMT ___       l _________________ --------- -------·---_L-~---------


(~           o Inmate Grievances filed



Inmate Discipline
1 write-up for fighting 10-2-15


Inmate Visitation

                                                                                    Inmate Visitor
Inmate Name: ASHBY, JAMES EARL                                    Inmate#: 00431177

;;1t;r;;;;;;------=====JYl;it;r Nu;;;-b~JvWt D~t;=~____lit~~-Ti~=Knd~'!!-;-T8oot_hTWe :=JBo"!h                                                                                      ----==]




                                                                                                                                                               GB003184
        n) ,-
                                Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 149 of 211 PageID #:
                                          LOUISVILLE METROPOLITAN oC~TMENT OF CORRECTIONS
        ,.       ~.                                                  3344                                                                                                                                ~\
         "''I,
                                                                                                                                                                                                              I

                                          400 S. Sixth Street
                                          Phone: 5025742167   Fax:

                                                                                                   Inmate Report
Inmate Number: 00431177                ltlmate Name: ASHBY, JAMES EARL

iName            ASHBY, JAMES EARL                                     DOB                                  3S    !Sex    IMALE IHeight I509 ·                                  Weight            l15S
                                                                                                                                                            Not of Hispanic
Hair             Brown                        Eye       Brown                             Race          White/Eurp/ N.Afr/Mid Eas.             IEthnicity                         SSN
--····-+                                                                                                                                                    Ori in
Resident I                               !County    I                                    !SID      I                       !FBI                                         Phone
Homeless          IN     jOut of State r!Jn away    IN I US Citizen         IV    !Illegal Alien       Il'J J Citizenship I United States of America                  E-Mail
Address

Additional Info

I IBirth Country             IUnited States of America I            State                                                City   I                                      County     I
I ,Marital Status             Single                       I        #Children       1                                    Military Veteran          IN                  Military Service       I
i 'Religion                   NON-RELIGIOUS                         #Sisters                                             Caution          IN                           Comments       I
                                                                                                                   I I?~eased             IN                         I IDate
                                                                                                                                          I
I Handedness                                                    f   # Brothers      I                                                                                                 I                             I   1·




I                                                                                                                    ~.D_1s_a_b_led
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IAliases I

    ASHBY
                 SSNs                     --


                                          •m-•
                                          JAMES
                                                                                 1.,
                                                                                 E
                                                                                    ... ...,.                    I"""'
                                                                                                                                    ·--


                                                                                                                                                   1~                 -=-
!Addresses

   '!Address From                      Address To                      Address Type                                                                                                       Non-US
   i09/03/2015 15:25                   09/03/2015 15:52                Permanent                                                                                                          N
L..':                                                                  Alternate                                                                                                          N



1c~~t;;~~-·----·-----------------------------------------------------"
. IContact Type                        Name                                                                               Address
I Isibling                             KELLEY JOHNSON

1~                                     DONNA HENDRICKS




 Printed By ANGELINI, NICHOLAS On 10/26/2015 12:58                                                                                                                                                                1of8
                                                                                                                                                                                          GB003185
                        Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 150 of 211 PageID #:
lnmat(};::=:: ier: 00431177 Inmate Name: ASHBY, JAMES EARL   ~
                                                             3345                                                                                                           ~
                                                                                                                                                                             \)
                     ~~~~~~~~~~~~~~~~~~~-'-
8 o o king 'L.-..ails



                                                                                                                                                                      -··         ;
                     Booking# 201523918
               Booking Type Standard
                     Facility 1- MAIN JAIL
                                               I                               JuvenilelN
                                                                         Booking DtTm I09/03/2015 15:25
                                                                                                                          !·      s~o:~;~:IN-
                              COMPLEX          I
                Arrival DtTm i                                            Medical Alert                                   [           ~OR Level[
           Commited Agency! LOUISVILLE METRO POLICE

I     i-             Search By                             i                 Search Type                                           Confinement                                    '
      i=---   Sentence Status                              I           Sentence Status Dt                                       Booking Officer EGGLESTON, MAGGIE                 i
                     SSA Status
                                                                   .
                                                                                SSA Date                                      Eligible For Parole N                               I
             DOC Compliance                                            DOC Compliance Dt                                               Cell Note                                  I
I                    Pride Date                                              Video Rights N
I
II                          Cell H6W-09                            f-·               Bed 001                      I
f    rrest Details

     ·-i-~=~ Number 92381
                                        .~~~~~~~~~~~~~~--~~~~.




I                                         ~                                Arrest DtTml09/03/2015 15:49               I           A;:;-est office~JP;:;;\;ic Ramani          I
I          Arresting Agency LOUISVILLE METRO           [                   Vehical Disp
I                          !POLICE                 -   I


IBooking ([1.;;;-oet;;;~-·--·
I r-                                                           ·-------,----------------·----------------j

                                                                                                                                       CA::~e:t-
                                                               I
              Ref:rence Nbr 05992                              I         Document Type Fresh Arrest
[
I i
                 Warrant # N11932E>
                     Docket#
                                                               I
                                                               r
                                                                              Citation#
                                                                             Docket# 2
                                                                                                                      I                                                               I
I              Court Case# 15F0095 41                          I                  Court 304
I              Judge Name
I                       Statute 42365                  I                     Description TRAFF IN CONT SUB, lST DEGREE, lST OFF - (> OR = 2 GMS METHAMPHETAMINE)
                     Category FELONY                   !           Charge Status DtTm                                            Disposition Dttm 09/14/2015 13:45

II     i
              Offence DtTm
                ArrMt DtTm
                                                               '                   Class CLASS C FELONY
                                                                           Charge DtTm
                                                                                                                               Charge Disposition INDICTMENT GRAND JURY
                                                                                                                                       Dispose By

II
       '   Arresting Agency    I               ~                           Charge Status




     Printed By ANGEUNL NICHOLAS On 10/26/2015 12:58                                                                                                                                  3 of 8
                                                                                                                                                                       GB003186
                                              Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 151 of 211 PageID #:
                                                                                   3346
                                                                                   r~                                                                                        ~\
lnmate("'y:::ier: 00431177                       Inmate Name: ASHBY. JAMES EARL                          .-,~,
                                                                                                                                                                                  !
               <;;.;,~


r:--- -
t Booking                Charge Details

lI
                                                                                                                                 ~   - - CAD::~~:\                                     I
      f              Reference Nbr 06072                                         Document Type\ Added Charge
i                           Warrant # Nl19332                                            Citation#
\                             Docket#                                                    Docket# 2                                              Mod1f1er _                            _J
                                                                                                                                 '----------~
I ,--                     Court Case# [ 15F009-543     - ___::___]                           Courtl304
I                         ,Judge   Name
I
I
                               Statute 52196                             i              Description POSSESSION OF FIREARM BY CONVICTED FELON
I
I     ~-----~ategory FELONY                                                   Charge Status DtTm                                        Disposition Dttm 09/14/2015 13:45
          Offence DtTm                                                   !                    Class CLASS D FELONY                     Charge Disposition INDICTMENT GRAND JURY
                                                                                 -
      ~                   Arrest DtTm                                                  Charge DtTm                                            Dispose By

      '---
              Arresting Agency L.---  _\'!_
                                                                                      Charge Status



[Booking Charge Details

                         Reference Nbr 08510                     I
                                                                     I
                                                                         r           Document Type Added Charge                               CAD Case#
                            Warrant # N257010                            i                Citation# 280613                                        OBTS#
                              Docket#                                    I               Docket# 2                                              Modifier\ COMPLICITY
                          Court Case I! 15CR002386                       i                   Court CR02
                          Judge Name
                               Statute 42365                             ii             Description COMPLICITY TRAFF IN CONT SUB, lST DEGREE, lST OFF - (> OR = 2 GM5
          '                                                                                         METHAMPHETAMINE)
                                                                         I Charge Status DtTm
          ~
                              Category FELONY                                                                                            Disposition Dttm 10/06/2015 16:56
                         Offence DtTm                                    I                    Class CLASS C FELONY                     Charge Disposition COURT ORDER
                           Arrest DtTm                                   l             Charge DtTm                                            Dispose By Wheeler, Anna_
          ~resting Ag_~~¥~-----                                 ~
                                                                         I            Charge Status




     Printed By ANGEUNL NIC_HOLAS On 10/26/2015 12:58                                                                                                                                  5 of 8
                                                                                                                                                                          GB003187
                    Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 152 of 211 PageID #:
                _,_,..
               t"    .~'·,
lnmatet,.r er: 00431177 Inmate Name: ASHBY, JAMES EARL · ~
                                                         3347                                                                                                          -~~



\ Booking Charge Details
                                                                                                                                                                 .

                    Reference Nbr 08513                                      Document Type Added Charge                              CAD Case#
                         Warrant # N257010                           !             Citation# 280613                                      OBTS#
                                                                     I

                             Docket#                                              Docket# 2                                            Modifier COMPLICITY
                      Court Case# 15CR002386                                           Court CR02
           ~-----    Jud!!_e Name
                           Statute 42081                                          Description COMPLICITY DRUG PARAPHERNALIA- BUY/POSSESS 218A.500(2)
                             Category MISDEMEANOR
                    Offence DtTm
                                                                 I   I
                                                                         Charge Status DtTm
                                                                                        Class CLASS A MISDEMEANOR
                                                                                                                               Disposition Dttm 10/06/2015 16:57
                                                                                                                              Charge Disposition COURT ORDER
                      Arrest DtTm                                               Charge DtTm                                           Dispose By Wheeler, Anna
      I -Ar'resting Agency             J                     __j                Charge Status


    Cell Transfer Details
I
                                                                                                                                 -
I      lcell Name                     Assign Date Time End Date Time          Reason                    ICell Transfer By            Comments
'I
 I
       '!PASSIVE                      09/03/2015 15:25    09/03/2015 20:32                                Grieser, Mark                                                       I
II     iJl-R-1                        109/03/2015 20:32   09/03/2015 20:44                                TRAYNOR, EVERLENE
       [n-R-3                          09/03/2015 20:44   09/04/2015 12:08                                TRAYNOR, EVERLENE
I
       1J3S-4B                        I09;04;2015 12:08 I09/06/2015 00:27                               I Harris, Pamela
       0

           3Nl                         09/06/2015 00:27 I10/02/2015 21:37 IMovelist                       ROBINSON, JACOB E
       L_l:l6W-09                      10/02/2015 21:37 I10/06/2015 17:17                                 HOUSE, STEPHEN


!Activity Details

       !Activity                             Location                    Note                                                  Start Date Time         End Date Time
                                                                                                             .
       icRT                                  SHERIFF COURT HOLD                                                                09/10/2015 07:48        09/10/2015 14:26
       !CRT                                  TRANS STAGE AREA                                                                  09/11/2015 06:28        09/11/2015 13:52

       ICRT
                                             SHERIFF COURT HOLD                                                               I0911412015 08:05         09/14/2015 14:20
        CRT                                  TRANS STAGE AREA                                                                  lQ/02/2015 04:S4        10/02/2015 14:15
                                 --
       li:i2sP                               Hosp-ER                                                                           10/04/2015 17:51         10/06/2015 17:17




     Printed By ANGELINt NICHOLAS On 10/26/2015 12:58                                                                                                                        7 of 8
                                                                                                                                                                 GB003188
                 Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 153 of 211 PageID #:
                                                          3348
                                        Louisville Metro Department Of Corrections
                                                             Community Corrections Center
                                                                  Shift Commanders Report                                Shift:       --~--
                                                                                                                                            2"'
                                                                                                                         Date:            10/2/15
                                                                                                                          Day:    ---~-
                                                                                                                                          Friday
                                                  Staff on Duty              Staff off Duty
      Captain           A. Walker                                         Lt. A. Fui:iate                                    R
      Lieutenant        N/A                                               Sgt. D. Gentrv                                     R
      Lieutenant        N/A                                                Ofc. Joshua Storv                                 R
      Sergeant         N/A                                                Ofc. W. Moore                                   R       .



     Sergeant          R. Covinaton                                       Ofc. M. Graves                                  R
      1 South          Ofc. Jn. Storv                                     Ofc. E. O'Bannon                                R
     2 North           Ofc. J. Mvers                                      Ofc. B. Smith                                   R
                                                                  .

     2 South           Ofc. J. Woolen                                     Ofc. A. Sabet                                   R
     3 North           Ofc. J. Badgely                                    Ofc. J. Knooo                                FMLA
     3 South           Closed
    4 North            Ofc. N. Hammons
    4South             Ofc. M. Huahes
    Control            Ofc. G. Coooer
    Ctr. Relief        N/A
    Rear Desk          N/A
    Front Desk         Ofc. J. Gibson
                       'Ofc. P. Janke
( / '. ~archer
{       ,rcher         N/A
    Intake             A. Combs                                                                        Searches:     54
                                                                                                                   --~--

    Rec/Dis            N/A                                                                                 P.B.T.:   20
                                                                                                                   --~--

   Hospital            N/A                                                                    Perimeter Checks:          4
   808                 Ofc. B. Kennev                                                          Security Checks:          1
   854                 N/A                                                                     Incident Reports:         1
   Trans               Ofc. T. Warden
   Sanitation          N/A                                                                     Job Checks
   Dental              N/A                                               None
   Nurse         Lucas/Ostertaa                                                     Relieving Shift Sick/Late
   Hospitals/Clinics   Room#                      Officer                Ofc. McCoomer-1'1-S
   None


   COUNTS: Beginning- IN- 300, OUT-72, Total =372                     Ending- IN-345, OUT-18, Total= 363
                                                    Overtime Summary Explanation
   Overtime Used:      Rank:          How Many:      Why:
   None



   ~.....-   -•oment   Be~unn1ng              E nd"IOQ
    "
     "
'··Uaniera                     1500                  2300
   Laptop                      1500                  2300
  Thermo                       1500                  2300                                         Prepared by Sgt. R. Covington       .

                                                                                                                          GB003189
                Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 154 of 211 PageID #:
                                                     3349


     Community Corrections Center
    ('
    (' ,JO hrs. -2300 hrs. (October 2, 2015)
    On Duty Command: Sgt. Covington

    At 1850 hrs. Ofc. Joshua Badgely called for medical and I, Sgt. Ramonda Covington to come to 3Nl. When I
    arrived Ofc. Badgely informed me that he observed Inmate Ashby, James cin #431177 choking Inmate Hiser, Sean
    cin #528313. Ofc. Badgely went in the dorm, pulled Inmate Ashby off Inmate Hiser, handcuffed him and escorted
    him to the attorney booth. He then went to the dorm where Inmate Hiser complied with instructions to put his
    hands behind his back so he could be handcuffed and escorted to the attorney booth. Both i.nmates stated that
    Inmate Ashby told Inmate Hiser to stop sitting on the cooler while he was on the phone. Inmate Ashby states that
    Inmate Hiser then hit him so he choked him. Inmate Hiser states that inmate Ashby immediately started choking
    him. Other inmates in the dorm stated that they both took it to the back of the dorm and began to fight. Nurse
    Ostertag assessed both inmates. Inmate Hiser has redness to his neck and Inmate Ashby had no visible injuries
    even though he reported getting hit in the mouth. Both inmates were written up. Samantha Arriaga in
    classification was notified and housed Inmate Ashby in HOJ 6D9#1 and Inmate Hiser in HOJ 5D9#5. Pictures
    were taken and forwarded to the appropriate parties. EI#66290

    Sanitation Detail: IS-Mopped and swept floors, wiped down walls other side of I south, cleaned visiting booths

    48-Floors swept and mopped, mop closet organized, windows cleaned and jugs refilled

fi/      .,J   Searches:

    Smith Jr., Rickey, 2N2, 509036

    Chisholm, Charles, 2N2, 395113

    Hinkle, Timothy, 2N2, 487794                                                                                       ·-
    Whaley, Willie, 2N2, 441620

    Salter, Quinton, 2S4, 449665

    Fluhr, Justin, 2Nl, 536427

    Cape, Robert, 2Nl, 387802

    Sellers, Donna, ISi, 577717

    Alonzo, Joseph, 2Nl, 561663

    Henderson, Joseph, 2Nl, 465447

    Curtis, Elmer, 2N2, 552203
(
c\
                                                                                                   GB003190
                      Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 155 of 211 PageID #:
                Floor Security                              3350
                                                 Booking Floor
                                                                                                                           Shift                  2nd
                Unit 2 (SGT-1221)                              Unit 1 (SGT-1121)                                          Date: _ _O=ct:;:o.=b;::;•rc.4::.•.=2::.01"5'---
                                                                       (SGT-1121A)                                        0ay: _ _ __:S:..:uccn=d-=ay,___ __
 SERGEANT Dearinger                                SERGEANT           Schmitt
       ,,--.

 ~f
                     Pennington                    SERGEANT                                                            Captain _ _ _ _ _ _ _ __
            _·3      Henderson                     Grill              Popp                                        Lieutenant _ _ _ _C::.·:..:R.::o:.<y_ _ __
 Oo'ri •• :;; 4-7    Cy. Smith                     Grill              Wilburn                                     Lieutenant--------'--
 PSYCH               Phenix                      , Grill              Johnson                                     Lieutenant _ _ _ _ _ _ _ __
 PSYCH               Davidson                     Passive             Stephens
 Medical             K. Horn                      Livescan                                                              Staff Off Duty I Reason
 Dental                                           Livescan            Traynor                                   Sgt. Cline - VAC
                                                  Trans (751)         Simmons                                   Sgt. Brookbank - VAC
               Unit 3 (SGT-1321)                  Trans (752)         Ferguson                                  Ofc. D. Miller - MIL
                                                  Rear Security       Harper                                    Ofc. Briles - SCK
 SERGEANT Wilson                                  JS Court Holds                                                Ofc.   T. Doolin - SCK
 Control             Lynch                        Releases
 North               Scruggs
North                Leyva                        B.A. / M o v e m e n t - - - - - - - - -
South                Ochoa                        8.A. Lab      -"A'"rn"o"'ld,__ _ _ _ __
South                Cooper
North/South                                       Main Control       cTc.h:;:o"m:::•::.•- - - - - -
                                                  Main Control        H.olman                                           Sick Calls for next shift
                                                  Outer Control      D. Skaggs                                  R. Anthony
               Unit 4 (SGT--r421)                                                                               Boykin
SERGEANT Hornback                                 Front Desk         McNeese                                    Sgt. P. Miller
Control             Stimphil                      Magnometer                                                    Wiggins
North               Sharpe                                                                                      M. Moore
North               W. Jones                      Sanitation (784)
South               Ennis Ill                     Laundry(1134)      _,Vo:in;;,c:::en"'t-'-------
South               "A:c._,J,,o~ne"s'--------     Kitchen/Laundry - - - - - - - - -                                                Overtime
North!South                                       Kitchen            ~L=a"-ird=---------                               FOT: Weatherington, Kirk, Horn
                                                  Kitchen            ~Ce;a:::m_,,e;:,s_ _ _ _ _ __

  ((                                             Kitchen
 t. ·          Unit 5 (SGT-1521)
                                                 Property Lt (732) - - - - - - - - -
SERGEANT Goff                                    Prop Sgt (1119) - - - - - - - - -
Control             Weatherington - FOT          Property (1118)      Buchannan
West M-4            Olson                        Property                        Clark
West5-8             Ramey                        Property                       Warden
East                Barth                        Prop6rty                                                                 Hospital Runs/Other
East                Marbrey                      Property                                                      Inmate            Room/Bed               Officer
WesVEast                                                                                                       B. Mulford          JH #783                Crowe
                                                  Gym Ofc (1330) _ _ _ _ _ _ __                                G. McCarty          SHE 2229                House
               Unit 6 (SGT,1621)                  Gym Ofc (1530) _ _ _ _ _ _ __                                J. Ashby             ER#6               Davidson


SERGEANT Goff
Control             Obannon
WestM-4             Stigall                                                                                                      Clinic Runs
West 5-8.           Simpson                     Special Details - - - - - - - - -                              Inmate            Location              Officer
East                Kirk - FOT
East                J. Hom- FOT
Nest/East


               Unit 7 (SGT-1721)
                                                                                             Shift Activity:
SERGEANT _ _.;__,,c,,1o:::••:::d,__ __
~ontrol                         Closed
Jorms                          Closed
Naik 1                         Closed
~~- (                          Closed
~:_::~(--                      Closed
                                                                          Prepared by:                Lt. Chris Roy #209
)1-1.08-3 9/15



                                                                                                                                                         GB003191
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                                                                                                           Daily Incidents
                                                                                                                        10/4/2015

 Commanders on Duty:
 Lt. C. Roy

 Body Camera assignments:·
 J1 - Stephens
 J2 - Henderson
 J2W - Horn
 J3 - Leyva
 J4S - A. Jones
 J4N - W. Jones
 HS - Olson
 H6 - Stigall

 Perimeter Checks :
 Sgt. Schmitt - 1640hrs
 Sgt. Dearinger - 1930hrs
 Sgt. Wilson - 1810hrs
 Sgt. Hornback - 2200hrs
 Sgt. Goff - 1948hrs

 Additional Checks:
 Sgt.   Schmitt - Dock - 1630hrs / Lobby - 1650hrs
 Sgt.   Dearinger- Dock - 1927hrs /Lobby -1924hrs
 Sgt.   Wilson - Dock - 1813hrs /Lobby - 1815hrs
 Sgt.   Hornback- Dock - 2141hrs /Lobby - 2146hrs
 Sgt.   Goff- Dock -1943hrs /Lobby - 1941hrs

 Move list:
 J1 - 1640hrs
 J2 - none
 J3 - 2130hrs
 J4 - 1832hrs
 HS - 2200hrs
 H6 - Locked down due to incident

  Hospitals I Clinics:
 Brandon Muldford - Jewish Hospital - 783
 Gerald McCarty - Baptist hospital east - 2229
 James Ashby - ER #6

  Incidents:
  66317-Suicide Attempt- 1620hrs; a call came out overthe radio to 1059 H6. When Sgt. Goff arrived on H6 dorm 9 Officers J. Horn
  and C. Marbrey was giving CPR to inmate Ashby, James cin # 431177. Nurse Brown was in dorm 9 assisting with inmate Ashby, James.
  Main control was contacted to notify EMS at approximately 1623. Lt. Roy arrives on scene at approximately 1624along with Nurse
  Bohr, Summerfield, Nichols, Crawford, and Lachamelle. Ems notified by main control 1625, Fire arrives on floor at 1629, ems arrives
  at 1632, ems arrives on the floor at 1634,ems departs the floor at 1644, Lt. Eggers notified at 1644, ems departs facility at 1706.
  Sgt. Goff spoke with Officer Stigall and was informed that while he was serving chow he saw inmate Ashby, James cin # 431177 was
  hanging from the bars with a sheet tied to his neck. Officer Stigall tried to use the knife for life to cut him down but was u.nable to get
  it done so he tried to untie him from the bars and was able to get him down that way. Pictures were taken and shift command was
  notified of the incident. A copy of this incident report will be sent to shift command, upper command, PSU, and to critical care unit.

  66318- Suicide Prevention -1612hrs; Sgt. B. Wilson was conducting a Walk and Talk on J3 in dorm 6B. l/M Newton, John (437438)
  came up to Sgt. Wilson and asked if he could talk to a mental health nurse. Sgt. Wilson had a short conversation about what the l/M
  was thinking about and if he felt like hurting himself. l/M Newton wasn't sure what his feelings were and that he just wanted
  someone to talk to. Sgt. Wilson notified Mental Health Nurse Nichols about the l/M and the history of the l/M. The l/M has a history 1
  of self-abusive behavior and making threats of suicide. Sgt. Wilson had to leave the floor to respond to a medical emergency incident \.__./
  that was happening on H6. While Sgt. Wilson ·was off of the floor Mental Health Nurse Ellis come to the floor and spoke with the l/M.
  The l/M stated that he didn't want to commit suicide but was having feelings of hurting himself and that he should not be around
  sharp objects. Nurse Ellis had the l/M placed on the move list to go to J2 Obs. 1 on suicide observation. Sgt. Wilson arrived back to the
  floor at approximately 1700 hours and the l/M was sitting in west hold with observation sheets hanging on the  GB003192
                                                                                                                    door. Sgt. Wilson
  ,.. ___ ...._,.....J .. L.. ... 1/r.11 .. _ .. 1-. ... ,_...J +1--- --.J _1_,_ ... ...1 .. i.. ... 1/r.11 ;_ .. _ ...... _ .. t..-1.J •• _ .. a ... _..:-:.J.;..   -~   ...... 1, --·.1...1L.. ... 1.............. ...1   c~+   Ht:l--- -1 ......... ...1 -   11
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           work-aid to watch the l/M in west hold. Sgt. Wilson obtained a suicide 3352  smock and escorted the l/M to Obs. 1 and dressed the l/M out
           into a suicide smock. Sgt. Wilson secured the property of the l/M and took it to the property room to be placed on the I/M's property.
           Sgt. Wilson notified Lt. Roy of this incident. Reports were forwarded to 2nd Shift Command, Senior Staff, PSU, CCT, and all Sergeants.

      _     663l9 - Assault- 1752hrs; a fight was called outside of HG dorm 2. When Sgt. Goff arrived Officer Barth and Officer Woods and Sgt.


 r'
            McNeese were struggling with inmate Bradshaw, Jejuan cin# 447419. Sgt. Goff spoke with Officer Barth about what had happened
          , and he stated that while serving chow inmate Bradshaw refused to show his armband to Officer Barth so Officer Barth had inmate
            Bradshaw step out of dorm 3. Inmate Bradshaw was verbally aggressive so Officer Barth went to place him in wrist restraints and
            inmate Bradshaw went and pulled away so Officer Barth took inmate Bradshaw to the ground. Inmate Bradshaw continued to resist
            Officers so Officer Barth struck inmate Bradshaw to the body with no affect so he sprayed inmate Bradshaw with a short burst of 0.C..
            Inmate Bradshaw was escorted to we.St hold and medical was notified. Nurse Junk came up and assessed inmate for injuries. Pictures
            were taken and shift command was notified of the incident. Inmate was written up for assaulting staff and placed on the move list to
            go to J2 walk 2 cell# 3.

           66322 - Pre-Existing Injury- 2037hrs; Sgt. E. Schmitt was informed that inmate Spencer, Christopher Cin#605084 was coming in with
           a preexisting injury. He had cuts and scrapes above his right eye. When Sgt. Schmitt asked him where the injury came from inmate
           Spencer stated that he got jumped 3 days ago at Shorty's. He was arrested by LMPD Ole. Williams #7231 for a bench warrant. He was
           brought in and will be screened by medical during the booking process. Pictures were taken and will be sent to senior command, PSU
           and second shift command. Lt. Roy was advised. EOR

          66323-Suicide prevention- 2045hrs; Ole. J. Ochoa was putting the visitation inmates back into their dorms. When Ole. Ochoa got to
          dorm SB l/M Johnson, Greg (484333) walked out of the dorm and told Ole. Ochoa that he was having thoughts of hurting himself. The
          l/M was placed in Central Hold and Mental Health was notified. Sgt. Wilson was notified at 2047 and Nurse Crawford responded to
          central hold at 2050.1/M Johnson made statements to the nurse that he was feeling like hurting himself. Nurse Crawford informed
          Sgt. Wilson that the l/M needed to be moved to J2 Obs. 1 on Level !'suicide observation. Ole. Ochoa immediately escorted the l/M
          back to his dorm so that he could back up his own belongings and Sgt. Wilson escorted the l/M to J2. Sgt. Wilson escorted the 1/M to
          Obs. 1 and dressed the l/M out into a suicide smock. The inmates' property was secured by Sgt. Wilson and taken to the property
          room at 2110 hours. Lt. Roy was notified of the incident and all reports were forwarded to 2nd Shift Command, Senior Staff, PSU, CCT,
          and all Sergeants.

          66324 -Suicide prevention - 2030hrs; Sgt. C. Hornback#333 was notified by Officer R. Ramey that Inmate Hiser, Sean cin#528313
          ~oused in HSD9#5 had made statements to Mental° Health Professional M. Krank that he wanted to commit suicide and was being
          ,..ii aced on the move list to J20BS-1 and placed on level one observation. Inmate Hiser was then secured in wrist restraints and
          escorted from HSD9 to J2 OBS-1 and secured without further incident. He was issued a level one suicide smock and all personal
          property was escorted to and secured in the J1 LMDC property room by Officer C. Olson. All necessary observation paperwork was
          posted on his cell door and a one on one watcher was assigned to his cell. Shift Command was notified.

          66325 -Suicide threat- 2130hrs; Sgt. E. Schmitt was informed by Nurse Denning that inmate Spencer, Christopher cin#605084 was
          going on level 1 suicide observation. He made several statements that he wanted to kill himself to nurse Denning. He was moved up
          to J2W obsl and dressed out in a suicide smock by Ole. Simmons. His property was taken to the LMDC property room by Ole.
          Simmons for storage. Senior command, CCT and second shift command will be notified. Lt. Roy was also advised. EOR

          66326 - Complaint- Inmate - 2140hrs; Sgt. E. Schmitt was called dot rear security while back there he was informed by inmate
          Moeller, Guillermo cin#605048 who \Vas in single cell#3 that he was punched in the face by inmate Lay, Christopher Cin#580025. Ole.
          Harper informed me that inmate Moeller asked to leave the dorm because he didn't feel safe approx. 3 hours before his complaint. I
          talked some more with inmate Moeller and his story seemed to change and jump around and he couldn't give me a straight answer
          about the incident. I then talked to inmate Lay and he stated that inmate Moeller was walking around the dorm bragging about his
          sexual assault charges and the dorm made him check out and he doesn't know why inmate Moeller singled him out. Inmate Moeller
          had no signs of an assault and in my opinion he was making the story up. The inmates will be made keep forms pictures were taken
      1   and inmate Moeller was seen by Nurse Denning and had no injury 1s to report. Senior staff, PSU and second shift command will be
          notified. Lt. Roy was advised. EOR

       66327-Suicide prevention - 2000hrs; Sgt T Dearinger was notified that l/M Spriggs, Ashley (592861) had been temporarily placed in
       J2 Central hold until a single cell could be made available as the inmate was being placed on Level 1 Suicide Observation. l/M Spriggs
       had stated to Officers during detox rounds that she wanted to harm herself and had attempted the suicide in the past. MH Nurse
       Nichols responded to speak to the inmate about her comments.
       The inmate was placed in J2 Central hold until mental health could clear a single cell to move her too. A lxl inmate watcher was also
 1
       ·eated outside of Central Hold to keep watch on l/M Spriggs. At approximately2100 l/M Spriggs stated to Officers and the Sergeant
 \ (    _.at she had eaten paint off of the walls of central hold. After inspection, there were no areas on the walls that could be found were
(::.;- paint was chipped or missing. l/M Spriggs then stated that she had thought about sticking her finger in the outlet adjacent to the
          elevator.
          l/M Spriggs was immediately moved into J2 Dorm 7 and placed into Cell 8. The inmate that was currently housed in Cell 8 had been
          relayed to Officers by mental health as the inmate that would be returning to GP. l/M Spriggs was placed in an suicide smock and her
                                                                                                                                 GB003193
          property confiscated. Her clothing was taken to the property room by Officer Smith. The inmate that was removed from Cell 8 was
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                                         Date       10/4/2015   Shift   2

   Officers
   Total number of officers on forced overtime                                   3

   Total number of officers on volunteer overtime                                0

   Total number of officers on scheduled overtime                                0

   Grand total of Officers on overtime                                           3

   List reason for use of overtime
   2 - Hospitals
   3 - Sick calls

   1 - military




   Sergeants
   Total number of sergeants on forced overtime                                  0
                                                                                       (
   Total number of sergeants on volunteer overtime                               0

   Total number of sergeants on scheduled overtime                               0

   Grand total of Sergeants on overtime                                          0

   List reason for Sergeant overtime and note if an Officer post was worked




   Grand total of staff on overtime                                              3

                        Prepared by:




                                                                            GB003194
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                                                    3354


      Angelini, Nicholas

 r-··om:                                        Bolton, Mark
 ('    1ent:                                    Thursday, October 22, 2015 3:11 PM
      To:                                       Eggers, Arthur
      Subject:                                  RE: James Ashby



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      Mark E. Bolton, Director
      Louisville Metro Department of Corrections
      Mark.bolton@louisvilleky.gov
      502-574-2181


      From: Eggers, Arthur
      Sent: Thursday, October 22, 2015 2:27 PM
      To: Bolton, Mark
      Cc: Clark, Dwayne A.; Durham, Steve P; Eubanks, Jennifer L.
      Subject: James Ashby

      FYI,

   I received a call from PIU today that ex-inmate James Ashby passed away at the hospital last
 (( ·~ht. Apparently they pulled the plug around ?pm and he passed a few hours later.
(~.'
      October 4, 2015 Inmate Ashby was found hanging in his cell on 609 cell #1. He was released
      from our custody on 10/6/2015.

      Thanks,

      £ieute'llllnt .Jt.rtli.ur c. P.99ers
      Louisvi{f£ :Metro <Department ef Corrections
      Commancfer ef<Professiona{Stanrfarrfs Vnit
      Jntefilgence Vnit
      400 s. 6tn Street
      Louisvi{{e, 1('Y40202
      <Tek: (502) 574-2021
      'Fa.JG (502) 574-2239

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   "message and the information contained therein by error, please contact the sender and delete the material from your/any storage medium.

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                                                                                                                                              GB003195
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                                                    3355

      Angelini, Nicholas


  (~ "~~:                                            June, Jordan
                                                     Tuesday, October 27, 2015 9:12 AM
      fo:                                            Angelini, Nicholas; Green, S.amuel
      Cc:                                            Lewis, Brenda
      Subject:                                       RE: Can you please check



      The only dc;:e that was found was September 28"'.


      From: June, Jordan
      Sent: Tuesday, October 27, 2015 7:37 AM
      To: Angelini, Nicholas; Green, Samuel
      Cc: Lewis, Brenda
      Subject: RE: Can you please check

      Sorry.add Se;· 11 also


      From: June, Jordan
      Sent: Tuesday, October 27, 2015 7:36 AM
      To: Angelini, Nicholas; Green, Samuel
      Cc: Lewis, Brenda
      Subject: RE: Can you please check

              s
      " -::i t es ep 7, . ..:. ~1-, 16  y an d 28
                                    _ , -~,    . .
 ((
((~ FrolTI: June, Jordan
      Sent: Tuesday, October 27, 2015 7:24 AM
      To: Angelini, Nicholas; Green, Samuel
      Cc: Lewis, Brenda
      Subject: RE: Can you please check

      Ms. Lewis, I viii check the.gym office for copies, but since Matthews left we have just been putting the list in our shift
      log/paper wNk. I will give you better dates than the ones listed below.


      From: Angelini, Nicholas
      Sent: Monday, October 26, 2015 1:16 PM
      To: June, J.ordan; Green, Samuel
      Subject: Can you please check
      Importance: High

      Sirs,
      Could either of you please check to see if Inmate James Ashby attended any gym while in custody at CCC on the below
      time frame? If so, I need a copy of the gym log for the dates he attended. Please advise either way due to this being for
      a death report that I must finish this week. Thanks,

      9/6/15 -10/2/15 - 3Nl


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C::.t.risis Intervention Team Commander
     PREA Coordinator
                                                                             1

                                                                                                                 GB003196
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Louisville Metro Department of Corrections
400 South 61h Street
Louisville, KY 40202
Office - 502-574-8757
Dept. Cell - 502-797-3502
Cell -502-442-3121




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                                                       LMDC/CCC Recreation Roster
                                                                                                                Date   q/tl!JI~· .
                                                                                                   . Housing unit:$!\) k""W;f-
                                                                                           Recre11tiiln time period l:Jtr> -1110
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                      Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 167 of 211 PageID #:
                                                           3362
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                   I '?llI>                                                                      _/I                      f_~h "'/) 7_
·----------->-_ _L__!__/-'.<lOL.1-_lL.lc!..L_-'.C-4-L~a_____u:"'-J-t~.s"'tl"---->l-.l-~'----LJ_:,,SM"'-'-"'IO'-¥-----------H''"~V-'----
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          Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 168 of 211 PageID #:
                                               3363
           Name ASHBY, JAMES EARL                                                Booking# 201523918        Facility
        Inmate# 00431177            Sex MALE
           Race White/Eurp/ N.Afr/Mid Eas
                                                       D0£1•••P•
                                                           Age 36
                                                                             Book DI/Tm 09/03/2015 15:25
                                                                          Release DI/Tm 10/06/201517:17
                                                                                                           Building
                                                                                                             Dorm

<(      Status                              Released                        Classification Ml/GP              Cell

                                                                     Property Items
                            Item Type                  Description
                            CELL PHONE                 CRACKED
                            BELT
                            WALLET
                            ID                         KY
                            PANTS
                            SHIRT
                            DORM PROP                  *
                            HYGIENE                    0



                                                                    Property Movements
              Original Location/Bin New Location/Bin           DateTime of the Move      Moved By
              J-BAG/J-BAG-0065      J-BIN/0777                 09/04/2015 16:58         'Hinton, Kevin
              J-BIN/0777            C-BIN/C-BIN 077            09/06/2015 00:21         BUMPHUS,
                                                                                        JAMES

              C-BIN/C-BIN 077       C-SHELF/550235             10/02/2015 20:17         COMBS,
                                                                                        STANLEY

              C-SHELF/550235        J-BIN/0198                 10/02/2015 20:47          Hinton, Kevin

\~_           J-BIN/0198            "J-SHELF/J-S
                                     550405
                                                               10/04/2015 18:38         WARDEN,
                                                                                        CASSANDRA




      23634 ANGELINI                                           10/26/201513:46
                                                                                                                      GB003204
                                                                                                                            Page:   1_
             .,-'
             .
                              Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 169 of 211 PageID #:
            C /~



             '·
                  (                                                3364
                                         LOUISVILLE METROPOUTAN D~(MENT OF CORRECTIONS
                                                                                                                                                       -\,
                                             400 S. Sixth Street
                                             Phone: 5025742167                Fax:

                                                                        Inmate Account Transactions



                                                                                                                                             ....
    Date From : 09/03/2015          Date To: 10/07/2015

    Inmate#: 00431177                      Inmate Name:      ASHBY, JAMES EARL                                                      Race:     White/Eurp/ N.Afr/Mid Eas

    Booking # :       201523918                                                  Se>e    MALE                                       DOB:

    Account balance:        $0.00                                  Payable balance:      $368.04                              Hold Funds :    $0:00

!JransType                Amount Check No       Receipt No      Description                              Balance    AIR Balance Trans DtTm         EmplD
    BKFee             I    $35.00                               BOOKING FEE                                $0.00        $374.04 09/03/2015 15:52   25718
    Comm                    $0.00                               Received from Canteen Interface, Trans     $0.00        $374.04 09/10/2015 11:10   AD Ml
I
'                 .
                      I                                         ID:978325
]Comm                       $0.00                               Received from Canteen Interface, Trans     $0.00        $374.04 09/24/2015 15:40   ADMl
i                                                               10:981462
Jwap                        $2.00                               SANITATION                                 $0.00        $372.04 09/25/2015 23:21   24020
    wap                     $2.00                               WORK AIDE                                  $0.00/       $370.04 09/27/2015 15:43   25799
jwap                  I     $2.00                               WORK AIDE                                  $0.00        $368.04 09/30/2015 22:49   25799
                                                                                                                                                            Total:        6




    Printed By 23634 ANGELINI On 10/26/2015 13:47                                                                                                                    1 of 1
                                                                                                                                                   GB003205
               Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 170 of 211 PageID #:
                                                    3365

                         LOUISVILLE METROPOLITAN DEPARTMENT OF CORRECTIONS
       Jail ORI: KY0568000

(~?ERSONAL INFORMATION
            ASHBY, JAMES EARL

       Alias:          ASHBY, JAMES E                                                           Height: 5'09"

       Race:           w                                    Sex:       M                       Weight:      155

       Address:




                                                                      -                                     -
       Hair:                                                Eyes:                                   Comp:
                       BRO                                             BRO

       Glasses:        NONE                                                                          DL#:
                                                            SSN:

       Phone No:                                    Inmate Nbr:       00431177                                           (Age: Arrest-35 Now-36)

       FBI:                                         SID:             A0052853
                                                                                  US Marshall                                           Religion: NON-RELIGIOUS
       Citizenship: United States of America
                                                                                  Number:
       Education                                                                      Body Build:                                       Ethnicity: Not of Hispanic Origin
                       8THGRADE
       Level:

       POB:            United States of America                                      Birth State:                                    Birth City:

       Marital Status:     Single                                 Militry Veteran:

       DISTINGUISHING CHARACTERISTICS
      !Type                         jLocation                                                jDescription

       Total Number of Rows:                    0
r
\
       ARREST INFORMATION
        Booking#:                               Arresting Agency:                         Arresting Officer:                Case#:
        201523918                               LOUISVILLE METRO POLICE                   BAILEY                            15F009541

        Booking Officer:                        Inmate Account Balance:                   Booking Date/Time:                Release Date/Time:        Housed:
        EGGLESTON, MAGGIE                       $ 0.00                                    09/03/2015 15:25                                            H6W-09/001
                           DETS EXECUTED NARCOTICS SEARCH WARRANT ON TIME DATE AND LOCATION WHICH ABOVE SUBJECT WAS PRESENT. FURTHER DETS
        Arrest Note:       RECOVERED BAGGIES OF METH AND HEROIN PACKAGED AND READY FOR SALE ALONG WJTH DRUG PARA AND A REMINGTON .290 RIFLE

                           ****ADDC********DETS EXECUTED NARCOTICS SEARCH WARRANT AT LOCATION WHERE SUBJECT LIVES. UPON SEARCH DETS REMOVED A
                           .270 LONG RIFLE . SUBJECT IS A CONVICTED FELON ON CASE 01CR062120. DETS ALSO REMOVED LARGE AMOUNT OF NARCOTICS

       CHARGES
        Sentence Status:

      Charge                            Warrant#           Indict#     Bond Amt              Bond Type                     Court Date Sentence       Sentence           Release
                                                                                                                                      Date                              Date
                                        ursp               uJSp   Kesn                       vourc                          uage        .JOCKet      ...,omments
                                                                                                                           Name
      TRAFF IN CONT SUB, 1ST N257010                                  $    2,500.00         CASH                           10/23/2015
      DEGREE, 1ST OFF - (>
      OR=2GMS
      METHAMPHETAMINE)
                                                                                             c.IR<.;UIT <.;OUKT DIV 02
                                        "
      'TRAFF IN CONT SUB, 1ST N257010                                                                                      10/23/2015
       DEGREE, 1ST OFF - (>
       ~'l = 2 GMS HEROIN)
                                                                                             vlRCUIT COURT DIV 02
·."   POSSESSION OF
      FIREARM BY CONVICTED
                           N257010
                                        '
                                                                                                                           10/23/2015

      FELON
                  .        N                                                                 vlRc;UIT c;OUK I Div u2
      1:RUG PARAPHERNALIA - N257010                                                                                        10/23/2015
                                                                                                                                                       GB003206
       BUY/POSSESS 218A.500
      /?\                                                            I                                                                                                 I
           Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 171 of 211 PageID #:
                                                3366
      TRAFF IN CONT SUB, 1ST N119326                       $   2,500.00      CASH                      0911412015
      DEGREE, 1ST OFF - (>
      OR =2 GMS
      METHAMPHETAMINE)


     I
     TRAFF IN CONT SUB, 1ST N119326
     DEGREE, 1ST OFF - (>
                                                JURY
                                                                             Composite                 0911412015

     OR = 2 GMS HEROIN)
                                   y            INDICTMENT GRAND              ELONYIMISD CT-304
                                                JURY
     DRUG PARAPHERNALIA - N119326                                            Composite                 0911412015
     BUY/POSSESS 21 BA.500
     (2)
                                   y           INDICTMEN 1 GRAND              ELONYIMISD CT-ou4
                                               UURY
     POSSESSION OF        N119332                                            Composite                 0911412015
     FIREARM BY CONVICTED
     FELON
                                   y            INDICTMENT GRAND             -ELON1IMISD      CT-3u~
                                                JURY

     Total Number of Rows:             8


      BOOKING NOTES
     Date/Time                     Notes

     Total Number of Rows:             0


      HOLDS
     !Hold For                             IHold Contact             Hold Contact
                                                                     Phone
                                                                                     Hold Status Docket
                                                                                                   Number
                                                                                                                  Hold Amount    Comments

,,                                                                                                            I



le     otal Number of Rows:            0
 '
     Total Bond:      $ 5,000.00

     SUPPLEMENTAL INFORMATION
      Classification: Ml/GP                            Search Type:

     EMPLOYER INFORMATION
     Employer Name            Occupation                   Phone Number             Address
     NONE                     UNEMPLOYED

     Total Number of Rows:

     IDENTIFICATION NUMBERS
     Identification Type                     Identification Number

     Total Number of Rows:             0




                                                                                                                                GB003207
       Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 172 of 211 PageID #:
                                            3367
      Name ASHBY, JAMES EARL                                                Booking# 201523918            Facility 1
    Inmate# 00431177            Sex MALE           DOB--                  Book DI/Tm 09/03/2015 15:25       WingH6W
      Race Whiie/Eurp/ N.Afr/Mid Eas                Age 36             Release Dt/Tm                       DormH6W-09

(   Status                               In Jail                         Classification Ml/GP                Cell H6W-09

       Note Entry

         Inmate Note TypelNMATE SERVICES
                         NOTES

               Inmate Note From: Kilkelly, Meagan
                           To: Mitchell, Cindy C



                            Louisville Metro Department of Corrections
                           316 East Chestnut Street
                           Office:
                           <mallto:



         Created By UserKILKELLY, Meagan                      Created DtfTm09/17/201513:11

       Notes
        Inmate Note Type

          From Date/Time                               To Date/Time

                                                                 Inmate Notes
     Date/Time         Inmate Notes                                                        Note Type       Created User
     10/04/2015        PER SGT GOFF THERE JS AN EXTREME EMERGENCY                         INMATE          ADAMS, ASHLEY
     16:50             ON H6 SO EVERYONE IN H609 NEEDS TO BE MOVED                        MOVEMENT        M
                       OUT. PLACED ON Ml TO J3-8


     10/02/2015        H6/W9#1 FROM CCC/3N1 - PER SGT COVINGTON l/M JS                    INMATE          ARRIAGA,
     21:02             RECEIVING A WRITE-UP FOR FIGHTING - KIF ADDED -                    MOVEMENT        SAMANTHA
                       HISER, SEAN - PHD ALERT ADDED - SIC MOVE
                       CLEARED BY NURSE SCHINDLER



     09/17/2015        FROM: KILKELL Y, MEAGAN                                            INMATE         KILKELL Y, Meagan
     13:11             SENT: THURSDAY, SEPTEMBER 17, 20151:11 PM                          SERVICES NOTES
                       TO: MITCHELL, CINDY C
                       SUBJECT: W/A

                       J/M JAMES ASHBY #431177 (CCC/3N1) HAS
                       REQUESTED TO BE REVIEWED FOR W/A STATUS.



                       MEAGAN KILKELL Y
                       LOUISVILLE METRO DEPARTMENT OF CORRECTIONS
                       PCI - COMMUNITY CORRECTIONS CENTER
                       316 EAST CHESTNUT STREET
                       LOUISVILLE, KENTUCKY 40202
                       OFFICE: - F A X : (502)574-6986
                       MEAG!\N~OUISVJLLEKY.GOV
                       <MAILTO:MEAGAN.KILKELLY@LOUISVILLEKY.GOV>


                       PLEASE CONSIDER THE ENVIRONMENT BEFORE
                       PRINTING THIS E-MAIL. P


    25207 EGGERS                                             10/04/201517:36                                           GB003208
                                                                                                                              Page:   1
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                                            3368




     09/08/2015     DENIED CCC WORKAIDE STATUS AT THIS TIME:        GENERAL INMATE Mitchell, Cindy
     12:28          INMATE ASHBY, JAMES EARL#431177 HAS 301 COURT   NOTES
                    FOR TRAFFICKING CHARGES, 9-10-15@ 9AM.


     09/08/2015     FROM: KILKELLY, MEAGAN                          INMATE         KILKELL Y, Meagan
     10:19          SENT: TUESDAY, SEPTEMBER 08, 2015 10:19 AM      SERVICES NOTES
                    TO: MITCHELL, CINDY C
                    SUBJECT: W/A

                    l/M JAMES ASHBY#431177 (CCC/3N1) HAS
                    REQUESTED TO BE REVIEWED FOR W/A STATUS.



((                  MEAGAN KILKELLY
                    LOUISVILLE METRO DEPARTMENT OF CORRECTIONS
                    PCI - COMMUNITY CORRECTIONS CENTER
                    316 EAST CHESTNUT STREET
                    LOUISVILLE   NTUCKY 40202
                    OFFICE: (           AX: (502)574-6986
                    MEAGAN.KILKELL    LOUISVILLEKY.GOV
                    <MAILTO:MEAGAN.KILKELLY@LOUISVILLEKY.GOV>


                    PLEASE CONSIDER THE ENVIRONMENT BEFORE
                    PRINTING THIS E-MAIL. P




     09/05/2015     3N1 FROM J3D4B PER NURSE M. COLE OFF DETOX      INMATE           Thomas, Ella
     13:40          MOVE TO GP                                      MOVEMENT

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           Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 174 of 211 PageID #:
                                                3369

         09/03/2015     ORIENTATION COMPLETE Ml/GP                         ORIENTATION   BURNS,
         21:30                                                             NOTES         RESHAYLA

         09/03/2015     J3/4B #27 DETOX BB X7 DAYS PER NURSE STONE         INMATE        BURNS,
r·
\
         20.:14                                                            MOVEMENT      RESHAYLA

         01/23/2013 01:3 WM 33 PRESCREEN COMPLETE                          OLD NOTES
         12/30/2011     PER STACY IN THE RECORDS DEPT, INMATE HAS          OLD NOTES
         01:52          ADDED CHARGES/SW, AN OUT OF COUNTY HOLD.
                        INMATE IS BEING RETURNED TO THE NJC, H5-D3
                        FROM CCC/4S1



         12/20/2011 22:2 PLACED ON MOVELIST FROM J1R2 TO CCC/3S2           OLD NOTES
         12/20/2011     ORIENTATION COMPLETE&#XOD; PREA FORM               OLD NOTES
         17:52          COMPLETE&#XOD; NO ALERT CODES&#XOD; NO
                        PROPERTY RELEASE&#XOD; RECEIVED INMATE
                        HANDBOOK &AMP; PREA BROCHURE&#XOD; &#XOD;
                        301 12/29/11 0900&#XOD; BURG 2ND DEG, TBUT&#XOD;
                        BOND: $5,000.00&#XOD; &#XOD; WILL HOUSE
                        ACCORDING TO l/M ROSTER




         12/19/2011 09:5 32 W/M PRESCREENING COMPLETED                     OLD NOTES
         11/17/2011 11 :2 32 W/M PRESCREENING COMPLETED                    OLD NOTES
         06/20/2011     RECEIVED A WRITE UP ON 6-19-11 FOR CAT. 3-K        OLD NOTES
         10:41          ASSAULTING ANY INMATE, CAT. 3-A DISRUPTIVE
                        BEHAVIOR. HE RECEIVED TEN DAYS DIS. SEG., TO BE
                        RELEASED 6-29-11.
    (r
     \


         06/19/2011     PER SGT MUMFORD, INMATE REC WRITE UP FOR           OLD NOTES
         20:34          FIGHTING. MOVED FROM H5/D1 TO H5/D4/05 DUE TO
                        NO OTHER SC IN JAIL. KF ADDED BRYANT, MICHAEL
                        (546009).



         06/16/2011     THIS INMATE IS MOVING FROM J1R2 TO H5W01 (019).    OLD NOTES
         16:38          SEE PRIOR NOTES.

         06/14/2011     WM 31, ORIENTATION IS COMPLETE - NO PROPERTY       OLD NOTES
         13:52          RELEASE - HE HAS 6 DTS/RIP/335; HOLD FOR
                        GRAYSON CO TR 6/21 2500 - PREA FORM COMPLETE,
                        NO ALERT CODES NOTED - HE ASK FOR ME TO CALL
                        ROBIN @1/502/492-5107 AND GAVE HER INFORMATION
                        FOR EVERCOM




         06/13/2011 20:1 WM31,PRESCREENING COMPLETE.                       OLD NOTES
         12/18/2008     INMATE ASKED ABOUT HIS HOLD FOR MADISON CO,        OLD NOTES
         14:32          THEY HAVE BEEN NOTIFIED.




         25207 EGGERS                                10/04/201517:36
                                                                                              GB003210Page:   3
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                                             3370
      12/16/2008     ORIENTATION COMPLETED ON TODAY'S DATE;              OLD NOTES
      09:07          PACKET WAS GIVEN AND SIGNED ACKNOWLEDGMENT
                     FORM; WAS COOPERATIVE; IN CUSTODY FOR A HOLD
                     FROM MADISON COUNTY; STATES HE GOES TO CT
                     12/19 ON HIS JEFF CO CHARGES HE WAS ROR'D ON;
                     CONTACTED RECORDS AND SPOKE TO VICKY RAY
                     WHO STATED SHE WOULD PUT A NOTE ON THE
                     FOLDER TO WAIT TO CONTACT MADISON COUNTY SO
                     HE CAN GO AHEAD AND GO TO COURT HERE BEFORE
                     GOING THERE; NO PROP TO RELEASE; GOING TO
                     J3D5A



      12/16/2008 04:4 PRE-SCREENING COMPLETE, 29 W/M                     OLD NOTES
      01/19/2008     **REQUESTING TO BE WORK AID ** E-MAIL SENT....      OLD NOTES
      14:48          MARIA

     01/18/2008     W,M 28 NO RELGIOUS PREF. 37 TATOOS, NO GANG -        OLD NOTES
     16:06          CONTEMPT OF COURT - INMATE WAS COOPERATIVE
                    AND HE COMPLETED A PHONE CALL


     09/14/2007     WM, 27 YRS OLD, SLENDER BUILD, VISIBLE TATIOOS       OLD NOTES
     04:13          ON. BOTH ARMS, BOTH SIDE NECK, NO GANGS,
                    COOPERATIVE DURING INTERVIEW, CHARGE WITH**
                    BW OSL, •••PEN EXP, JAIL EXP, RECEIVED PHONE
                    CALL, CLASS MIN===RP IS NONE===




     05/03/2007 12:1 MOVED FROM H3W1 TO J31B FOR WA STATUS.         OLD NOTES
     05/02/2007      ELIGIBLE FOR WA STATUS WITH OUTSIDE            OLD NOTES
((   13:10           CLEARANCE. WILL MOVE TO WA DORM WHEN SPACE
                     IS AVAILABLE. NAME SENT TO MEDICAL FOR SCREENI


     05/01/2007 08:5 WTSD                                                OLD NOTES
     04/29/2007 01 :2 MOVELIST FROM J1 R-D1 TO H3 WALK1#7 ... MARIA      OLD NOTES
     04/28/2007 13:1 LATRICIA POSEY                                      OLD NOTES
     04/28/2007 07:5 CRT FM01/4-30-07 NO BOND .. NO SPACE.               OLD NOTES
     04/27/2007     WM 27, NO RELIGIOUS PREFERENCE, 32 TATIOOS, HE       OLD NOTES
     09:14          HAS PRIOR JAIL AND PRISON EXPERIENCE AND WAS
                    COOPERATIVE AND HE HAS RECEIVED HIS PHONE
                    CALL HE HAS A COURT DATE IN 101 ON 4/30 AND
                    FAMILY COURT ON 4/30@1300 AND A BOND OF 150




     02/12/2007     W/M, 27, CLAIMS JAIL AND PEN. TIME FOR FUCC. HE IS   OLD NOTES
     22:03          CURRENTLY CHARGED WITH CC AND IS TO APPEAR IN
                    FM01 TOMORROW AT 1300. (HE STATES THAT HE
                    FAILED TO ATIEND HIS COURT-ORDERED CLASSES).
                    HIS BOND IS 500.00. RELIG. PREF. - "NONE" I AM
                    HOUSING HIM IN REAR SEC. OVERNIGHT.




     09/05/2006     STATED NO RELIGIOUS PREFERENCES;26 YR/OLD,           OLD NOTES
     16:01          WHT/MALE,TATIOOS, FACE.BOTH ARMS AND FACIAL
                    PIERCING'S. MANNERABLE, ALLOWED TELEPHONE
                    USAGE. $204.00 FOR CONTEMPT OF COURT/




     25207 EGGERS                                  10/04/201517:36                   GB003211
                                                                                            Page:   4
  Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 176 of 211 PageID #:
                                       3371
 06/18/2006    W/M 26 SLIM BUILD HAS HAIR IS CUT CLOSE HAS         OLD NOTES
 13:43         FACIAL HAIR APPEARANCE NEAT AND CLEAN.HE WAS
               COOP DURING INTERVIEW, HE HAS NO RELIGION
               PREF, HAS TATTOO'S ALL OVER HIS BODY NOSE,
               LIPS, EARS, PIERCE HE HAS A CRT DATE FOR 06-19-06
               FMOB COC CASE #05D50357 , HE CLASSED AS A LOW
               MEDIUM, HE HAS PENTIME EXP, FOR CREDIT CARD
               FRAUD, HE HAS A BOND FOR 250.00 FULL CASH, HE
               ANSWERED ALL QUESTIONS. REFUSE TO GIVE ANY
               EMERGENCY CONTACT NUMBERS ..




12/22/2005     SO SORRY FROM THE FIRST NOTES, l/M HAS A 600.00     OLD NOTES
00:01          BOND.

12/21/2005     W/M 26 SLIM BUILD HE WAS COOP DURING                OLD NOTES
23:57          INTERVIEW, HE HAS NO RELIGION PREF, HE HAS A
               CRT DATE FOR 12/22/05, HE CLASSED AS A LOW
               MEDIUM, HE HAS PENTIME EXP, FOR CREDIT CARD
               FRAUD, HE HAS A BOND FOR 100.00 FULL CASH, HE
               ANSWERED ALL QUESTIONS.




25207 EGGERS                               10/04/201517:36                     GB003212
                                                                                      Page:   5
        Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 177 of 211 PageID #:
                                             3372




(-
         Name ASHBY, JAMES EARL
       Inmate# 00431177            Sex MALE

         Race White/Eurp/ N.Afr/Mid Eas

      Status                               Jn Jail
                                                     --
                                                     Age 36
                                                                               Booking# 201523918

                                                                             Book Dt/Tm 09/03/20.1515:25
                                                                        Release Dt/Tm
                                                                            Classification Ml/GP
                                                                                                             Facility
                                                                                                               Wing H6W
                                                                                                              Dorm H6W-09

                                                                                                                Cell    H6W-09



           Booking #201523918

     Start Dateffime End Datemme          Cell                  Bed           Cel!Transfer Reason Comments
     10/02/2015                           H6W-09                001
     21:37

     09/06/2015       10/02/2015 21:37 3N1                      025           Movelist
     00:27

     09/04/2015       09/06/2015 00:27 J3S-4B                   027
     12:08

     09/03/2015      09/04/2015 12:08 J1-R-3
     20:44

     09/03/2015      09/03/2015 20:44 J1-R-1                    030
     20:32

     09/03/2015      09/03/2015 20:32 PASSIVE                   J1-P-030
     15:25




     25207 EGGERS                                         10/04/201517:37
                                                                                                                   GB003213
                                                                                                                          Page:   1
         Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 178 of 211 PageID #:
                                              3373


                          Louisville Metro Department of Corrections Incident Report

          Incident Report# 00066290                  Incident Type     FIGHT                                      Incident DateTime   10/02/2015 18:50


          Location Type   CCC                                                   Location      3N1

         Reporting Officer COVINGTON, RAMONDA


                                               Inmates Involved
                          Inmate#           Name
                          00528313          HISER, SEAN
                          00431177          ASHBY, JAMES EARL




                          Video Recorded? Type?                                    Medical Responders Name           OSERTAG



                           [{]•use or ttes~IS
                               R-.1llrArl
                                                        Type of Restraints
                           Name                           Restraint                    Note
                           HISER, SEAN                    HandCuffs
                           ASHBY, JAMES EARL              HandCuffs

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                                 pr i--oice
                           0 use
                             RAnuirAff
                                                           Type of Force
                           Name                           Force                        Note
                           HISER, SEAN                    Verbal                                                                                         ',
                                                                                                                                                         ~-
                           ASHBY, JAMES EARL              Physical


              Narrative   At 1850 hrs. Ofc. Joshua Badge'ly called for medical and I, Sgt. Ramonda Covington to
                          Ashby, James cin #431177 choking Inmate Hiser, Sean cin #528313. Ofc. Badgelyw
                          him to the attorney booth. He then went to the dorm where Inmate Hiser complied wit
                          escorted to the attorney booth. Both Inmates stated that Inmate Ashby told Inmate His
                          that Inmate Hiser then hit him so he choked him. Inmate Hiser states that inmate Ash
                          both took it to the back of the dorm and began to fight. Nurse Ostertag assessed both
                          injuries even though he reported getting hit in the mouth. Both inmates were written u
                          609#1 and Inmate Hiser in HOJ 509#5. Pictures were taken and foiwarded to the ap




                                     ..e.. O.vv~
                                                                                   10/02/2015
     (                                      24020 COVINGTON

     "                                      Employee Signature




         25207 EGGERS                                                10/04/201517:38                                          GB003214
                                                                                                                                     Page:      1
             Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 179 of 211 PageID #:
                                                  3374
                            LOUISVILLE METROPOUTAN DEPARTMENT OF CORRECTIONS
                            400 S. Sixth Street
                            Phone: 5025742167   Fax:

(                                                                    POD Roster
         Date : 10/04/2015 00:00
         Inmate Name                     Inmate#       Booking # Race Sex Classification Cell I Bed                               Location
         Facility: 1
                 Floor: H6
                 Wing: H6W
                  Dorm : H6W-09
         ASHBY, JAMES EARL              00431177       201523918     w      M     Ml/GP             H6W-09/001
         BRENTS, CHRISTOPHER JEROME     00281024       201434661     B      M     MX/HB             H6W-09/004
         KILGORE-ODOM, DAVONTAY         00595466       201515552     B      M     ME/AB             H6W-09/005
         LAWLESS, KEVON T               00603690       201524358     B      M     MX/GP             H6W-09/002
                                                                   Totals for Facility: - 1 In Cell : 4 ·    Out Of Cell: 0       Total: 4




    '(




         Printed By 25207 EGGERS On 10/04/2015 17:47                                                                          GB003215 1of1
           Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 180 of 211 PageID #:
                                                3375


      Eggers, Arthur

      From:                               Goff, Ernest L
      Sent:                               Sunday, October 04, 2015 5:49 PM
      To:                                 Eggers, Arthur; Eubanks, Jennifer L.; Roy, Christopher D; Gilbert, Steven E; Hogan,
                                          Michael; Joyner, Gregory; Cole, Donna; Clark, Dwayne A.; Davis, Endora; Troutman, Eric;
                                          Metro Corrections Critical Care Team
      Subject:                            suicide attempt




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     On October 4, 2015 at approximately 1620 a call came out over the radio to 1059 H6. When Sgt. Goff arrived on H6
     dorm 9 Officers J. Horn and C. Marbrey was giving CPR to inmate Ashby, James cin # 431177. Nurse Brown was in dorm 9
     assisting with inma.te Ashby, James. Main control was contacted to notify EMS at approximately 1623. Lt. Roy arrives on
     scene at approximately 1624along with Nurse Bohr, Summerfield, Nichols, Crawford, and Lachamelle. Ems notified by
     main control 1625, Fire arrives on floor at 1629, ems arrives at 1632, ems arrives on the floor at 1634,ems departs the
     floor at 1644, Lt. Eggers notified at 1644, ems departs facility at 1706.

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                                                   3376
          SgfGoff spoke with Officer Stigall and was informed that while he was serving chow he saw inmate Ashby, James cin #
          431177 was hanging from the bars with a sheet tied to his neck. Officer Stigall tried to use the knife for life to cut him
          down but was unable to get it done so he tried to untie him from the bars and was able to get him clown that way.
(        , Pictures were taken and shift command was notified of the incident. A copy of this incident report will be sent to shift
1        command, upper command, PSU, and to critical care unit.

         El# 66317

         Sgt. Goff 319




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      Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 182 of 211 PageID #:
                                           3377




          •9 View Picture ..
            lnmnteNbr
              00431177
            Name
              ASHBY, JAMES EARL




        I
(,,




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Case 3:16-cv-00742-DJH-CHL Document 143-9 Filed 05/21/19 Page 183 of 211 PageID #:
                                     3378



                   Louisville Metro Department of Corrections Incident Report
  Incident Report # 00066317                    Incident Type     SUICIDE ATTEMPT                              Incident DateTlme   10/041201516:20


   Location Type   SINGLE C                                                Location       H6 DORM 9 CELL # 1

  Reporting Officer Goff, Ernest


                                         Inmates Involved
                   Inmate#            Name
                   00431177           ASHBY, JAMES EARL




                   Vid.eo Recorded? Type?                                      Medical Responders Name BROWN,
                                                                                                       BOHR,SUMMERF
                                                                                                       IELD, NICHOLS,
                                                                                                       CRAWFO




                                                   Type of Restraints
                    Name                             Restraint                     Note
                    ASHBY, JAMES EARL                Other                         SHACKLES




                    Name                             Force                         Note




       Narrative    On October 4, 2015 at approximatety 1620 a a;ill came out over the radio to 1059 H6.
                   When Sgt. Goff arrived on H6 dorm 9 Officers J. Hom and C. Marbray was giving CPR
                   to Inmate Ashby, James cln # 431177. Nurse Brown was In dorm 9 assisting with
                   Inmate Ashby, James. Main control was contacted to notify EMS at approximately
                    1623. Lt. Roy arrives on scene at approximately 1624along with Nurse Bohr,
                   Summerfield, Nlcllols, Crowford, and Lachamelle. Ems notified by main control 1625,
                   Fire arrives on floor at 1629, ems arrives at 1632, ems arrives on th6 floor at 1634,ems
                   departs the floor at 1644, Lt. Eggers notified at 1644, ems depans facility at 1706.
                   Sgt. Goff spoke with Officer Stigall and was informed that while he was serving chow
                   he saw Inmate Ashby, James cln # 431177 was hanging from the bars with a sheet
                   lied to his neck. Officer Stigall tried to use the knife for life to cut him down but was
                   unable to get It done so he tried to untie him from the bars and was able to get him
                   down that way. Pictures were taken and shift command was notified of the incident. A
                   copy of this incident report will be sent to shift command, upper command, PSU, and
                   to crltlcal care unit.

                   Sgt. Goff 319



                                                                               10/04/2015


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                                                                                                                               GB003219
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                                     3379



                   Louisville Metro Department of Corrections Incident Report

  Incident Report# 00066317(8)                  Incident Type      SUICIDE ATIEMPT                            lncldentDeteTlme   10/04/201516:20


   Location Type                                                           location       HS DORM 9 CELL # 1

  Reporting Officer Horn, Jeffrey


                                         Inmates Involved
                   Inmate#            Name
                   00431177           ASHBY, JAMES EARL




                   Video Recorded? Type?                                      Medical Responders Name



                    O Use of Res1raints Required
                                                  Type of Restraints
                    Name                             Restraint                     Note




                    El   Uae of Force Required

                                                     Type of Force
                    Name                             Force                         Note




       Na11ative    On 10-4-2015, at about 1620hrs. I Ole. J. Hom was working the east side of HS when
                    a radio transmtsslon came through for additional Ofcs. to come to H6 dorm #9. When I
                   arrived Ole. Stegal was laying Inmate Ashby, James on the floor in front of cell #1. The
                   Inmate attempted suicide by hanging hlmseff with a sheet from the bars. The Inmate
                   was unresponsive and unconscious and his skin color was a grayish blue. I checked
                   and there was no pulse at which time I began CPR chest compressions. Ole. Marbry
                   began assisting with rescue breath through his CPR face mask and we continued
                   CPR for several minutes. Ole. C. Hom a11lved with the AED machine and we applied
                   the pads to the inmates Chest and abdomen in between chest compressions. The AED
                   machine analyzed the inmate once and recomended CPR continue. The second time
                   the machine analyzed it advised a shock Which was delivered. CPR was continued for
                   several more minutes by myself and Ofc. Marbry until Fire EMS arrived and took over.
                   I then assisted with the scene until EMS departed with the Inmate. I secured the scene
                   until PSU and LMPD detectives arrived and cleared it. I then gave an interview to
                   LMPD detectives explaining my involvement in the incident. This ended my
                   involvement in this Incident.


                   Ole. J. Hom #705


                   EOR-




 2497S EUBANKS                                                  10/05/2015 12:40                                                     Page: 1

                                                                                                                             GB003220
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                                          3380



                       Louisville Metro Department of Corrections Incident Report
       Incident Report# 00066317(b)                Incident Type                                                  Incident DateTime   10/04/2015 16:20


       Location Type                                                           Location      H6 DORM 9 CELL # 1


      Reporting Officer FERGUSON, KYLE


                                             Inmates Involved
                       Inmate#           Name




                       Video Recorded? Type?                                      Medical Responders Name



                        CJ   Use of Restroints Required

                                                      Type of Restraints
                        Name                             Restraint                    Note




I
\\
                        [J   Use of Force Required

                                                         Type of Force
                        Name                            Force                         Note




           Narrative   On 10/04/15 around 1620 I was in J1R when I heard a radio transmission requesting
                       addlllonal officers to H6D9. I ran over to the requested location and upon my amval I
                       saw several officers and nurse performing CPR on l/m Ashby. There appeared to be
                       adequate assistance so I asked Lt. Roy If he wanted me 10 go wait for EMS by the old
                       sallyport doors. He stated he did so I went down to the kitchen. LFD arrived first and I
                       escorted them inside where Sgt. Dearinger said he would take them the rest of the
                       way upstairs. EMS then arrived and I escorted them up to H6. Once there I asked Lt.
                       Roy if he wanted me return to my post and he stated that he did. This concludes my
                       Involvement wilh the incident.
                       K. Ferguson #461




                                                                                     Date
                                       Employee Signature




      24976 EUBANKS                                                10/05/201512:41                                                        Page: 1
                                                                                                                                  GB003221
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                                           3381



                         Louisville Metro Department of Corrections Incident Report
r··     Incident Repon # 00066317(c)                  Incident Type                                                   Incident DateTlme   10/04/201516:20


         Location Type                                                            Location       H6 DORM 9 CELL # 1

        Reponing Officer O'Bannon, Edwin


                                                Inmates Involved
                         Inmate#            Name




                         Video Recorded? Type?                                        Medical Responders Name



                          LI   Use of Restrainls Required
                                                         Type of Restraints
                         ·Name                             Restraint                      Note




(
                          Cl   Use ofForce Required
                                                            Type of Force
                          Name                             Force                          Note




            Nanatlve      On 20151004 while WOl1<ing Unit 6 control room, I (Ole. O'Bannon) was notified by
                         Ofc. Stigall of an inmate suicide attempt at 1616hrs In Dorm 9 Cell 1.1 immediately
                         called for additional Officers to come to the Incident area. I then notified the Assigned
                          Sergeant to come to the area es well. Afterwards I rlotified the shift Lieutenant to come
                         to the area also. I then immediately begin writing down lime frames of events that had
                         occured and those to happen. I was updated from OffiCOIS In close with Inmate Ashby,
                         James that we will need EMS due to his then current state. I contacted outter control
                         to contact EMS by radio. I continued to write down time frame of events until the area
                         of Interest was cleared from higher command. This concludes my involvement In the
                         Incident.

                         End ofRepon

                         Ole. O'Bannon II, #842




                                                                                         Date
                                          Employee Signature




       24976 EUBANKS                                                  10105/201512:41                                                         Page: 1
                                                                                                                                      GB003222
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                                         3382



                         Louisville Metro Department of Corrections Incident Report
(
      lncidenl Report# 00066317(d)                    Incident Type                                                 Incident DateTime   10/04/201516:20


       Location Type .                                                           Localion       HS DORM 9 CELL # 1

      Reporting Officer Schmitt, Eric


                                                Inmates Involved
                         Inmate #          Name




                         Video Recorded? Type?                                      Medical Responders Name



                          EJ   Use of Reslraints Required

                                                        Type of Restraints
                          Name                             Restraint                     Note




(
                          EJ   Use of Force Required
                                                           Type of Force
                          Name                             Force                         Note




           Narrative     On 1014115 at around 1620 hrs. I heard radio transmission for additional officars to HB.
                         When I anived I helped secure the scene until EMS arrived. Once EMS arrived I
                         returned to my floor. This concludes my Involvement In this s incident.
                         EOR

                         Sgt. E. Schmitt #356




                                                                                        Date
                                          Employee Signature




      24976 EUBANKS ·                                                 101051201512:41                                                       Page: 1
                                                                                                                                    GB003223
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                   Louisville Metro Department of Corrections Incident Report
  lncidenl Report#· 00066317(1)                  Incident Type     SUICIDE ATTEMPT                               Incident DateTime   10/04/201516:20


   Location Type                                                             Location      H6 DORM 9 CELL # 1

  Reporting Officer STIGALL, TIMOTHY M


                                          Inmates Involved
                   Inmate#            Name
                   00431177           ASHBY, JAMES EARL




                   Video Recorded? Type?                                        Medical Responders Name



                    El    Use of Restraints Required
                                                    Type of Restraints
                    Name                              Restraint                      Note




                    E'J   Use of Force Required
                                                       Type of Force
                    Name                              Force                         Note




       Narrative    On 10-4-15, at 16161 had entered H6 Dorm 9 to serve dinner chow. It was at that time
                    I found inmate Ashby, James (cln# 431177) had hung himself and attempted suicide
                   with his bed sheet lied to the bars on his window. I immediately ran out of the dorm to
                    grab the knife for life and notified the control room officer (Ole. O'Bannon) to call for
                   additional officers. On my way back into the dorm I ran into my partner Ofc. Simpson
                   and notified him of the situation. We Immediately enter inmate Ash bys cell, while Ofc.
                    Simpson Is holding up inmate Ashbys body to relieve the pressure from his neck, I
                   (Ole Stigall) attempted to cut the bed sheet that was tied around the bara with the knife
                   for life. After about 30 seconds of the knife for life not working, I then decided to untie
                   the kr19t around the bars. Ofc. Simpson and I then carried Inmate Ashby to the ground
                   on his beck In the dayroom in Dorm 9. At that point backup arrived and they started
                   peiforming CPR on inmate Ashby. I was the Officer who had the body cam. I then
                   turned on the body cam and recorded the rest of the incident. After several minutes of
                   CPR, Fire EMS arrived end took over. I then followed EMS as they departed the
                   facility with the body cam on with no further incident. I reported to PSU and
                   interviewed with LMPD detectives explaining my Involvement with this incident. This
                   concludes on involvement with this incident.
                   EOR
                   Ole. Stigall #404




 24976 EUBANKS                                                   10/0512015 12:42                                                        Page: 1
                                                                                                                                 GB003224
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                                         3384



                          Louisville Metro Department of Corrections Incident Report

      Incident Report #    00066317(g)                 lncidenl Type     SUICIDE ATTEMPT                              Incident OateTlme   10/0412015 16:20


       Location Type                                                              Location       HS DORM 9 CELL # 1


     Reporting Officer OLSON, CARL


                                                  Inmates Involved
                          Inmate#           Name
                          004311n           ASHBY, JAMES        EARL




                          Video Recorded? Type?                                       Medical Responders Name



                           CJ   Use of Restraints Required
                                                         Type of Restraints
                           Name                             Restraint                     Note




(
                           EJ   Use ofForce Required
                                                             Type of Force
                           Name                             Force                         Note




           Narrative      On Oct. 4, 2015 at around 1S19 I heard a call for addhional officers to HS dorm 9.
                          When I arrived they had Inmate Ashby, James (431177) lying on the ground outside of
                          cell 1 with a sheet tied around hls neck. l/M was unresponsive and unconscious.
                          Officer Horn had started CPR and I, Officer Olson #424 was getting the sheet off the
                          I/M's neck. I attempted to cut the sheet off of his neck using the knife for lffe but the
                          knife was not cutting the sheet so I untied the knot. I activated the body cam and had it
                          pointed down on them. I had it on until another officer came over with his body cam
                          and took over. Fire EMS arrived and took over. I stayed at the scene until EMS left
                          with him. This ends my involvement of the situation.

                          Officer C. Olson #424




                                                                                         Date
                                          Employee Signature




     24976 EUBANKS                                                     10/05/201512:42                                                        Page: 1

                                                                                                                                      GB003225
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                                     3385



                    Louisville Metro Department of Corrections Incident Report

  Incident Report# 00066317(h)                    Incident Type     SUICIDE ATTEMPT                               Incident DateTime   10/04/201516:20


   Location Type                                                              Location       H6 DORM 9 CELL # 1


  Reporting Officer Marbrey, Clifford


                                           Inmates Involved
                    Inmate#            Name
                    00431177           ASHBY, JAMES EARL




                    Video Recorded? Type?                                        Medical Responders Name



                     Cl   Use of Restraints Required

                                                    Type of Restraints
                      Name                             Restraint                      Note




                     LJ   Use of Force Required
                                                       Type of Force
                     Name                              Force                         Note




       Narrative      On 4 October, 2015, I (Ole. MaJbrey) was Involved in the following incident. At approx.
                      1620hrs, white wo11<ing on H5. t responded to a net call for "add"dional OffiCers, report
                      to H6 Dorm 9". Once I reached the H6/0#9 I saw Ole. SUgall and Ole. Simpson In cell
                   · #1 untying the bed sheets from the window bars of the cell that were tied around l/M
                     Ashby, James (cin # 4311n) neck. I ran to the Control room to tell Control Room
                     Office to start EMS to the Jail for an unresponsive white niale and to also retrteve the
                      knife for life. I then want back to Donn 9 and started asslsUng Ole. Hom with CPR.
                     While he did the chest compressions I did the rescue breath. After a few cydes of
                     chest compressions and rescue breaths, Ofc. Ramey arrived with the AED and place
                     the pads on the inmate's chest. The AEO analyzed the inmate and advised us to
                     conUnue-cPR. The second time the AED advJsed us to shock the Inmate. The order
                     was given for everyone to stand dear, Ofc. Ramey administered the shock, Ofc. Hom
                     checked for a pulse and then CPR was continued. CPR was continued for several
                     more minutes bY Ofc. Horn and I until Fire EMS arrived. Once they were on scene
                     they took over CPR.
                     I stayed on scene unlll EMS took l/M Ashby off the floor. This condwes my
                     involvement in this incident.
                     Ole. C. MaJbrey #721




                                                                                    Date


 24976 EUBANKS                                                    10/051201512:42                                                         Page: 1

                                                                                                                                  GB003226
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                                         3386



                       Louisville Metro Department of Corrections Incident Report
(
      Incident Report# 00066317(1)                Incident Type     SUICIDE A lTEMPT                          Incident DateTime   10/04/2015 16:20


       Location Type                                                         Location       H6 DORM 9 CELL # 1

      Reporting Officer RAMEY, RANDELL TODD


                                            Inmates Involved
                       Inmate#           Name
                       00431177         ASHBY, JAMES EARL




                       Video Recorded? Type?                                    Medical Responders Name



                        El   Use of Reslraints Required
                                                     Type of Restraints
                        Name                           Restraint                     Note




(
                        El   Use of Force Required
                                                        Type of Force
                        Name                           Force                        Note




          Narrative     On 10-4-15 t, Ole. R. Ramey #824, responded to a call for additional officen; on H6
                        Dorm 9. When I arrived Inmate Ashby, James #431177 was laying on the ground with
                       a bluish color to his skin. I saw Ofc. J. Hom giving chest compressions. I took my
                       CPR face shield out and handed it to Ofc. Marbery so he could give rescue breaths. I
                       picked up an AED madline that had been placed on the table beside of Inmate Ashby
                       and prepared It to be used. I applied the AED pads to inmate Ashby and It analyzed
                       him and advised no shock. CPR was continued by Ofc. J. Hom and Ofc Marbrey.
                       The second lime the AED analyzed inmate Ashby a shock was advls8d. I advised
                       everyone to not touch Inmate Ashby and administered a shock through the AED. After
                       the shock the AED analyzed inmate Ashby again and edvlsed to continue CPR. Ole.
                       J. Hom and Ole. Marbray continued CPR. When Fire and EMS arrived, I stayed at the
                       scene to assist until Inmate Ashby was taken from the dorm. This ends my
                       involvement with this incident.

                       R. Ramey #824




                                                                                    Date
                                       Employee Signature




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                                                                                                                              GB003227
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                        Louisville Metro Department of Corrections Incident Report
(
      Incident Report# 00066317(j)                   Incident Type      SUICIDE ATTEMPT                             Incident DateTime   10/04/2015 16:20


       Location Type                                                             Location       H6 DORM 9 CELL # 1

      Reporting Officer SIMPSON, DEVAN


                                              Inmates Involved
                        Inmate#            Name
                        004311n            ASHBY, JAMES EARL




                        Video Recorded? Type?                                       Medical Responders Name



                         El   Use of Resln>ints Required

                                                        Type of Restraints
                         Name                             Restraint                      Note




(
                         D    Use of Foroe Required
                                                           Type of Force
                         Name                             Force                         Note




           Narrativ.e   On 9/4/15 at approximately 16181 was walking back to the control room after
                        completing accuchecks, when Officer Stigall came out of Dorm 9 stating that an
                        inmate Ashby James (CtN 431177) had hung himself. While Officer Stigall grabbed
                        the knife for life I ran Into the dorm and opened up cell one where l/M Ashby wes
                        housed. I ran Into tha cell and picked up l/M Ashby so that Officer Stigall could get the
                        sheet off of the Inmates neck. The knffe for life would not cut the sheet so Officer
                        Stigall untied It from the bars. Once the sheet was untied off of the bars of the cell I
                        dragged llM Ashby out Into the deyroom of Dorm 9 so that CPR could ba administered
                        by other responding officers. I then began getting names of respandlng medical staff
                        and officers. This ends my involvement.




                                                                                        Date
                                         Employee Signature




     24976 EUBANKS                                                   10/05/2015 12:43                                                       Page: 1

                                                                                                                                    GB003228
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                                         3388


                       Louisville Metro Department of Corrections Incident Report
(
      Incident Report# OD066317(k)                   Incident Type     SUICIDE ATIEMPT                                Incident DateTime   10/04/2015 16:20


       Location Type                                                              Location       H6 DORM 9 CELL# 1

      Reporting Officer LACHALMELLE, CRYSTAL


                                              Inmates Involved
                       Inmate#            Name
                       00431177           ASHBY, JAMES EARL




                       Video Recorded? Type?                                         Medical Responders Name



                        [] Use of Restraints Required

                                                        Type of Restraints
                        Name                               Restraint                      Note




(
                        CJ   Use of Force Required

                                                           Type of Force
                        Name                              Force                          Note




          Narrative    THIS NOTE WAS TYPEO UNDER C.LACHALMELLE/RN FOR $.BOHR. LPN ... @
                       APPROX. 1620. MEDICAL WAS NOTIFIED OF EMERGENCY SITUATION IN H6.@
                       APPROX. 1624, MEDICAL ARRIVED TO H6 & NOTED IM LYING OUTSIDE OF
                       CELL WITH TWO SECURITY STAFF NOTED USING AED/PERFORMING CPR. @
                       APPROX. 1628, AED WAS ALERTED TO NO SHOCK ADVISED. @APPROX. 1629,
                       CPR WAS INITIATED AND SHOCK WAS ADVISED, SHOCK RECEIVED.@
                       APPROX. 1631. EMS ARRIVED AND IM WAS NOTED WITH A BLOOD PRESSURE
                       OF 110/66 WITH A PULSE. EMS LEF AREA WITH IM ON STRETCHER AND NO
                       FURTHER NEEDS WERE NOTEO REQUIRING MEDICAL
                       ATTENTION ••••.••....•.......•....•..••...•...........•.••.•.•....•.•......• EOR/SDBOHR, LPN




                                                                                        Date
                                        Employee Signature




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                                                                                                                                     GB003229
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                                         3389


                         Louisville Metro Department of Corrections Incident Report
      Incident Report#    00066317(1)                Incident Type                                               Incident DaleTime   10/04/2015 16:20


       Location Type                                                            Location       H6 DORM 9 CELL # 1


      Reporting Officer ARNOLD, MEGAN B



                                               Inmates Involved
                         Inmate#           Name
                         00431177         ASHBY, JAMES EARL




                         Video Recorded? Type?                                     Medical Responders Name



                          El   Use of Res1Rtints Required

                                                       Type of Restraints
                          Name                            Restraint                     Note




(
                          El   Use of Force Required

                                                          Type of Force
                          Name                            Force                        Note




           Narrative     On 10-04-2015 at around 1620 hrs I, Ole. M. Arnold responded to H6 Dorm 9 due to
                         radio transmission. Upon arrival I seen Officers actively doing CPR on inmate Ashby.
                         Medical was already advised as well as EMS. I stood by In case my help was needed
                         until I was dismissed lo be back on my floor. This concludes my involvement with this
                         Incident.


                         Ole. M. Arnold #617




                                                                                       Date
                                         Employee Signature




     24976 EUBANKS                                                   101051201512:43                                                     Page: 1

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                                         3390



                       Louisville Metro Department of Corrections Incident Report
      lncidenl Report# 00066317(m)                  lncidenl Type      SUICIDE ATTEMPT                           lncldenl DateTlme   10/04/201516:20


       Localion Type                                                            Location       H6 DORM 9 CELL# 1


      Reporting Officer Nichols, Courtney


                                             Inmates Involved
                       Inmate#           Name
                       00431177          ASHBY, JAMES EARL




                       Video Recorded? Type?                                       Medical Responders Name          NICHOLS



                        D    Use of Restnoints Required

                                                       Type of Restraints
                        Name                             Restraint                      Note




(
                        El   Use of Force Required

                                                          Type of Force
                        Name                             Force                         Note




           Narrative   This writer anived with medical to H6d9 at approx 1624. l/m Ashby, James
                       CIN#431177 was laying on the floor outside of Cell #1. CPR had been lnllialed by
                       correclions. This writer stayed to assist if needed. This writer remained in H6d9 until
                       EMS anived and Pt was transported via EMS to ER. - EOR--C.Nichols LPN




                                                                                       Date
                                        Employee Signature




     24976 EUBANKS                                                  10/0512015 12:43                                                     Page: 1

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                                           3391


                         Louisville Metro Department of Corrections Incident Report
(
        Incident Report# 00066317(n)                 Incident Type      SUICIDE ATTEMPT                          Incident DateTime   10/04/201516:20


         Location Type                                                          Location        H6 DORM 9 CELL # 1

        Reporting Officer DEARINGER, TIMOTHY


                                               Inmates Involved
                         Inmate#           Name
                         00431177          ASHBY, JAMES EARL




                         Video Recorded? Type?                                     Medical Responders Name



                          El   Use of Restraints Required
                                                       Type of Restraints
                          Name                            Restraint                      Note




(
                          D    Use of Force Required
                                                          Type of Force
                          Name                            Force                         Note




            Narrative    On 10-4-15 at approximately 1618 hrs I, Sgt T Dearinger heard a radio transmission
                         calling for EMS and the need for medical staff on H6. Currently being on J2, I
                         immediately went to the nurse's station to inform medical staff that an emergency was
                         underway on H6 and EMS was being called. I then assisted in transporting medical
                         equipment lo HB for medical staff. Upon hearing the transmission that LFD had
                         arrived, I went to the kitchen and was finished escorting LFD to HS in order for Ofc
                         Ferguson to remain In the old sally port to awatt the arrival of EMS. This ends my
                         involvement in the incident EOR
                         Sgt T Dearinger #304




                                                                                        Date
                                         Employee Signature
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       24976 EUBANKS                                                 10/05/2015 12:43                                                    Page: 1

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                                     3392



                     Louisville Metro Department of Corrections Incident Report

  Incident Report#    00066317(0)               lncldenl Type                                             Incident DateTlme   10/04/2015 16:20


  Locallon Type                                                           LocaUon         HS DORM 9 CELL # 1


 Reporting Officer HORN, KRISTOPHER


                                           Inmates Involved
                     Inmate #         Name




                     Video Recorded? Type?                                    Medical Responders Name



                      EJ Use of Restraints Required
                                                   Type of Restraints
                      Name                           Restraint                     Note




                      EJ   Use of Force Required
                                                      Type of Force
                      Name                           Force                        Note




       Nanative      On October 4, 2015 at approximately 1620 I (Dfllcer K. Hom#445) responded to a
                     back up call to HG Dorm 9. When I arrived the scene was secure so I returned to my
                     assigned post. This concludes my Involvement.

                     E.0.R.

                     Officer K. Hom #445




                                                                                  Date
                                     Employee Signature




 24976 EUBANKS                                                  101051201512:44                                                   Page: 1
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                                             3393



                          Louisville Metro Department of Corrections Incident Report
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          Incident Repon # 00066317(p)                 Incident Type     SUICIDE ATTEMPT                         Incident DateTime   10/04/201516:20


          Location Type                                                           Location       HS DORM 9 CELL # 1

         Reporting Officer CRAWFORD, DANYELLE


                                                 Inmates Involved
                          Inmate#             Name
                          00431177            ASHBY, JAMES EARL




                          Video Recorded? Type?                                      Medical Responders Name



                           t'.'l   Use of Restraints Required
                                                           Type of Restraints
                           Name                             Restraint                     Note




    (
                           LJ      Use of Force Required
                                                             Type of Force
                           Name                             Force                         Note




              Narrative   Called to HS at approx. 1S:21 to attempted suicide of f/M Ashby. When I arrived CPR
                          had already been started. Stayed In the room to assist as needed.


                          Nurse Crawford




                                                                                          Date
                                            Employee Signature




         24976 EUBANKS                                                 1010512015 12:44                                                  Page: 1
                                                                                                                                 GB003234
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                       Louisville Metro Department of Corrections Incident Report
      Incident Report# 00066317(q)               Incident Type      SUICIDE ATTEMPT                        lncidenl DateTlme   10/04/2015 16:20


       Location Type                                                        Location       H6 DORM 9 CELL # 1


      Reporting Officer SOMMERFELD, ABIGAYLE


                                           Inmates Involved
                       Inmate#          Name
                       004311n          ASHBY, JAMES EARL




                       Video Recorded? Type?                                   Medical Responders Name



                        Cl   Use of Restraints Required

                                                     Type of Restraints
                        Name                          Restraint                     Note




(
                       Cl    Use of Force Required
                                                       Type of Force
                        Name                          Force                         Note




          Narrative    Patient #431177 was found hanging in cell with sheet tied around neck on H6W-9.
                       CPR was started and AED was ulilized and CPR continued, EMS amved and paUenl
                       was taken with EMS responders. EOR Nurse Brown·Hayes




                                                                                    Date
                                      Employee Signature




     24976 EUBANKS                                               10/05/2015 12:44                                                  Page: 1

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                        Louisville Metro Department of Corrections Incident Report
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       Incident Report# 00066317(r)                Incident Type      SUICIDE ATTEMPT                         Incident DateTime   10/04/201516:20


        Location Type                                                         Location        HS DORM 9 CELL # 1

       Reporting Officer LACHALMELLE, CRYSTAL


                                            Inmates Involved
                        Inmate#          Name
                        00431177         ASHBY, JAMES EARL




                        Video Recorded? Type?                                    Medical Responders Name



                         El   Use of Restraints Required

                                                      Type of Restraints
                         Name                          Restraint                       Note




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                         Ll   Use of Force Required
                                                        Type of Force
                         Name                          Force                          Note




           Narrative    On 10/04/20151 (Crystal Lachalmell.,RN) with medical arrived to H609 approximately
                        1624. Inmate Ashby, James #431177 was lylng on floor outside of cell door #1. CPR
                        was being performed by corrections. Medical stayed to assist If need. EMS arrived
                        approxlmately 1631 and I stayed until Inmate Ashby, James #431177 was transported
                        to ER by EMS.
                        EOR
                        Crystal Lachalmelle RN




                                                                                      Date
                                       Employee Signature




      24976 EUBANKS                                                10/05/2015 12:44                                                   Page: 1

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                       Louisville Metro Department of Corrections Incident Report
      Incident Report# 00066317(&)                Incident Type    SUICIDE ATTEMPT                          Incident DateTime   10/04/201516:20


       Location Type                                                       Location       HS DORM 9 CELL # 1

      Reporting Officer SOMMERFELD, ABIGAYLE


                                            Inmates Involved
                       Inmate#          Name
                       00431177         ASHBY, JAMES EARL




                       Video Recorded? Type?                                   Medical Responders Name



                        LI   Use of Restraints Required
                                                     Type of Restraints
                        Name                           Restraint                   Note




(
                        CJ   Use of Force Required
                                                       Type of Force
                        Name                          Force                       Note




          Narrative    Responded to emergency on HS west hold for patient James Ashby 4311n@ 1S:24.
                       Patient was lying on the floor outside of his oell #1, CPR was being performed by
                       corrections officers. Stayed to assist If needed. EMS amved and continued CPR till
                       transport to lhe hospital ER. •••. EOR ASOmmerfelcl




                                                                                 Date
                                      Employee Signature




     24976 EUBANKS                                             10/051201512:45                                                      Page: 1

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                       Louisville Metro Department of Corrections Incident Report
(
      lncidenl Report# 00066317(1)                 lncidenl Type     SUICIDE ATTEMPT                           lncidenl DateTlme   10/04/2015 16:20


       Localion Type                                                          Location       HS DORM 9 CELL# 1

      Reporting Oflloer DAVIDSON, ERIC


                                             Inmates Involved
                       Inmate#           Name
                       00431177          ASHBY, JAMES EARL




                       Video Recorded? Type?                                     Medical Responders Name



                        El   Use of Restraints Required
                                                     Type of Restraints
                        Name                            Restraint                      Note




(
                        El   Use of Force Required
                                                        Type of Force
                        Name                            Force                         Note


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           Narrative   At approx 1S:20 on4 October2015 I (Ofc. E. Davidson) responded Jo a beckupcallat
                       HS Dorm 9 where l/M Ashby, James had hung himself. I was one of the last to anive
                       on scene with muttlple medlcal personnel. Shortly after my arrival Lt. Roy Instructed
                       me to get my gear and that I was going to the hospllal with the JIM. I went back,
                       gathered my gear, and waited outside the old sally port for the JIM to be loaded into
                       the ambulelice and rode wllh him and EMS in the ambulance to University Hospital.
                       l/M was transported without further incident.

                       Ofc. E. Davidson #8S7




                                                                                      Date
                                       Employee Signature




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                                         3400



      At 1850 hrs. Ofc. Joshua Badgely called for medical and I, Sgt. Ramonda Covington to come to 3Nl.
      When I arrived Ofc. Badgely informed me that he observed Inmate Ashby, James cin #431177 choking
      Inmate Hiser, Sean cin #528313. Ofc. Badgely went in the dorm, pulled Inmate Ashby off Inmate Hiser,
      handcuffed him and escorted him to the attorney booth. He then went to the dorm where Inmate Hiser
      complied with instructions to put his hands behind his back so he could be handcuffed and escorted to
      the attorney booth. Both inmates stated that Inmate Ashby told Inmate Hiser to stop sitting on the
      cooler while he was on the phone. Inmate Ashby states that Inmate Hiser then hit him so he choked
      him. Inmate Hiser states that inmate Ashby immediately started choking him. Other inmates in the
      dorm stated that they both took it to the back of the dorm and began to fight. Nurse Ostertag assessed
      both inmates. Inmate Hiser has redness to his neck and Inmate Ashby had no visible injuries even
      though he reported getting hit in the mouth. Both inmates were written up. Samantha Arriaga in
      classification was notified and housed Inmate Ashby in HOJ 609#1 and Inmate Hiser in HOJ 509#5.
      Pictures were taken and forwarded to the appropriate parties. El#66290

      Inmate Ashby, James cin #431177




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      Inmate Hiser, Sean cin #528313 (redness to neck)




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                                                                      JAIL COMPLEX SIXTH FLOOR
                                                                            OBSERVATION SHEET


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                                              3404
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                                                                    JAIL COMPLEX SIXTH FLOOR
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